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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                   Amount Amount                      Amount
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                                   345     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                                   346     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
Aaron, Craig
307 Lighthouse Point Circle
Youngsville, LA 70592                              2488    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Aaron, Craig Alan
307 Lighthouse Point Circle
Youngsville, LA 70592                              531     1/19/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
ABBOTT, DAVID W
3504 MEADOWLARK LANE
ALVIN, TX 77511-7914                               1057    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    937     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    947     1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    964     1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    1043    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    2517    3/28/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                    2530    3/28/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ABRAHAM, ANITA F
51 HICKORY OAK DRIVE
THE WOODLANDS, TX 77381-2574                       2209    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
ACCARDO, RICKY G
3518 REDWOOD LANE
PAULINA, LA 70763                                  1881    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00



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Acevedo Settlement Group 3
Reich & Binstock LLP
Attn: Dennis C. Reich, Esq.
4265 San Felipe Suite 1000
Houston, TX 77027                                             197     10/28/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                                       1242     2/2/2017          Gateway Coal Company                         $0.00      $0.00                                                 $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                                       1292     2/2/2017    Maxus International Energy Company                            $0.00                                                 $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                                       1297     2/2/2017            Tierra Solutions, Inc.                     $0.00      $0.00                                                 $0.00
Adamski, Jeffrey W.
107 Pamellia Dr,
Bellaire, TX 77401-3711                                       1253     2/2/2017     Maxus (U.S.) Exploration Company                  $0.00      $0.00                                                 $0.00
Adamski, Jeffrey W.
107 Pamellia Dr.
Bellaire, TX 77401-3711                                       1295     2/2/2017         Maxus Energy Corporation                      $0.00      $0.00                                                 $0.00
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                                             208     10/27/2016         Gateway Coal Company                                    $0.00                                                 $0.00
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                                             214     10/27/2016        Maxus Energy Corporation                                 $0.00                                                 $0.00
AGONIZANTE, LINDA
720 PAULA CT
MESQUITE, TX 75149                                            653     1/24/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
Ahlstrom, Richard Mather & Beverly Soule
5412 Bent Tree Drive
Dallas, TX 75248                                              2527    3/27/2017         Maxus Energy Corporation               $1,713,977.92                                          $0.00    $1,713,977.92
AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc. Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            323     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00




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AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            330     10/31/2016   Maxus International Energy Company                 $0.00                                                          $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            337     10/31/2016    Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 11038-4969                                       343     10/31/2016         Gateway Coal Company                         $0.00                                                          $0.00
AIG Assurance Company on behalf of the entities listed on
Exhibit A
Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            318     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Alabama Power Company
Eric T. Ray
Balch & Bingham LLP
1901 Sixth Avenue N, Suite 1500
Birmingham, AL 35203                                           12      8/1/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
ALCALA, CAROL J
2802 WESTGROVE LN
SAN JOSE, CA 95148-3538                                       1225    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                                              184     10/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                                              241     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00




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Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                         164     10/28/2016         Gateway Coal Company                         $0.00                                                          $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                         231     10/28/2016    Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                         248     10/28/2016   Maxus International Energy Company                 $0.00                                                          $0.00
ALEXANDER, RONALD
PO BOX 318225
BATON ROUGE, LA 70831-8225                               2147    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Alexander, Ronald
PO Box 318225
Baton Rouge, LA 70831-8225                               2772    2/18/2019         Maxus Energy Corporation                      $0.00                                                          $0.00
Alford, William V.
P.O. Box 2164
Lexington, KY 40588-2164                                 1728     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Alief Independent School District
Attn: Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                         1      6/30/2016         Maxus Energy Corporation                                         $0.00                                       $0.00
Allen, Johnny L
8342 Cassidy Creek Ct
Houston, TX 77095                                        1707     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                        1652     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                        1718     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                        1719     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                        1729     2/7/2017    Maxus International Energy Company                 $0.00                                                          $0.00
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ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                                                      2455    3/13/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ALLEN, NATHAN
PO BOX 845
GONZALES, LA 70707-0845                                                1621     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     88     10/17/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     93     10/18/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    239     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    251     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Alliance Chemical, Inc. on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     87     10/17/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     89     10/17/2016        Maxus Energy Corporation                      $0.00                                                           $0.00


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Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    162     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    163     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
American Natural Resources Company
Mark Moedritzer
Shook, Hardy & Bacon L.L.P.
2555 Grand Blvd.
Kansas City, MO 64108                                                  415     10/31/2016        Maxus Energy Corporation                $803,924.25                                                     $803,924.25
AMODEO, JAMES
3303 OAK GARDENS DR
KINGWOOD, TX 77339-5507                                                1624     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
AMOROSO, JOSEPH C
537 SALEM CHURCH RD
NEWARK, DE 19702                                                       1702     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Analysis Group, Inc.
Attn: Michael Seigfried
111 Huntington Ave, 14th Floor
Boston, MA 02199                                                       392     10/31/2016        Maxus Energy Corporation                 $77,911.94                                                      $77,911.94
ANDERSEN, MICHAEL A
1425 WEST ISLAND CLUB SQUARE
VERO BEACH, FL 32963-5519                                              600     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Anderson, Billy C
5901 Fairchild Ct
Plano, TX 75093                                                        514     1/19/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                                                      2347    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                                                      2421     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ANDERSON, JOHN R
808 DUSKY SAP CT 36
GRIFFIN, GA 30223-5996                                                 1179    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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ANDERSON, MICHAEL R
1217 KENNY ST
DEER PARK, TX 77536                                1868    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Anderson, Robert A
5716 Dekker Rd
Castle Hayne, NC 28429                             1021    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis
Suite 4200
Houston, TX 77002                                  170     10/28/2016        Maxus Energy Corporation                 $17,615.84                                                      $17,615.84
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis, Suite 4200
Houston, TX 77002                                  185     10/28/2016           Tierra Solutions, Inc.                 $4,341.34              $0.00                                    $4,341.34
ANDREWS, CRAIG R
18117 CLIFTON RD
LAKEWOOD, OH 44107-1024                            2213    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ANDREWS, RICKY P
12461 ANDREWS LANE
GONZALES, LA 70737                                 692     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Anguiano, Richard Flores
1805 12th St
Galena Park , TX 77547                             2381     3/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ANZALONE, ROBERT J
186 6TH ST
HARRISON, NJ 07029-1839                            951     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                                   2570     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                                   2571     4/3/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                                   2573     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00




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Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07101                                   315     10/31/2016        Maxus Energy Corporation                                         $0.00                       $0.00            $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                   299     10/31/2016           Tierra Solutions, Inc.                                        $0.00                       $0.00            $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                   311     10/31/2016   Maxus International Energy Company                                    $0.00                       $0.00            $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                   407     11/2/2016         Maxus Energy Corporation                      $0.00              $0.00                       $0.00            $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                   409     11/2/2016            Tierra Solutions, Inc.                                        $0.00                       $0.00            $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                   410     11/2/2016    Maxus International Energy Company                                    $0.00                       $0.00            $0.00
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                                    2508    3/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                                    2509    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                              879     1/27/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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                                                                                                                                         Amount Amount                      Amount
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                                    880     1/27/2017    Maxus International Energy Company                 $0.00                                                           $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                                    886     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Arizmendi, Carmen
3416 Oriole Avenue
McAllen, TX 78504                                        1494     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                     129     10/26/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                     130     10/26/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                                     1422     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                                     2490    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                                 1382     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                                 2397     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
AROSTEGUI, MARVIN A
17541 SW 73RD CT
PALMETTO BAY, FL 33157-6351                              1164    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ARRA, MARK T
3801 68TH AVE NE
NORMAN, OK 73026-2705                                    719     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ASHE, LILLIE B
2446 MCKENSIE LN
GRAND PRAIRIE, TX 75052-3915                             1011    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Ashford, Catherine B
147 W Cliffside Ave
Amarillo, TX 79108                                       1491     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00




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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority    Claim Amount
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                                                                                                                                    Amount Amount                      Amount
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                   394     10/31/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                   2640     5/9/2017         Maxus Energy Corporation               $1,144,855.39                                          $0.00    $1,144,855.39
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                   2650     5/9/2017            Tierra Solutions, Inc.                     $0.00                                           $0.00            $0.00
Ashland, Inc. (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                   393     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00
Ashraf, Saied
5711 Andover
Amarillo, TX 79109                                 1502     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                            $0.00
AT&T Corp
c/o AT&T Services, Inc
Karen A. Cavagnaro, Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                78     10/7/2016         Maxus Energy Corporation                      $0.00                                                            $0.00
ATKINSON, LACY
22 BEULAH LN
HAMPSTEAD, NC 28443-8948                           1527     2/6/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
BACON, JAMES W.
41153 AVOYELLES AVE
GONZALES, LA 70737-8591                            2434    3/10/2017         Maxus Energy Corporation                                                                      $0.00            $0.00
BADDERS, WILLIAM M
260 CHRISTIANA RD APT N16
NEW CASTLE, DE 19720-2963                          2038    2/13/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                                615     1/23/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                                657     1/23/2017    Maxus International Energy Company                            $0.00                                                 $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                 Amount Amount                      Amount
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              658     1/23/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              659     1/23/2017          Gateway Coal Company                                   $0.00                                                 $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              713     1/23/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              2513    3/27/2017          Gateway Coal Company                                                                        $0.00            $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              2514    3/27/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              2525    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              2526    3/27/2017    Maxus International Energy Company                                                                $0.00            $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                              2532    3/27/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BAILEY, JACK K
98 MALONEY RD
ELKTON, MD 21921-6333                            1573     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                               523     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                               524     1/19/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Baker, Edward J.
12035 Fairbury Dr.
Houston, TX 77089-6321                           1777     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Baker, Gale
1413 Oakwood Tr.
Painesville, OH 44077                            2497    3/21/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BALDWIN, RAY A
135 THUNDER RD
KERRVILLE, TX 78028-9325                         899     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                         687     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                Amount Amount                      Amount
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                        2405     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Barber, Betty A
4415 Sapelo Dr.
Evans, GA 30809                                 1844    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Barmore, Clifford W
7938 Bayou Drive St
Alvin, TX 77511                                 1842    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Barmore, Deborah L
7938 Bayou Dr St
Alvin, TX 77511                                 1487     2/6/2017         Maxus Energy Corporation                                $0.00    $0.00                                        $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                           562     1/21/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                           563     1/21/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                           564     1/21/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                           565     1/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                           585     1/21/2017          Gateway Coal Company                         $0.00                                                           $0.00
BARNES, CLARENCE W
4402 RASPBERRY RD
WILMINGTON, NC 28405-8477                       1992    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                             1172    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                             2422     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BARNETT, ELAINE FRY
9101 CRESTVIEW DR
DENTON, TX 76207-6762                           627     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BARRERA, PEDRO
1101 E PRINCETON LN
DEER PARK, TX 77536-6527                        1438     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
BARROS, CATHERINE E
9210 FLICKERING SHADOW DRIVE
DALLAS, TX 75243                                   1755     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BARROWS, RUSSELL ERNEST
521 KEARLEY DR
FATE, TX 75087-8607                                1538     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BARRY, JR., FRANKLIN S.
8198 KNIGHTSBRIDGE LANE
MENTOR, OH 44060-8044                              2426     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                         544     1/19/2017         Maxus Energy Corporation                                                         $0.00                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                              528     1/19/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                              532     1/19/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                         529     1/19/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                         530     1/19/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
BASF Catalysts LLC
Bressler, Amery & Ross, P.C.
David Schneider, Esq.
325 Columbia Turnpike
Florham Park, NJ 07932                             2765    5/24/2018         Maxus Energy Corporation                      $0.00                                                           $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                             230     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                             389     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
BATTISE, IRMA J
PO BOX 3081
BAYTOWN, TX 77522                                  2036    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Battista, Georgia
4002 Long Groove
Seabrook, TX 77586                                  32     9/12/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Battista, Joseph
4002 Long Groove
Seabrook, TX 77586                                 31     9/12/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Battista, Joseph B.
650 Surrey Lane
Martinez, GA 30907                                2764    9/26/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                                 34     9/12/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                                2466     3/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                   1228     2/1/2017    Maxus International Energy Company                           $0.00                                                 $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                   1230     2/1/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                   1231     2/1/2017          Gateway Coal Company                                   $0.00                                                 $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                   1233     2/1/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Battles, Darrell D
4765 S Highway 35
Alvin, TX 77511                                   1246     2/1/2017     Maxus (U.S.) Exploration Company                  $0.00     $0.00                                                 $0.00
Bayer Corporation
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                         169     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Bayer Corporation
Cohen & Grigsby, P.C.
c/o William E. Kelleher, Jr., Esq.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                         183     10/28/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
BAYNE, SUSAN
554 CORAL CT UNIT 501
FORT WALTON BEACH, FL 32548-6959                  1404     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BEAR, SIDNEY MAURICE
323 WILLOW VISTA DR
EL LAGO, TX 77586-6017                            1672     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Beard Jr, Oscar J
237 County Road 433
Chireno, TX 75937                                  319     10/30/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                             990     1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                             2406     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BEAUXIS, AL R
104 GULLS POINTE DR
LAFAYETTE, LA 70506-6426                           1560     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BEAUXIS, ALVIN R
104 GULLS POINTE DR
LAFAYETTE, LA 70506                                1547     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Beazer East, Inc.
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              2568     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              2569     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              2581     4/3/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              260     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                       $0.00            $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              309     10/31/2016   Maxus International Energy Company                           $0.00    $0.00                                        $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              344     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                       $0.00            $0.00
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                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               1338     2/3/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               1342     2/3/2017          Gateway Coal Company                         $0.00                                                           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               1347     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               1350     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               1461     2/3/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2476    3/23/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2478    3/23/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2480    3/23/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2499    3/23/2017    Maxus International Energy Company                                                                $0.00            $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2500    3/23/2017          Gateway Coal Company                                                                        $0.00            $0.00
BECNEL, KENNETH J
1719 HIGHWAY 307
THIBODAUX, LA 70301-8629                        2249    2/15/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              1665     2/8/2017          Gateway Coal Company                                   $0.00                                                 $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              1679     2/8/2017    Maxus International Energy Company                           $0.00                                                 $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              1685     2/8/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              1785     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              1786     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              2461    3/17/2017    Maxus International Energy Company                                                                $0.00            $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              2462    3/17/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              2463    3/17/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              2467    3/17/2017          Gateway Coal Company                                                                        $0.00            $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                              2469    3/17/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BEDORE, JOSEPH
4312 GOLF CLUB LN
TAMPA, FL 33618-2707                            1325     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BEHRENDT, WILLIAM P
14442 DALY DRIVE
HOUSTON, TX 77077-1058                          571     1/20/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BELL, KAREN S
22022 GLEN ARDEN LN
KATY, TX 77450-7615                             2413     3/8/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                          1122    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                          1150    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                          1152    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                          1153    1/31/2017          Gateway Coal Company                         $0.00                                                           $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                          1154    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                                1204     2/1/2017          Gateway Coal Company                         $0.00                                                           $0.00
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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                                  1206     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                                  1275     2/1/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                                  1277     2/1/2017    Maxus International Energy Company                           $0.00                                                 $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                                  1280     2/1/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2440    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2441    3/10/2017          Gateway Coal Company                                                                        $0.00            $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2442    3/10/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2450    3/10/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2451    3/10/2017    Maxus International Energy Company                                                                $0.00            $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                                  1996    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                                  1999    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                                353     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                                357     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Berardinelli, Dan
345 Sanford St
PO Box 485
Painesville, OH 44077-4126                        682     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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               Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                       Claim    Claim                    Priority    Claim Amount
                                                                                                                        Amount                         Priority Amount
                                                                                                                                      Amount Amount                      Amount
BERARDINELLI, DAN
345 SANFORD ST
PO BOX 485
PAINESVILLE, OH 44077-4126                            2632    4/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                                      1671     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                                      1750     2/8/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                                      1784     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BERNAY, WILLIAM E.
1172 DALTON DR
PAINESVILLE, OH 44077                                 2612     4/5/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                                   2417     3/9/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                                   2418     3/9/2017         Maxus Energy Corporation                 $19,849.00                                          $0.00       $19,849.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                         2433    3/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                         2435    3/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                         2436    3/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                         2438    3/10/2017          Gateway Coal Company                         $0.00                                                           $0.00




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               Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                       Claim    Claim                    Priority    Claim Amount
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                                                                                                                                      Amount Amount                      Amount
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                         2449    3/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BHARWADA, UPEN J
6211 N 74TH PLACE
SCOTTSDALE, AZ 85250                                  2566     4/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                                  2115    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                                  2502    3/24/2017    Maxus International Energy Company                                                                $0.00            $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                                  2504    3/24/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Bilbrey, Lanny R.
c/o Warren V. Norred
Norred Law, PLLC
200 E. Abram, Suite 300
Arlington, TX 76010                                    41     9/16/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
BIRCKBICHLER, JOHN W
712 PARKER RD
CHESAPEAKE, VA 23322-5832                             729     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BIVENS, RAY D
906 N HIGHWAY 87
TULIA, TX 79088-1024                                  580     1/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BLAKE, KATRINA
6975 SO. PENROSE CT.
CENTENNIAL, CO 80122                                  461     12/2/2016         Maxus Energy Corporation                                $0.00                                                 $0.00
BLOCK, LAURI K
5403 MORNINGSIDE AVE
DALLAS, TX 75206-5839                                 2414     3/8/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BLOCK, LAURI K.
5403 MORNINGSIDE AVE
DALLAS, TX 75206                                      2407     3/8/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                                    941     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                 Claim    Claim                    Priority    Claim Amount
                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              2385     3/3/2017          Gateway Coal Company                                                                        $0.00            $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              2393     3/3/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              2750    8/14/2017            Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
Blouin Sr, Irvin W.
38488 Arrowhead Dr
Gonzales, LA 70731                              2746    8/14/2017    Maxus International Energy Company                 $0.00                                          $0.00            $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                              917     1/27/2017          Gateway Coal Company                         $0.00                                                           $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                              2749    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              920     1/27/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              921     1/27/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                              922     1/27/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BLOUIN, IRVIN W.
38488 ARROWHEAD DR
GONZALES, LA 70737                              2748    8/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                              804     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                              2391     3/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                              2392     3/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                              2394     3/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                                538     1/20/2017    Maxus International Energy Company                 $0.00                                                           $0.00
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                                 549     1/20/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BLUESTEIN, PAUL J
17 ROGER ROAD
EDISON, NJ 08817                                 539     1/20/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                            548     1/20/2017          Gateway Coal Company                         $0.00                                                           $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                            1026    1/20/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                            1033    1/20/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BLYTHE, ANNA M
PO BOX 761
WEIMAR, TX 78962                                 550     1/20/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
BLYTHE, RANDY D
PO BOX 761
WEIMAR, TX 78962                                 552     1/20/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
BOBE, CONNIE F
4707 NW 88TH TERRACE
KANSAS CITY, MO 64154                            909     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bobe, Connie F.
4707 NW 88th Terrace
Kansas City, MO 64154                            649     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bobe, Henry Dale
201 South Main Street
Sullivan, IN 47882-1838                          589     1/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BODEN, JAMES G
401 SECRETARIAT DR
AUSTIN, TX 78737-2636                            1237     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BOGLE, ROBERT W
1736 LA CORONILLA DR
SANTA BARBARA, CA 93109-1618                     1318     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                          2615    4/10/2017    Maxus International Energy Company                                                                $0.00            $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                          2618    4/10/2017          Gateway Coal Company                                                                        $0.00            $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                          2619    4/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                          2626    4/10/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                          2627    4/10/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                              2222    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                              2613     4/4/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BOLTON, GLEN D
3018 GRACE LN
HIGHLANDS, TX 77562-2127                         1193    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BOOKER, EARNEST C
PO BOX 674
HARDIN, TX 77561                                 2037    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BORDAS, JULIO J
8471 SW 48TH ST
MIAMI, FL 33155-5416                             1416     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Boruk, Robert Eric
2707 Volute Ct
Houston, TX 77038                                2380     3/2/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                           2316    2/17/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                           2317    2/17/2017          Gateway Coal Company                         $0.00                                                           $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                           2318    2/17/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                           2328    2/17/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                           2333    2/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BOURGEOIS, LINDA V
32240 LONGVIEW ST
PAULINA, LA 70763                                1875    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Bowden, Joan Weatherspoon
1018 Pondview Drive
Cedar Hill, TX 75104                             2769     9/4/2018         Maxus Energy Corporation                                $0.00                                                 $0.00
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                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                              1581     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                              2654    5/15/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                              2655    5/15/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Bowen, Debbie H
6414 Hinsdale
Amarillo, TX 79109                               656     1/24/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Bowen, Debbie L
6414 Hinsdale Dr
Amarillo, TX 79109                               623     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                           1852    2/10/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                           1866    2/10/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                           1867    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                           1871    2/10/2017          Gateway Coal Company                                   $0.00                                                 $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                           1872    2/10/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Bracero, Frank J
4801 Nan Lane
Salina, CA 95368                                 654     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                                 460     12/2/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                                 2724     8/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                                 1709     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                                 2552     4/1/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                                 2553     4/1/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                                 2560     4/1/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                                 2723     8/8/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Brady, Richard F
1416 Bascomb Drive
Raleigh, NC 27614-9014                           1605     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                   1485     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                   1498     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                   1504     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                   1511     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                   2234     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BRAGG, LARESHIA DIANE
1923 SHAWNEE TRL
DALHART, TX 79022-5211                           2364    2/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           997     1/30/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           998     1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           1001    1/30/2017    Maxus International Energy Company                           $0.00                                                 $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           1004    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           1064    1/30/2017          Gateway Coal Company                                   $0.00                                                 $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                           2398     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                                 1626     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                                 2293    2/15/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Braud, Lenette
8187 Kingview St
Saint James, LA 70086                            2773    2/19/2019         Maxus Energy Corporation                      $0.00                                                           $0.00
BRAUD, LENETTE D
8187 KINGVIEW ST
SAINT JAMES, LA 70086-7529                       2146    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BRCAK, JOAN M
3758 OHIO ST
PERRY, OH 44081-9551                             1984    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Brenner, Michael G
7811 Legend
Amarillo, TX 79121-1717                          1730     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                               2695    7/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                               2696    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
BREWER, ANNA R
417 W PALMER ST
MORRISVILLE, PA 19067-2177                       1877    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Bricker, Doris A.
2732 Summertree Drive
Carrollton, TX 75006                              13      8/6/2016         Maxus Energy Corporation                $552,870.84                                                     $552,870.84
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                1544     2/7/2017          Gateway Coal Company                         $0.00                                                           $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                1601     2/7/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                1630     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                1710     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
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                Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                        Amount Amount                      Amount
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                       1711     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                       2625    4/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                                1336     2/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                                1439     2/3/2017    Maxus International Energy Company                           $0.00                                                 $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                                1442     2/3/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                                1443     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                                1444     2/3/2017          Gateway Coal Company                                   $0.00                                                 $0.00
BROCK, JOCELYN Y
314 W STERLING
BAYTOWN, TX 77520-4046                                  2371    2/28/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROCK, LEONARD
374 COUNTY ROAD 958
TISHOMINGO, MS 38873-9621                               2410     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROOKS, THOMAS LEE
12907 CAMBRIDGE EAGLE DR
HOUSTON, TX 77044                                       2628    4/11/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                                    567     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                                    578     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROUSSARD, MICHEAL D
224 JOGG RD
YOUNGSVILLE, LA 70592                                   1268     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Brown & Caldwell
c/o Greene Radovsky Maloney Share & Hennigh LLP
Attn: Edward Tredinnick, Esq.
Four Embarcadero Center, Suite 4000
San Francisco, CA 94111                                 196     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00


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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  722     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  726     1/24/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  765     1/24/2017          Gateway Coal Company                         $0.00                                                           $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  769     1/24/2017    Maxus International Energy Company                 $0.00                                                           $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  771     1/24/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                                  1686     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROWN, CHARLES PATRICK
30 N BANTAM WOODS CIR
SPRING, TX 77382-2685                             734     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                           2326    2/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                           2453    3/13/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROWN, CLAUDE M
4906 MIDDLE RIDGE RD
PERRY, OH 44081-8700                              2370    2/28/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BROWN, DENNIS L
1010 N COLUMBIA AVE
SHEFFIELD, AL 35660-7529                          980     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROWN, JEAN D
17199 SUMMERFIELD RD S
PRAIRIEVILLE, LA 70769-6643                       2081    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Brown, Jean D.
427 CR 4151
Woodville, TX 75979                               2479    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
BROWN, JEFFREY K
4023 10TH STREET NW
GIG HARBOR, WA 98335                              1793     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BROWN, NORMAN
6614 WESTON ST APT 25
HOUSTON, TX 77021                                 2622    4/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
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                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Brown, Richard Joe
1105 Mills Ave
Dumas, TX 79029                                  929     1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                          1609     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                          2269    2/14/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                          2271    2/14/2017    Maxus International Energy Company                           $0.00                                                $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                          2275    2/14/2017          Gateway Coal Company                                   $0.00                                                $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                          2276    2/14/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
Browning, Patricia A
2222 N. St. Augustine Dr.
Apt. #2214
Dallas, TX 75227                                 205     10/27/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
BRUINGTON, BRENT ALAN
2013 BRENTWOOD DR
MIDLAND, TX 79707-5061                           1405     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                        1892    2/10/2017    Maxus International Energy Company                 $0.00                                                          $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                        1899    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                        1901    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
BUCHMAN, RUSSELL
3767 OGDEN LANE
MUNDELEIN, IL 60060                              701     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
BUCKNER (DECEASED), JERRY W
3514 RAMSEY DR
PASADENA, TX 77503-2744                          1690     2/7/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00           $0.00                       $0.00
BULLOUGH, ROGER D
203 VILLA HILL CT
DICKSON, TN 37055-2667                           2043    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00



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                Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                         Claim    Claim                    Priority    Claim Amount
                                                                                                                          Amount                         Priority Amount
                                                                                                                                        Amount Amount                      Amount
Burdick, Mamie L
2800 Henry CT
College Station, TX 77845                               2624    4/10/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Burdick, Robert L
2800 Henry CT
College Station, TX 77845                               2623    4/10/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Bureau of Land Management, Wyoming State Office
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                    477     12/15/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
BURGMAN, CARL A
1355 E 43RD CT
TULSA, OK 74105-4150                                    759     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BURGOS, JORGE E
183 E LANSDOWNE CIR
THE WOODLANDS, TX 77382-2726                            2366    2/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BURKE, JOHN W
1615 N HEARTHSIDE DR
RICHMOND, TX 77406-1358                                 666     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Burkett, Donna Mogab
3915 Vista Rd
Pasadena, TX 77504                                      2708     8/4/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Burkett, Donna Mogab
3915 Vista Rd.
Pasadena, TX 77504                                      2457    3/14/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Burkett, Donna Mogab
3915 Vista Road
Pasadena, TX 77504                                      1631     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BURNS, JAMES R
3907 TRAILWOOD DR
BAYTOWN, TX 77521                                       2344    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BUSBIN, MARIE G
1861 GRADY HOPE ROAD
FORT MILL, SC 29715                                     2425     3/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Bushin, Marie G.
1861 Grady Hope Rd
Fort Mill, SC 29708                                     2437    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Busse, Johnny L.
340 County Road 427
Goldthwaite, TX 76844-3338                              762     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                     2235     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00



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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                2454    3/13/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                2700    7/31/2017    Maxus International Energy Company                 $0.00                                          $0.00            $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                1270    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                2419     3/9/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
BUTLER, CHARLES G.
8 SULLIVAN RD.
PENSACOLA, FL 32507                                2699    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Butler, Deborah L
6822 22nd Ave North
#202
St. Petersburg, FL 33710                           217     10/26/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
BUTLER, DEBORAH L.
6190 62ND AVE. N. #3
PINELLAS PARK, FL 33781                            2730    8/11/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
BUTLER, WILLIE L
3414 N ATLANTA AVE
TULSA, OK 74110-1537                               1628     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
BUTTERFIELD, JACK D
719 CORAL DRIVE
CAPE CORAL, FL 33904                               588     1/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
BYNUM, KARL J
101 E 12TH AVE
SPEARMAN, TX 79081-3813                            1215     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Caesar Oil Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                                  265     10/27/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
CAIN, PATRICK W
PO BOX 669
RAWLINS, WY 82301-0669                             2620     4/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                    812     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                    813     1/26/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                 Claim    Claim                    Priority    Claim Amount
                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                 814     1/26/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                 815     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                                 816     1/26/2017          Gateway Coal Company                         $0.00                                                           $0.00
Calcagno, Mary O
P.O. Box 989
307 Tania
Gramercy, LA 70052                              1998    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CALVERT, WILLIAM S
7810 ELIZABETH RD
PASADENA, MD 21122-2310                         1508     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Cambre, Ched
PO Box 961
Gramercy, LA 70052                              1738     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Cambre, Ched M.
P.O. Box 961
Gramercy, LA 70052                              2760    8/22/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Cameron, Kenneth
P.O. Box 428
Rowlett, TX 75030                               464     12/5/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
CAMERON, KENNETH J
PO BOX 428
ROWLETT, TX 75030-0428                          1712     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Campbell, Louie Patrick
204 S. 6th St.
Highlands, TX 77562                             924     1/29/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Canada, Gregory E
4305 West 37th Ave
Amarillo, TX 79109-4317                         433     11/11/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                         434     11/11/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                         2484    3/24/2017         Maxus Energy Corporation                      $0.00                              $0.00       $0.00            $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                         2505    3/24/2017         Maxus Energy Corporation                      $0.00                              $0.00       $0.00            $0.00



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                  Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                           Amount                          Priority Amount
                                                                                                                                          Amount Amount                      Amount
Canadian Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                   54     9/23/2016         Maxus Energy Corporation                                 $0.00    $0.00                                        $0.00
Canadian Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                  2542    3/30/2017         Maxus Energy Corporation                                                                      $0.00            $0.00
CANIDA, JERRY W
1401 HIGHWAY 26
SPRUCE PINE, AL 35585-3915                               1424     2/7/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
CANNON, DOUGLAS
670 COUNTY ROAD 3552
SULPHUR BLUFF, TX 75481-5101                             1553     2/7/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
CAREL, PENNY
169 ROCKY RIDGE RD
RED OAK, TX 75154-5034                                   1313     2/3/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
CARLEGIS, NORMAN J
15611 PARK ESTATES LN
HOUSTON, TX 77062                                        1100    1/30/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
Carlini, Robert T
1008 Dogwood Ct.
Colleyville, TX 76034                                    526     1/18/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
CARLSON, DENNIS L
284 DRESSAGE CT
WEST CHESTER, PA 19382-2366                              2516    3/28/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
CARLSON, JON
PO BOX 161166
BIG SKY, MT 59716-1166                                   865     1/27/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
Carlton, Gerald G. & Susan M.
Michell E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                                        177     10/27/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
Carlton, Gerald G. and Susan M.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                        166     10/27/2016        Maxus Energy Corporation               $1,882,972.73                                                   $1,882,972.73
CARMICHAEL, WILLIE J
2804-B PLAZA COURT
MARION, SC 29571                                         2244    2/14/2017         Maxus Energy Corporation                      $0.00                                                            $0.00



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                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                         522     1/19/2017          Gateway Coal Company                         $0.00                                                           $0.00
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                         546     1/19/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                         542     1/19/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                         543     1/19/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Carr, Cornelius Patrick
8548 Bella Dr
Macedonia, OH 44056-1878                         2376     3/1/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                         545     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                         2375     3/1/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                         2377     3/1/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                         2378     3/1/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                         2379     3/1/2017          Gateway Coal Company                                   $0.00                                                 $0.00
CARROLL, JOSEPH L
9406 WOOLSEY CT
HUMBLE, TX 77396-1941                            2088    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CARTER JR, WILEY R
6919 PLANTATION DR
BAYTOWN, TX 77523-8845                           789     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                                40     9/14/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                               2460    3/16/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CASTILLO, BIOLANDA SIFUENT
5124 MCCARTY BLVD
AMARILLO, TX 79110-3009                          2132    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                  Current Current                    Current
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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
CASTRILLA, CHRIS A
174 MCKINLEY AVE
CONNEAUT, OH 44030-2148                           1238     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                        932     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                        934     1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                        956     1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Castro, Enrique M
93 Milltown Rd.
Bridgewater, NJ 08807                             931     1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
CATES, PEGGY T
4907 CYPRESS SPRING DR
MISSOURI CITY, TX 77459-3809                      1111    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                               2114    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                               2439    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CEBALLOS, JOE
17014 ARGYLE RD
HOUSTON, TX 77049-1004                            674     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                  300     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                  350     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                  352     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00




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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                   356     10/31/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
CHAMBERS, LINDA M
122 KOLAT LANE
RICES LANDING, PA 15357                            1922    2/12/2017          Gateway Coal Company                         $0.00                                                           $0.00
Chaney, Thomas R
5215 Rose St Unit C
Houston, TX 77007-5392                             504     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CHANNING, JOHN F
1006 REDFISH ST
BAYOU VISTA, TX 77563                              2445    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CHAPPELL, DONNA
9488 CRANE ST.
LANTANA, TX 76226-6463                             442     11/17/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
CHARBA, DAVID
5489 CHARBA LN
FLATONIA, TX 78941-5309                            2386     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CHARBULA, CAROL K.
11900 SUDBURY COVE
AUSTIN, TX 78748                                   2565     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CHARBULA, DON E.
11900 SUDBURY COVE
AUSTIN, TX 78748                                   2564     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Charsinsky, Kenneth
23 Malba Cresent
Dianella, WA 6059
Australia                                          2534    3/29/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CHARSINSKY, KENNETH
3007 STANTON ST
HOUSTON, TX 77025-2630                             2200    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Chavez, Jamie C.
18218 Quail Run Circle
Conroe, TX 77302-6495                              1834     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CHAVIS, JOHN HUGH
1506 MARCO DR
PASADENA, MD 21122-4837                            2348    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                              1357     2/3/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                              1385     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
                                                                                   Page 36 of 211
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Cherry, James C
P O Box 293
115 Second St
Jefferson, PA 15344                              216     10/30/2016         Gateway Coal Company                         $0.00                                                           $0.00
Cherry, Toni J
P O Box 293
115 Second St
Jefferson, PA 15344                              215     10/30/2016         Gateway Coal Company                         $0.00                                                           $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                           189     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                           273     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Chevron U.S.A. Inc.
Attn: Emily Pipkin Blackwell, Esq.
1400 Smith STreet, Room 03198
Houston, TX 77002                                 72     9/29/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                                   642     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                                   2428     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CHRISP, MARY A
1707 YOUNG STREET
HICKMAN, KY 42050-1945                           1691     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Christal, Joel O
26910 Casper Cliff Ct
Katy, TX 77494                                   2470    3/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CIOCI, JOSEPH P
303 FOREST LAKE DR
SEABROOK, TX 77586                               821     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Citibank, N.A.
Attention: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                               2555    3/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                               283     10/28/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
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                  Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                          Claim    Claim                    Priority    Claim Amount
                                                                                                                           Amount                         Priority Amount
                                                                                                                                         Amount Amount                      Amount
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                                       2727    8/11/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
City of Houston
Attn: Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                         2      6/30/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
City of Newark
Guenther Waldow
Dept. of Law
920 Broad St., Rm. 316
Newark, NJ 07102                                         2579     4/3/2017         Maxus Energy Corporation                 $95,000.00                                          $0.00       $95,000.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                         2577     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                         2580     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                         2589     4/3/2017          Gateway Coal Company                                                                        $0.00            $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                                         2593     4/3/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Claim docketed in error
                                                          81     10/13/2016        Maxus Energy Corporation                                                                                      $0.00
Claim docketed in error
                                                         379     10/31/2016        Maxus Energy Corporation                                                                                      $0.00
Claim docketed in error
                                                         479     12/21/2016        Maxus Energy Corporation                                                                                      $0.00
Claim docketed in error
                                                         621     1/23/2017         Maxus Energy Corporation                                                                                      $0.00
Claim docketed in error
                                                         622     1/23/2017         Maxus Energy Corporation                                                                                      $0.00
                                                                                         Page 38 of 211
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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Claim docketed in error
                                                   624     1/23/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   644     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   646     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   648     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   743     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   747     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   750     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   794     12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   969     1/30/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   969     1/23/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1014    1/23/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1076    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1077    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1078    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1079    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1080    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1087    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1088    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1090    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1091    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1093    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1094    12/21/2016        Maxus Energy Corporation                                                                                     $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Claim docketed in error
                                                   1095    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1096    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1097    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1098    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1099    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1102    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1103    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1104    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1105    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1106    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1107    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1109    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1110    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1112    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1113    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1114    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1115    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1116    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1117    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1123    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1143    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1156    12/21/2016        Maxus Energy Corporation                                                                                     $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Claim docketed in error
                                                   1157    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1161    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1163    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1182    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1185    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1188    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1190    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1199    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1200    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1211    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1213    12/21/2016        Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1232    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1241    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1248    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1249    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1250    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1251    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1254    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1259    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1260    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1284    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1291    1/31/2017         Maxus Energy Corporation                                                                                     $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Claim docketed in error
                                                   1296    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1300    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1301    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1302    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1303    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1475    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1478    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1479    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1500     2/6/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1636    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1715     2/7/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1798     2/8/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1919    2/11/2016         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1925    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1932    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1933    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1934    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1935    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1936    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1937    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1939    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1941    2/13/2017         Maxus Energy Corporation                                                                                     $0.00


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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Claim docketed in error
                                                   1943    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1945    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1946    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1947    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1948    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1949    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1950    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1951    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1960    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1964    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1965    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1966    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1968    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1969    1/31/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1970    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1971    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   1973    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   2008    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   2009    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   2010    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   2012    2/13/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                   2015    2/13/2017         Maxus Energy Corporation                                                                                     $0.00


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                 Creditor Name and Address              Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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Claim docketed in error
                                                          2217    2/14/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2411     3/8/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2412     3/8/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2415     3/8/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2549    3/30/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2610     4/5/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2611     4/5/2017         Maxus Energy Corporation                                                                                     $0.00
Claim docketed in error
                                                          2720     8/8/2017         Maxus Energy Corporation                                                                                     $0.00
CLARK, AUDREY B
215 GORES ROW
WILMINGTON, NC 28401-4837                                 1598     2/8/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Clark, Stephen L
307 S Rosemont Avenue
Dallas, TX 75208-5814                                     1837    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
CLARK, TIMOTHY E
4 STONEGATE DR
QUEENSBURY, NY 12804-7750                                 677     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
CLARK, WILLIAM E
106 HELEN COURT 1
TUSCUMBIA, AL 35674-1757                                  721     1/24/2017         Maxus Energy Corporation                                $0.00    $0.00                                       $0.00
Clean Harbors
42 Longwater Dr Cred Dept
Norwell, MA 02061                                          15     8/10/2016            Tierra Solutions, Inc.                $55,481.25                                                     $55,481.25
Cleopatra Gas Gathering Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                                         262     10/27/2016    Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   291     10/28/2016           Tierra Solutions, Inc.                $51,173.44     $0.00                                           $51,173.44




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                 Creditor Name and Address              Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   292     10/28/2016   Maxus International Energy Company            $51,173.44     $0.00                                            $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   293     10/28/2016        Maxus Energy Corporation                 $51,173.44     $0.00                                            $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   2656    5/22/2017            Tierra Solutions, Inc.                $51,173.44     $0.00                                            $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   2658    5/22/2017    Maxus International Energy Company            $51,173.44     $0.00                                            $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                   2664    5/22/2017         Maxus Energy Corporation                 $51,173.44     $0.00                                            $51,173.44
Clifford, Judith Rock
2710 Park Hills Drive
Katy, TX 77494                                            1957    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Cliffs Mining Company
Christopher B. Wick, Esq.
Hahn Loeser & Parks LLP
200 Public Square, Suite 2800
Cleveland, OH 44114-2544                                  359     10/31/2016        Maxus Energy Corporation                $550,000.00                                                     $550,000.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                                        2554    3/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                                        2556    3/31/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                                        2558    3/31/2017          Gateway Coal Company                                                                        $0.00            $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                                        2559    3/31/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                               2562    3/31/2017    Maxus International Energy Company                                                                $0.00            $0.00
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                              207     10/27/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                              152     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
COBLYN, HAROLD W
5832 CLEARWATER DR.
THE COLONY, TX 75056-3865                        590     1/23/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
COCCO, DENNIS A.
2933 LAMPLIGHT LANE
WILLOUGHBY HILLS, OH 44094                       2491    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COFFMAN, MICHAEL KEITH
20102 HALEY CREEK PL
BEND, OR 97702-9377                              2252    2/15/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COGAR, JOHN DAVID
406 TANGLEWOOD CT
BOSSIER CITY, LA 71111-6141                      856     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Cogdill, Ronnie K.
PO Box 50345
Amarillo, TX 79159-0345                          782     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                                2259    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                                2496    3/21/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Cole, Cheryl Bryant
4523 Matagorda Lakes Dr
Humble, TX 77396                                 1376     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COLE, JAMES
793 MARLIN ST
HITCHCOCK, TX 77563-2611                         1136    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            1799     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2092    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2101    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2105    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2110    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2567     4/3/2017          Gateway Coal Company                                                                        $0.00            $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2575     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
Cole, Leroy
401 Lester Rd
Harrodsburg, KY 40330                            2583     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2586     4/3/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                            2602     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                          2238    2/14/2017          Gateway Coal Company                         $0.00                                                           $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                          2280    2/14/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          1676     2/9/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          1682     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          1684     2/9/2017          Gateway Coal Company                         $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          1801     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          1806     2/9/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          2279    2/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          2281    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          2287    2/14/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                          2563     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                              1614     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                              2444    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COLLIER, JERRY A
PO BOX 46
SUNRAY, TX 79086-0046                            1155    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Collins, Johnny Roy
5627 South Brook Dr.
Houston, TX 77033-3220                           2389     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                           718     1/24/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                           740     1/24/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                           761     1/24/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Collins, Johnny Roy
5627 Southbrook Dr.
Houston, TX 77033-3220                           773     1/24/2017          Gateway Coal Company                                   $0.00                                                 $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                           775     1/24/2017    Maxus International Energy Company                           $0.00                                                 $0.00




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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Collums, Kary
Kary Pickett
PO Box 386
Etoile, TX 75944                                  429     11/7/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                      910     1/26/2017    Maxus International Energy Company                           $0.00                                                 $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                      911     1/26/2017          Gateway Coal Company                                   $0.00                                                 $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                      912     1/26/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                      913     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                      927     1/26/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
CONNALLY, OLETA DARLENE
2508 CASHION PL
OKLAHOMA CITY, OK 73112-7610                      2561    3/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                             2126    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                             2137    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                             2142    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                             2145    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Conners, Kevin Michael
1400 Carolina Place
Downingtown, PA 19335                             2202    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                         278     10/28/2016        Maxus Energy Corporation                                         $0.00                                        $0.00




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                                                                                                                                     Amount Amount                      Amount
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           279     10/28/2016           Tierra Solutions, Inc.                                         $0.00                                        $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           2668    6/29/2017            Tierra Solutions, Inc.              $2,044,866.10              $0.00                                $2,044,866.10
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                           2669    6/29/2017         Maxus Energy Corporation                      $0.00               $0.00                                        $0.00
CONSTANCE T TOMPKINS, WIDOW OF LEE R. TOMPKINS,
DECEASED
P O BOX 735
SHEFFIELD, AL 35660-0735                            1426     2/3/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                                  2047    2/13/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                                  2528    3/28/2017         Maxus Energy Corporation                                                                      $0.00            $0.00
COOK, ANTHONY B
10 TILDEN COURT
SIMPSONVILLE, SC 29680-6740                         2529    3/28/2017         Maxus Energy Corporation                                                                      $0.00            $0.00
COOK, JOHN B
19 TOWNSHIP ROAD 1312 437
CROWN CITY, OH 45623-8822                           733     1/24/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                              798     1/25/2017     Maxus (U.S.) Exploration Company                             $0.00                                                 $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                              801     1/25/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                              2432     3/9/2017     Maxus (U.S.) Exploration Company                                                                  $0.00            $0.00
Cooper Industries, LLC
c/o Baker & Hostetler LLP
Attn: Sonja A. Inglin
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                               387     10/31/2016   Maxus International Energy Company                 $0.00               $0.00                                        $0.00
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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Cooper Industries, LLC
Sonja A. Inglin
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                              355     10/31/2016   Maxus International Energy Company                 $0.00              $0.00                                        $0.00
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                              258     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                              342     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Cooper, Michael Wayne
12703 River Run West
Baytown , TX 77523-8554                            778     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COOPER, MICHAEL WAYNE
12703 RIVER RUN WEST
BAYTOWN, TX 77523-8554                             809     1/25/2017    Maxus International Energy Company                 $0.00                                                           $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                             817     1/25/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                             824     1/25/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                             835     1/25/2017          Gateway Coal Company                         $0.00                                                           $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                             1764     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                                 2131    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                                 2474    3/21/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                                  1856    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                                  1869    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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                                                                                                                               Priority Secured                    Admin      Total Current
             Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                 Amount                         Priority Amount
                                                                                                                               Amount Amount                      Amount
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                              1870    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                              1876    2/10/2017          Gateway Coal Company                         $0.00                                                           $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                              1888    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
CORODEMUS & CORODEMUS LLC
120 WOOD AVE SO STE 500
ISELIN, NJ 08830                               2400     3/6/2017         Maxus Energy Corporation                 $17,281.25                                          $0.00       $17,281.25
CORSBIE, DAVID C
444 BRADEN LANE
TUSCUMBIA, AL 35674                            1118    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                        2494    3/21/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                        2495    3/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                          1050    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                          2515    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COTHERN, WILLIAM H
1532 FOXRIDGE RD
ROCK HILL, SC 29732-9527                       1173    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2576     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2578     4/3/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2585     4/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2590     4/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2592     4/3/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                          2594     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                          2595     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                          2600     4/3/2017    Maxus International Energy Company                           $0.00                                                 $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                          2601     4/3/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Countryman, Richard A.
761 Parkside Trail NW
Marietta, GA 30064                               2598     4/3/2017          Gateway Coal Company                                                                        $0.00            $0.00
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                          368     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                          378     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                          748     1/25/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                          746     1/25/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                          751     1/25/2017          Gateway Coal Company                         $0.00                                                           $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                          793     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                          795     1/25/2017    Maxus International Energy Company                 $0.00                                                           $0.00
COVIL, JERRY D.
305 ELK SUMMIT DR.
TODD, NC 28684-9621                              1235     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                                 Amount Amount                      Amount
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                    2373    2/27/2017         Maxus Energy Corporation                                $0.00    $0.00                                        $0.00
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                    2427     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Cox, Patrick W.
30281 Marbella Vista
San Juan Capistrano, CA 92675                    2402     3/7/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Cozen O'Connor
A. Martin M. Wickliff
1221 McKinney, Suite 2900
Houston, TX 77010                                115     10/21/2016        Maxus Energy Corporation                  $5,115.00                                                       $5,115.00
CRAIG, ALAN AARON
307 LIGHTHOUSE POINT CIR
YOUNGSVILLE, LA 70592-5693                       1070    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              828     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              844     1/26/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              857     1/26/2017    Maxus International Energy Company                           $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              858     1/26/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              859     1/26/2017          Gateway Coal Company                                   $0.00                                                 $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                              2503    3/24/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                          1653     2/8/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                          1667     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                          1722     2/8/2017    Maxus International Energy Company                           $0.00                                                 $0.00



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                                                                                                                                   Amount Amount                      Amount
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                            1789     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                            1790     2/8/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                                   822     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                                   826     1/26/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                                   849     1/26/2017          Gateway Coal Company                         $0.00                                                           $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                                   851     1/26/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                                   853     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                              1257     2/2/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                              1737     2/8/2017    Maxus International Energy Company                           $0.00                                                 $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                              1742     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Cribbs, Thomas Ralph
777 Legends View Dr.
Eureka, MO 63025                                   1741     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Cribbs, Thomas Ralph
Tom Cribbs
777 Legends View Dr.
Eureka, MO 63025                                   1740     2/8/2017          Gateway Coal Company                                   $0.00                                                 $0.00
CRISPI, JOSELINA
14003 WADEBRIDGE WAY
HOUSTON, TX 77015                                  2616    4/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                              193     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00


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                                                                                                                                   Amount Amount                      Amount
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                              198     10/28/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                            2367    2/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                            2409     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CROYLE, WILLIAM E
544 GRAND RIDGE DR.
HOWARD, OH 43028                                   2090    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                              2225    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                              2226    2/14/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                              2247    2/14/2017          Gateway Coal Company                         $0.00                                                           $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                              2250    2/14/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                              2272    2/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Cummings, Martis W. (Wayne)
1205 E Sandy Lake Rd.
# 229
Coppell, TX 75019                                   73     9/29/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
Cunningham Darlow LLP
919 Milam, Suite 575
Houston, TX 77002                                   42     9/15/2016         Maxus Energy Corporation                  $6,650.00                                                       $6,650.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                                 2511    3/28/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 1654     2/8/2017    Maxus International Energy Company                 $0.00                                                           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 1664     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 1666     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 1668     2/8/2017          Gateway Coal Company                         $0.00                                                           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 1782     2/8/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 2506    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                                 2507    3/28/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                                 2510    3/27/2017    Maxus International Energy Company                                                                $0.00            $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                                 2512    3/28/2017          Gateway Coal Company                                                                        $0.00            $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                           1510     2/6/2017    Maxus International Energy Company                           $0.00                                                 $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                           1512     2/6/2017          Gateway Coal Company                                   $0.00                                                 $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                           1523     2/6/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                           1612     2/6/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                           1619     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
CUTNO, PAUL
18 CANE DR
LA PLACE, LA 70068                                 2551    3/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                   146     10/27/2016   Maxus International Energy Company                 $0.00                                                           $0.00


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Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                   149     10/27/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                   143     10/27/2016    Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                   144     10/27/2016         Gateway Coal Company                         $0.00                                                          $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                   158     10/27/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
Daugherty, Mahlon H
139 Selway Ct
Lewiston, ID 83501                                 312     10/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
David, Frederick D
8738 Berndale St.
Houston, TX 77029                                  1423     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
DAVIS, CHANA
32760 LEDGE HILL DR
SOLON, OH 44139-1915                               1456     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015                                   965     1/30/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                              960     1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                              961     1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                              962     1/30/2017    Maxus International Energy Company                           $0.00                                                $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                              1055    1/30/2017          Gateway Coal Company                                   $0.00                                                $0.00


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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
DAVIS, FRANKLIN
3219 BRYN MAWR DR
DALLAS, TX 75225-7646                              439     11/15/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
DAVIS, JOHN C
5992 N ARDEN DR.
MENTOR, OH 44060                                   1607     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                    776     1/24/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                    786     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                    788     1/24/2017          Gateway Coal Company                         $0.00                                                           $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                    790     1/24/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Davis, Marilyn S
8601 Ice House Dr Apt 10105
North Richland Hills, TX 76180-5449                787     1/24/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Davis, Marilyn S.
8601 Ice House Dr.
Apt. 10105
N. Richland Hills, TX 76180                        2486    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DAVIS, MARTIN E
123 PRIVATE ROAD 3596
PARADISE, TX 76073-4702                            1165    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Davis, Mary F
3618 Green St
Harrisburg, PA 17110                               298     10/31/2016         Gateway Coal Company                         $0.00                                                           $0.00
DAVISON, ELMIRA B
2322 E 88TH ST
CLEVELAND, OH 44106-3438                           2156    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                           35     9/12/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                          2404     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Decker, Gary
PO Box 22
Grannis, AR 71944                                  2471    3/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                                                   Current Current                    Current
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                 Creditor Name and Address                       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                                     Amount                         Priority Amount
                                                                                                                                                   Amount Amount                      Amount
DEEB, CHARLES G
8779 PINEWOOD CT
MENTOR, OH 44060-2248                                              2349    2/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Degli, Patricia A
7143 N. Galahad Place
Painesville, OH 44077-9538                                         1477     2/4/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DELVENTO, VITO R
122 VISTA DR
EASTON, CT 06612-1132                                              2524    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DEMBNY, NANCY L
3209 ABINGDON DRIVE
RICHARDSON, TX 75082                                               502     1/17/2017         Maxus Energy Corporation                                                         $0.00                        $0.00
DEMEL, DENNIS J
3642 VACEK LOOP
PO BOX 532
SCHULENBURG, TX 78956                                              799     1/25/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Denson, William R.
1821 Meadow Creek Dr.
Pearland, TX 77581                                                 2403     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00

Department of the Interior/Office of Natural Resources Revenue
PO Box 25165 MS 64200B
Denver, CO 80225                                                   472     12/15/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                         10     7/18/2016            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                         11      8/5/2016         Maxus Energy Corporation                                $0.00                                                 $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                                         14      8/5/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                        2430    3/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DERBONNE, MARY B
4203 FM 1960
DAYTON, TX 77535-5903                                              2273    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DEVALL, JUNIOR P
1525 N PRESTON HWY
KINGWOOD, WV 26537-7675                                            2099    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DEVENISH, BRIAN
29588 N 129TH DR
PEORIA, AZ 85383-5262                                              2053    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                                                                                                                                 Current Current                    Current
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                            669     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                            2521    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                     625     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                     628     1/23/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                     633     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                     634     1/23/2017          Gateway Coal Company                         $0.00                                                           $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                     635     1/23/2017    Maxus International Energy Company                 $0.00                                                           $0.00
DICKENS, LINDA
546 ORCHARD AVE
ELKVIEW, WV 25071-7676                           2042    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DIEDRICH, JEFFERY D
15082 ALSTONE DR
FRISCO, TX 75035                                 2246    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                2473    3/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                2475    3/23/2017    Maxus International Energy Company                 $0.00                                                           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                2477    3/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                2481    3/23/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                                2482    3/23/2017          Gateway Coal Company                         $0.00                                                           $0.00
DIETZ, BRADLEY
136 EAST 64TH STREET, APT 8C
NEW YORK, NY 10065                               186     10/27/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
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                 Creditor Name and Address                 Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                              Claim    Claim                    Priority    Claim Amount
                                                                                                                               Amount                         Priority Amount
                                                                                                                                             Amount Amount                      Amount
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                    202     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                    201     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                                           2274    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                                           2523    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                      322     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                      351     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                                     575     1/20/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                                     2388     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                                         2215    2/14/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                                         2231    2/14/2017    Maxus International Energy Company                           $0.00                                                 $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                                         2237    2/14/2017          Gateway Coal Company                                   $0.00                                                 $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                                         2243    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00


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                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                             2268    2/14/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
DLA Piper France LLP
27 Rue Laffitte
Paris 75009
France                                           2763    8/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DLA PIPER LLP
Vonnick Le Guillou
27 Rue Laffitte
Paris 75009
France                                           118     10/25/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                       1603     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                       2452    3/13/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DOMITROVICH, THEODORE R
4312 JENNING CT
PLANO, TX 75093-5500                             1632     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Donnelly, JR, Charles E
5848 Shady Oaks DR
Frisco, TX 75034-7225                            1516     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DONNELLY, VICKI V
5848 SHADY OAKS DR
FRISCO, TX 75034-7225                            1387     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DORSETT, TERRY E
11205 HOSFORD RD.
CHARDON, OH 44024                                2588     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                 1751     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                 1752     2/9/2017          Gateway Coal Company                         $0.00                                                           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                 1774     2/9/2017    Maxus International Energy Company                 $0.00                                                           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                 1775     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                 1827     2/9/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                                   2596     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DOUGHERTY, MICHAEL O
9930 TANBARK TRL
MENTOR, OH 44060-7244                              1092    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DREIBELBIS, KENT D
PO BOX 603
ALLENWOOD, NJ 08720-0603                           779     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Duane Marine Site Trust Fund
c/o Norman W. Bernstein, Esq.
N.W. Bernstein & Associates, LLC
800 Westchester Ave., Suite N319
Rye Brook, NY 10573                                2605     4/3/2017         Maxus Energy Corporation                 $12,300.00                                          $0.00       $12,300.00
DUANE, CAROL A
7950 GARFIELD RD
MENTOR, OH 44060-5956                              2221    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DUANE, WARREN C
7950 GARFIELD RD
MENTOR, OH 44060-5956                              2270    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                 1366     2/6/2017          Gateway Coal Company                                   $0.00                                                 $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                 1370     2/6/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                 1400     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                 1517     2/6/2017    Maxus International Energy Company                           $0.00                                                 $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                                 1520     2/6/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
DUHE, BARRY J
2479 ADMIRALS LANDING
PAULINA, LA 70763                                  2448    3/13/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Duhe, Paul
2176 Pebble Beach Dr
Laplace , LA 70068                                 2485    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                                 2197    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00


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                 Creditor Name and Address                     Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                   Amount                         Priority Amount
                                                                                                                                                 Amount Amount                      Amount
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                                               2465    3/16/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           735     1/24/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           742     1/24/2017          Gateway Coal Company                                   $0.00                                                 $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           754     1/24/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           774     1/24/2017    Maxus International Energy Company                           $0.00                                                 $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                                           784     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
DUMAN, DYANA L
7312 GENTLE VALLEY ST
LAS VEGAS, NV 89149-1616                                         2278    2/15/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Dunlap, Perry E
c/o Mark Dunlap, Independent Executor of the Estate of Perry
Dunlap, Deceased
7707 Tripp
Amarillo, TX 79121                                               432     11/9/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                                               1537     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                                               2697    7/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Durley, Henry James
7023 Richwood
Houston, TX 77087                                                1681     2/8/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                        $0.00
DURR, BESSIE
2094 FAIRWAY CIR
HUDSON, OH 44236                                                 2557    3/31/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Dye, Louis J
6555 Creekside Trail
Solon, OH 44139                                                   53     9/26/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
Dye, Sonja
6555 Creekside Trail
Solon, OH 44139                                                   44     9/26/2016         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                        $0.00


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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
DYKES, JAMES DAVID
11611 N LEE HUGHES RD
HAMMOND, LA 70401-4811                           486     1/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Dykes, Thomas
6653 MS Hwy 568
Osyka, MS 39657                                  482     12/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
EADY, MAX R
312 W COURTLAND AVE
MUSCLE SHOALS, AL 35661-2816                     1509     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
EAGLIN, JAMES
17007 HIDDEN TREASURE CIR
FRIENDSWOOD, TX 77546-3461                       2384     3/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Eaglin, James
17007 Hidden Treasure Circle
Friendswood, TX 77546                            2383     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
East Greenfield Investors LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                                285     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
EBRIGHT, FRANK W
96 ROLLING GREEN LANE
ELKTON, MD 21921                                 2093    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                               1229     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                               2464    3/15/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                        1401     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                        2487    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Edge, Grover Devone
6232 Rock Creek Rd NE
Leland, NC 28451                                 506     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
EDWARDS, FRANCES B
8218 GOODNIGHT TRL
AMARILLO, TX 79110-4726                          1101    1/31/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00




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                                                                                                                                     Claim    Claim                    Priority    Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                         388     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                         400     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                999     1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                1000    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                1006    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                1017    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                                1059    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Elmo Joseph Boxie, Deceased
Attn: Janet Boxie
176 Henderson Drive
Arnaudville, LA 70512                               2603     4/3/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                                  577     1/21/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                                  2483    3/23/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Enbridge Offshore Facilities, LLC
Eversheds Sutherland (US) LLP
c/o Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                                   2742    8/14/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Enbridge Offshore Facilities, LLC
Mark Sherrill
Eversheds Sutherland (US) LLP
1001 Fannin St, Ste. 3700
Houston, TX 77002                                   2737    8/14/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
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                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
Enbridge Offshore Facilities, LLC
Mark Sherrill, Sutherland Asbill & Brennan
1001 Fannin St., Suite 3700
Houston, TX 77002                                         112     10/21/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
ENGLISH, WILLIAM H
919 N LUCAS ST
WEST COLUMBIA, SC 29169-7026                              2670    7/11/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Enriquez, Maria S
13731 Yardmaster Trl
Houston, TX 77034                                         1911    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ENRIQUEZ, MARIA S
13731 YARDMASTER TRL
HOUSTON, TX 77034                                         2458    3/15/2017         Maxus Energy Corporation                                                         $0.00       $0.00            $0.00
Entact, LLC
William W Thorsness
Vedder Price P.C.
222 N. LaSalle Street, Suite 2400
Chicago, IL 60601                                          99     10/19/2016           Tierra Solutions, Inc.                 $4,800.00                                                       $4,800.00
Enterprise Gas Processing, LLC
c/o Charlie San Miguel, Assistant General Counsel
1100 Louisiana, Suite 24.105
Houston, TX 77002                                         161     10/28/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
EPSTEIN, NORMAN A
347 FOX CHASE ROAD
CLARKSBORO, NJ 08020-0000                                 767     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                                   364     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                                   377     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Estate of Richard Mather Ahlstrom
Mrs. Beverly Sowle Ahlstrom
Gruber Hail Johansen Shank, LLP
c/o Tricia R. DeLeon
1445 Ross Avenue, Suite 2500
Dallas, TX 75202                                          2736    8/11/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                                 651     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00


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                 Creditor Name and Address              Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                          Amount Amount                      Amount
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                                 2416     3/8/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                        17     8/22/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                        20     8/22/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
EVANGELISTA, NICHOLAS H
25 SANFORD ST
PAINESVILLE, OH 44077-3043                                2390     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                                 2423     3/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                                 2424     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
EVANS, PAUL A
11 2ND AVENUE
ROEBLING, NJ 08554-1001                                   2310    2/17/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
F R YOCOM
206 SPANISH LAKES DRIVE
NOKOMIS, FL 34275                                         940     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090                                        1902    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090-4456                                   1781     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                                    2032    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                                    2138    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Farnell, Marion B
7385 Pinewood Dr
Theodore, AL 36582                                        2537    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
FAUST, SHARON
1042 MILLCREEK RD
YORK, PA 17404                                            925     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
FEENEY, CHILONG
13020 BELKNAP PL
BRADENTON, FL 34211-4012                         1068    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FELAN, CATARINO D
3212 CHESTERSHIRE DR
PASADENA, TX 77503                               1202    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Fenton Jr, Richard C
29611 Fairway Bluff DR
Fair Oaks Ranch, TX 78015                        490     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FERGUSON, MICHAEL
20604 CHARLOTTE BLVD S
MILLSBORO, DE 19966-7578                         1346     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FERL, JERRY M
5210 SAMUEL AVE
ASHTABULA, OH 44004-6628                         2255    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  867     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  868     1/27/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  889     1/27/2017    Maxus International Energy Company                           $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  944     1/27/2017          Gateway Coal Company                                   $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  948     1/27/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                                  2399     3/6/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
FIDLER, DANIEL J.
17787 W. POND RIDGE CIRCLE
GURNEE, IL 60031                                 2492    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
FINELLI, JR, WILLIAM J
8981 CLINTON RIVER ROAD
STERLING HEIGHTS, MI 48314-2410                  1776     2/8/2017         Maxus Energy Corporation                                $0.00    $0.00                                        $0.00
FISCHER, STEPHEN A
15472 PRESTWICK CIR N
NORTHVILLE, MI 48168-5014                        768     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Fisher, Robert E
45 North Wade Ave., Apt. B-1
Washington, PA 15301                             2374    2/28/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                                   268     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                                   270     10/31/2016   Maxus International Energy Company                 $0.00                                                           $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
55 Lane Road, Suite 170
Fairfield, NJ 07004                               276     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                           1133    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                           2420     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
FleetPride Inc
Matt Perry
600 Las Colinas Blvd E
Suite 400
Irving, TX 75039                                  116     10/22/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Fletcher, Erick
PO Box 1963
Pottsboro, TX 75076                               1226     2/1/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                            975     1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                            989     1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                            993     1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                            994     1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                            995     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                 1978    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                 2446    3/10/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Flick, Sondra Caroline
4821 Coral Road
Fort Myers Beach, FL 33931-3914                   2024    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Flook, Robert C.
15238 W. Baker Avenue
Lakewood, CO 80228                                431     11/9/2016         Maxus Energy Corporation                 $17,799.22     $0.00                                            $17,799.22
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                  487     1/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                  2447    3/12/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Flowers, Steven Joseph
3401 Lee Parkway, Apt. # 1009
Dallas, TX 75219                                  535     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Foley & Lardner LLP
Mark Wolfson, Esq.
100 North Tampa St., Suite 2700
Tampa, FL 33602                                   138     10/27/2016        Maxus Energy Corporation                 $17,719.50              $0.00                                   $17,719.50
Fordham, J Lynn
624 Andover Village Pl
Lexington, KY 40509                               131     10/26/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Fordham, James L
624 Andover Village Pl
Lexington, KY 40509                               136     10/26/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Fordham, Joellen S
624 Andover Village Pl
Lexington, KY 40509-1928                          132     10/26/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                        915     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                        916     1/27/2017    Maxus International Energy Company                 $0.00                                                           $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                        936     1/27/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00



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                                                                                                                                Amount                         Priority Amount
                                                                                                                                              Amount Amount                      Amount
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                    942     1/27/2017          Gateway Coal Company                         $0.00                                                           $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                                    946     1/27/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
FORNALE, EVELYN J
145 FAIRVIEW AVE
SOUTH ORANGE, NJ 07079-2524                                   2429     3/9/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Fort Elliott Consolidated Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                        63     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Fort Elliott Consolidated Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                       2539    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   1469     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   1476     2/4/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   2068    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   2112    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   2150    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                                   2152    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
FOSTER, WILLIAM R
2490 ALLYSON PL
CASPER, WY 82604-5059                                         1028    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
FOX, HELEN J
1533 LOCKNEY ST
AMARILLO, TX 79106-2405                                       1551     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Franchise Tax Board
PO Box 2952
Sacramento , CA 95812-2952                                     9      7/22/2016    Maxus International Energy Company             $3,228.90     $0.00                                             $3,228.90


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                                                                                                                                                 Amount Amount                      Amount
Francis, Robert J
26916 Eastwood Ln
Olmsted TWP, OH 44138                                            430     11/8/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
FRANCO, J
310 PICKETTS MILL RUN RU
ACWORTH, GA 30101-7737                                           1227    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00

Franklin-Burlington Plasics, Inc.
Robert K. James, Vice President, Enviromental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                         190     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00

Franklin-Burlington Plastics, Inc.
Robert K. James, Vice President, Environmental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                         280     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
FRANTZ, STEVEN D
RR 2 BOX 36
BEAVER, OK 73932                                                 693     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
FRAY, DARLENE A
442 COLLIS ST
BRENTWOOD, CA 94513-6371                                         1255     2/2/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                                                 540     1/19/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                                                 583     1/21/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Freeman, Theophilus
2149 Falcon Ridge Drive
Carrollton, TX 75010-4106                                        2456    3/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                                        1531     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                                        1700     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
FRITZ, DARLENE A
11560 AUBURN RD
CHARDON, OH 44024-9310                                           1602     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                                   2315    2/17/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
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                                                                                                                   Amount                          Priority Amount
                                                                                                                                  Amount Amount                      Amount
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                   2321    2/17/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                   2322    2/17/2017          Gateway Coal Company                                    $0.00                                                 $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                   2323    2/17/2017    Maxus International Energy Company                            $0.00                                                 $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                   2330    2/17/2017     Maxus (U.S.) Exploration Company                             $0.00                                                 $0.00
Fudala, Edith S
309 Penn Craft Rd
East Millsboro, PA 15433                          50     9/22/2016          Gateway Coal Company                         $0.00      $0.00                                                 $0.00
Fudala, Edward J
309 Penn Craft Rd
East Millsboro, PA 15433                          51     9/22/2016          Gateway Coal Company                         $0.00      $0.00                                                 $0.00
FULCE, RODNEY W
8213 PROSPER DR
AMARILLO, TX 79119-7204                          1708     2/7/2017         Maxus Energy Corporation                                 $0.00                                                 $0.00
GADZINSKI, RONALD
240 WESTVIEW DR
AURORA, OH 44202-9265                            1414     2/3/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
GALLOWAY, BRENDA K. BOMAR
1272 CROCKETT DRIVE
FRISCO, TX 75033                                 2762    8/24/2017         Maxus Energy Corporation                                                                      $0.00            $0.00
Galloway, Robert Dean
1272 Crockett Dr.
Frisco, TX 75003                                 2761    8/24/2017         Maxus Energy Corporation                      $0.00                                           $0.00            $0.00
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                159     10/27/2016        Maxus Energy Corporation               $1,166,157.35                                                   $1,166,157.35
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                167     10/27/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                           1828     2/9/2017    Maxus International Energy Company                 $0.00                                                            $0.00



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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                             1833     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                             1836    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GARCIA, RAUL A
14634 LEACREST DR.
HOUSTON, TX 77049-4218                             1293     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GARCIA, ROULEN
3602 HEDGE ROW ST
GRANBURY, TX 76048-3930                            1562     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GARDNER, NATHAN K
57355 CAMINO PACIFICA
LA QUINTA, CA 92253-7978                           1010    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                 984     1/29/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                 986     1/29/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                 987     1/29/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                 988     1/29/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                                 992     1/29/2017          Gateway Coal Company                         $0.00                                                          $0.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                             141     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                             147     10/27/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Garmon, Jeanette K
5425 Timber Creek Circle
Pace, FL 32571                                     1938    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                  Creditor Name and Address                         Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                                       Claim    Claim                    Priority    Claim Amount
                                                                                                                                        Amount                         Priority Amount
                                                                                                                                                      Amount Amount                      Amount
Gary Kimbley, Individually and as Representative of the Estate of
Rollie Kimbley
SGPB
3232 McKinney Avenue, Suite 610
Dallas , TX 75204                                                     435     10/18/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
GASS, RICHARD B
19 ARABIAN WAY
SOUTHAMPTON, PA 18966-5301                                            1859    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GATES, KENNETH W
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                                               1192    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GATES, RENEE O
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                                               1145    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GATLIN, JANIS N
1917 REW AVE
DUNCANVILLE, TX 75137-4539                                            1539     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Gatlin-Stern, Janis Nikki
1917 Rew Ave
Duncanville, TX 75137                                                 2756    8/15/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
GEASON, ROBERT
8422 KINGVIEW ST
SAINT JAMES, LA 70086-7526                                            1052    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Gedaly, Ray H
155 Towering Pines Dr.
The Woodlands, TX 77381-2598                                          1483     2/5/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                      220     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                      221     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                      305     10/31/2016   Maxus International Energy Company                 $0.00                                                           $0.00


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                  Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                    417     11/4/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                    418     11/4/2016    Maxus International Energy Company                                    $0.00                                        $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                    419     11/4/2016            Tierra Solutions, Inc.                                        $0.00                                        $0.00
Geosyntec Consultants, Inc.
Attn: Christopher Bennett, Esq.
1111 Broadway, Floor 6
Oakland, CA 94607                                    18      9/1/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Giancaspero, Waldemar Nedo
15 Indian Clover Dr.
The Woodlands, TX 77381                             2261    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GIBSON, CLYDE W
113 PIERCE STREET
KINGWOOD, WV 26537-1219                             1247     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GIBSON, MARION A
1831 MAYFIELD DR
CRESTWOOD, KY 40014                                 1927    2/12/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Gibson-Lopez, Kyle
508 Chitalpa Street
Leander, TX 78641                                   480     12/21/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
GILBERT, JOHN
125 WANDA WAY 105
HURST, TX 76053-6942                                1889     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                              1595     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                              2759    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
GILLENWATER, CHARLES
520 COLLINGS AVE APT B515
OAKLYN, NJ 08107-1632                            1046    1/30/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                       $0.00
GILLENWATER, JERRY R
3729 WHITWORTH WAY
COLUMBUS, OH 43228-7003                          896     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GILLIS, GRETCHEN M
1119 BANKS ST
HOUSTON, TX 77006-6133                           955     1/30/2017          Gateway Coal Company                                   $0.00                                                $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                                952     1/30/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                                953     1/30/2017    Maxus International Energy Company                           $0.00                                                $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                                954     1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                                963     1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                                1680     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Gilsdorf, Thomas
555 Freeman Road Unit 268
Central Point, OR 97502                          755     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GINN, THOMAS T
213 YORKSHIRE CT
DEER PARK, TX 77536-8117                         2241    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                                 2220    2/14/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                                 2223    2/14/2017          Gateway Coal Company                                   $0.00                                                $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                                 2245    2/14/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                                 2257    2/14/2017         Maxus Energy Corporation                                $0.00                                                $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                                 2262    2/14/2017    Maxus International Energy Company                           $0.00                                                $0.00
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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                          Priority Amount
                                                                                                                                   Amount Amount                      Amount
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                  397     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                  2644     5/9/2017         Maxus Energy Corporation               $1,243,777.24                                          $0.00    $1,243,777.24
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                  2653     5/9/2017            Tierra Solutions, Inc.                     $0.00                                           $0.00            $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                  406     10/31/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                       1659     2/8/2017          Gateway Coal Company                         $0.00                                                            $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                       1670     2/8/2017    Maxus International Energy Company                 $0.00                                                            $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                       1720     2/8/2017            Tierra Solutions, Inc.                     $0.00                                                            $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                       1721     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                            $0.00
GIVEN, RONDEL
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                       1791     2/8/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
Given, Rondel
PO Box 14122
Surfside Beach, SC 29587-4122                     1219     2/1/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
GODSHALL, WILLIAM H
14120 JESSE JAMES FARM RD
KEARNEY, MO 64060                                 885     1/27/2017         Maxus Energy Corporation                      $0.00                                                            $0.00


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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Golden Marina Causeway LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                                 281     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
GOLDEN, JIMMIE L
702 DUVALL BLVD HI
LEWISVILLE, TX 75077-6950                         2108    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Gonzales, Eduardo
P.O. Box 112843
Carrollton, TX 75011-2843                         827     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GONZALES, JUDY L.
1417 BAYOU RD
GRAPEVINE, TX 76051                               2676    7/26/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                             1409     2/6/2017          Gateway Coal Company                                   $0.00                                                 $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                             1412     2/6/2017    Maxus International Energy Company                           $0.00                                                 $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                             1484     2/6/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Gonzales, Kristine K
5930 Oakmoss Trl
Spring, TX 77379-2503                             1586     2/6/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                             1622     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Good, Douglas S
2140 Nob Hill
Carrollton, TX 75006                              496     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                           271     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                           272     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00



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                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            1909    2/10/2017          Gateway Coal Company                         $0.00                                                           $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            2000    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            2002    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            2004    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            2011    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                            2014    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Goodson, Jerry L
68 County Road 2322
Dayton, TX 77535-3656                            1982    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                               2621     4/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                               2711     8/7/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Goolsby, Melinda G
408 Chisolm Trail
Hurst, TX 76054                                  459     11/30/2016        Maxus Energy Corporation                                $0.00                                                 $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2166    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2167    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2175    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2201    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2203    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                              2707     8/4/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
GORDON, MARK B.
14218 AUTUMN MIST
CYPRESS, TX 77429-6372                           558     1/20/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GORDON, PAULA M.
2741 WEST 37TH AVENUE
DENVER, CO 80211                                 1724     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Gordon, Van Rudy
3211 Eastex Frwy
Houston, TX 77026                                1864     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GOSTIN, HOWARD IRVING
330 SALTWINDS DRIVE
EASTHAM, MA 02642-1777                           1726     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GRADEN, HAROLD R
3240 GULF OF MEXICO DR APT 507 B
LONGBOAT KEY, FL 34228-2849                      599     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GRAHAM, LINDA T
1708 SACRAMENTO TERRACE
PLANO, TX 75075-6724                             1765     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GRAMPA, JOHN DOMENICO
8205 EAGLE RIDGE DR
PAINESVILLE, OH 44077-9797                       1060    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GRAY, DARLA
524 JENNIFER TR
GRAND PRAIRIE, TX 75052                          2634    4/24/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                          2155    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                          2160    2/13/2017         Maxus Energy Corporation                                         $0.00                                        $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                          2184    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                          2192    2/13/2017            Tierra Solutions, Inc.                     $0.00              $0.00                                        $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                          2205    2/13/2017    Maxus International Energy Company                 $0.00              $0.00                                        $0.00
GRAYS, OSCAR C
PO BOX 534
DAYTON, TX 77535                                 2140    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
GREEN, JACKIE L
3023 ROB LN
NACOGDOCHES, TX 75961                            1642     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                            1860    2/10/2017          Gateway Coal Company                                   $0.00                                                $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                            1987    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                            1990    2/10/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                            1993    2/10/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                            2001    2/10/2017    Maxus International Energy Company                           $0.00                                                $0.00
Griffith, Patricia C
7109 Shipp Road
Rowlett, TX 75088                                537     1/19/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GRIFFITHS, RICHARD R
PO BOX 153
ROOTSTOWN, OH 44272-0153                         1316     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GRIGGS, JAN M
7043 BENTLEY PL
PAINESVILLE, OH 44077-2212                       926     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GRIGSBY, LINDA L
2412 BUTTERCUP DR
RICHARDSON, TX 75082-2342                        2233    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Gritte, Raymond L
7702 Nocona Cir
Corpus Christi, TX 78413                         1472     2/4/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GROMADSKI, RAYMOND P
2188 TROUT AVE SW
SUPPLY, NC 28462-3993                            2161    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GROS, RICHARD O
25415 HIGHWAY 77
PLAQUEMINE, LA 70764-5432                        901     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
GRZYBOWSKI, GAIL MARIE
8801 LAKESIDE DR
ROWLETT, TX 75088-5590                           1910    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
GUCKER, DORIS
167 COUNTY ROAD 199
GARY, TX 75643-3759                              2071    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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                                                                                                                                Current Current                    Current
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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                 Claim    Claim                    Priority    Claim Amount
                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
Guenther, Gayla
4117 S Bonham
Amarillo, TX 79110                              741     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
GUNN, ROBERT WILKERSON
109 PLEASANT DR
BLACK MOUNTAIN, NC 28711-2622                   1140    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Hach Excavating & Demolition
Forbes Law LLC
166 Main Street
Painesville, OH 44077                           317     10/31/2016        Maxus Energy Corporation                 $29,632.00                                                      $29,632.00
Hahn, Thomas Theodore
209 N 6th St.
Weatherford, OK 73096                           437     11/14/2016        Maxus Energy Corporation                                $0.00                                                 $0.00
Hahn, Thomas Theodore
PO Box 2
Camargo, OK 73835                               2770    9/18/2018         Maxus Energy Corporation                                $0.00                                                 $0.00
HAKANSON, CYNTHIA ANN
313 LOTUS ST
LAKE JACKSON, TX 77566-5613                     870     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HALLETT, CLIFFORD R
113 REYBOLD DR BOX 4114
DELAWARE CITY, DE 19706-8721                    1655     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Hamilton, Randall Joe
P.O. Box 44
Ratliff City, OK 73481                          2722     8/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
HAMILTON, RANDY
PO BOX 44
RATLIFF CITY, OK 73481-0044                     1320     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
HAMILTON, RICHARD E
9535 PENWOOD WAY
GRANITE BAY, CA 95746                           663     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAMPTON, LARRY W
P O BOX 1991
DUMAS, TX 79029-1991                            848     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Hancock, John L
P.O. Box 410
Batson, TX 77519-0410                           796     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HANCOCK, JOHN L
PO BOX 410
BATSON, TX 77519-0410                           2387     3/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Hancock, John L.
PO Box 410
Batson, TX 77519                                2531    3/29/2017         Maxus Energy Corporation                                                                     $0.00            $0.00



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                  Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                          Claim    Claim                    Priority    Claim Amount
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                                                                                                                                         Amount Amount                      Amount
Handley, Debbie
7819 lLegend Ave.
Amarillo, TX 79121                                       450     11/29/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Hanna, Russell B
7104 Fulham
Amarillo, TX 79109                                       792     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Hansford County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                   55     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Hansford County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                  2548    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
HANSON, ANNIE M
27380 COOK RD APT 110
OLMSTED TWP, OH 44138-3900                               1049    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
HARDAGE, GINGER C
4502 WILDWOOD RD
DALLAS, TX 75209-1926                                    1926    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                                1126    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                                1127    1/31/2017          Gateway Coal Company                         $0.00                                                           $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                                1128    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                                1129    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                                1240    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                      2013    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                      2031    2/13/2017          Gateway Coal Company                                   $0.00                                                 $0.00



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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                2057    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                2079    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                2130    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                          233     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                          307     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                          2642    5/12/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                          2643    5/12/2017         Maxus Energy Corporation                $641,195.50                                                    $641,195.50
Harris County, ET AL
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                              5       7/5/2016         Maxus Energy Corporation                                         $0.00                                       $0.00
HARRIS, CHARLIE
29419 HIGHWAY 6
HEMPSTEAD, TX 77445-9023                           1142    1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                             1565     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00



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              Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                 Claim    Claim                    Priority   Claim Amount
                                                                                                                  Amount                         Priority Amount
                                                                                                                                Amount Amount                      Amount
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                          1568     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                          1692     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Harris, Ronald W
9722 Tanglewood Dr
Baytown, TX 77523-2577                          1699     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
Harris, Ronald W.
9722 Tanglewood Dr
Baytown, TX 77523-2577                          1694     2/7/2017    Maxus International Energy Company                 $0.00                                                          $0.00
HARRIS, SHERMAN L
3702 BOSTIC ST
HOUSTON, TX 77093-8318                          2659    5/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HARRIS, TANYA Y
6617 STEWART BLVD
THE COLONY, TX 75056-4651                       1703     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                                847     1/26/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                                850     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                                852     1/26/2017          Gateway Coal Company                         $0.00                                                          $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                                854     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                                855     1/26/2017    Maxus International Energy Company                 $0.00                                                          $0.00
HART, STEVEN W
265 ALMA ST
TUSCUMBIA, AL 35674-9235                        2212    2/14/2017         Maxus Energy Corporation                                $0.00                                                $0.00
HASELEY, KENNETH ALAN
31019 WALDEN DR
WESTLAKE, OH 44145-6818                         1174    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HASKINS, CHARLES H
PO BOX 1342
DOUGLAS, WY 82633-1342                          1449     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Haskins, John N
361 Winslow Dr
Souderton, PA 18964-2193                        1638     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
HAVARD, LARRY PHILIP
4960 ANTHONY LN
PASADENA, TX 77505-5303                           680     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                      1398     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                      1425     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                      1432     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                      1468     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Hawkins, Lonnie L
16407 Quail Briar Dr
Missouri City, TX 77489-5709                      1515     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                              1198    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                              2690    7/28/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                                 1451     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                                 2698    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Haynes and Boone, LLP
Attn: Ian T. Peck, Partner
2323 Victory Avenue, Suite 700
Dallas, TX 75219                                  109     10/21/2016        Maxus Energy Corporation                  $1,957.89                                                       $1,957.89
HAZEN SR, WILLIAM D
37 CAWDOR LN
NEW CASTLE, DE 19720-2330                         1002    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HAZEN, JAMES L
256 LAPIDARY LN
YOUNG HARRIS, GA 30582-2072                       1069    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                                 2206    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                  Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                          Claim    Claim                    Priority    Claim Amount
                                                                                                                           Amount                         Priority Amount
                                                                                                                                         Amount Amount                      Amount
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                                        2719     8/8/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
HEMPEN, VIRGINIA A
8012 NW 76TH TERRACE
KANSAS CITY, MO 64152-4425                               1015    1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Hemphill County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                   56     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Hemphill County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                  2550    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
HENDERSON, LARRY JACK
2412 PRIMROSE DR 2116
PASADENA, TX 77502-5744                                  1329     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HENDRICKSON, JEAN M
630 E MAIN ST
MADISON, OH 44057-3208                                   1597     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HENNESSEY, JANET S
5930 KEITH DR
MADISON, OH 44057-1864                                   739     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HENSLEY, DENNIS R
PO BOX 368
BENNINGTON, KS 67422                                     694     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                              2139    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                              2143    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                              2159    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                       365     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                       369     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
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                 Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                     Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                       Amount
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                 384     10/31/2016   Maxus International Energy Company                 $0.00                                                            $0.00
HERNANDEZ, MANUEL J
2223 OUACHITA ROAD 2
STEPHENS, AR 71764-9298                            2085    2/13/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
HEROLD, JOSEPH VINCENT
121 3RD PLACE
MANHATTAN BEACH, CA 90266                          607     1/23/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
Herzog, Larry Wayne
1001 Piney Creek Rd
LaGrange, TX 78945                                 1643     2/7/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                          154     10/27/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                         $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                          156     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                          274     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                          284     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                         $0.00
HIEBERT, DAVID W.
3902 MOORES LANE
TEXARKANA, TX 75503                                2771    1/28/2019         Maxus Energy Corporation                                                                 $70,000.00       $70,000.00
HILEMAN, MILTON
255 LAUREL RUN PISGAH RD
BRUCETON MILLS, WV 26525-5555                      2144    2/13/2017         Maxus Energy Corporation                                $0.00                                                  $0.00
HILL, DAVID B
158 RIVER OAKS DR
CEDAR CREEK, TX 78612                              1214     2/1/2017         Maxus Energy Corporation                      $0.00                                                            $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Hill, Prince M.
7515 Long Canyon Trail
Dallas, TX 75249-1254                             52     9/27/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                                2309    2/17/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                                2320    2/17/2017    Maxus International Energy Company                 $0.00                                                          $0.00
HIMES, DONALD A
PO BOX 415
SAINT JAMES, LA 70086-0415                       1857    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Hoffmann-La Roche Inc.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 114     10/21/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Hoffmann-La Roche Inc.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 113     10/21/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
HOGENSON, BILL E
6432 WESTCHESTER AVE
HOUSTON, TX 77005                                1413     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HOGENSON, KATHLEEN ANN
6432 WESTCHESTER AVE
HOUSTON, TX 77005-3762                           1383     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HOLIAN, ROBERT R
18264 BRIGHTON GREEN
DALLAS, TX 75252                                 895     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
HOLLAND, RUBY D
PO BOX 606083
CLEVELAND, OH 44106-0583                         1745     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HOLLIS, MARK P
PO BOX 477
WESTCLIFFE, CO 81252-0477                        2075    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HOLODNAK, J LARRY
2419 JEFFERSON EAGLEVILLE RD
JEFFERSON, OH 44047-9609                         2007    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
HOLT, SUSAN D
PO BOX 13 14000 CO RD G
BOOKER, TX 79005                                 619     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00



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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                           203     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                           287     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
HORN, LEROY
128 LEDET DR R5
THIBODAUX, LA 70301-6123                          2077    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Hornsby, Helen R
7013 Birkshire Dr
Amarillo, TX 79109-6495                           498     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Hotes, William J
5450 Whitley Park Terrace
Apt. 904
Bethesda, MD 20814                                 71     9/29/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
HOUGH, DANNY
60785 E 192 RD
FAIRLAND, OK 74343-3135                           440     11/17/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
HOWARD, RAYMOND B
625 HOLLY RIDGE RD
HOLLY RIDGE, NC 28445-7579                        967     1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Hudson, Billy C
3003 SW 28th Ave
Apt A
Amarillo, TX 79109                                 43     9/16/2016         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
Huff, Sharell
24799 Lake Shore Blvd
Apt 505
Euclid, OH 44123-1274                             1003    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Huff, Sharell A
24799 Lake Shore Blvd Apt 505
Euclid, OH 44123-1245                             2372    2/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
HUGHES, BRENT TOD
1100 SIERRA DR
PAMPA, TX 79065-2630                              891     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
HUGHES, JAMES F
8035 SHOSHONE TRL
TINLEY PARK, IL 60477-7838                        2098    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                                  1493     2/6/2017          Gateway Coal Company                                   $0.00                                                $0.00


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                  Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                          Claim    Claim                    Priority    Claim Amount
                                                                                                                           Amount                         Priority Amount
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Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                                         1522     2/6/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
HULL, ROBERT A
10417 COPPEDGE LANE
DALLAS, TX 75229                                         1588     2/6/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                                    1503     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                                    1530     2/6/2017    Maxus International Energy Company                           $0.00                                                 $0.00
HUNTER, DICKIE
5905 GIVERNY
FLOWER MOUND, TX 75022-5593                              438     11/15/2016    Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
HURST, JIMMY DAVID
9018 E STATE HIGHWAY 75 S
HUNTSVILLE, TX 77340-2520                                716     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Hutchinson County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                   57     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Hutchinson County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                  2547    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
HUTSENPILLER, CHARLES W
1207 BARRON RD
WALESKA, GA 30183-2371                                   1389     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
HUXFORD, TERRY
PO BOX 885
ROOSEVELT, UT 84066-0885                                 453     11/30/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Hyde, John Paul
7230 Wyoming Springs Dr. Room 222
Round Rock, TX 78681                                     119     10/25/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
HYDRO ENVIRONMENTAL TECHNOLOGY
PO Box 60295
LAFAYETTE, LA 70596                                       92     10/17/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                                595     1/23/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                                596     1/23/2017    Maxus International Energy Company                 $0.00                                                           $0.00


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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                        597     1/23/2017          Gateway Coal Company                         $0.00                                                           $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                        604     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                        612     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
INGLE, ROBIN M
409 DANIEL LN
CEDAR HILL, TX 75104-1903                        1772     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 398     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 403     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 2646     5/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 2649     5/9/2017            Tierra Solutions, Inc.               $242,988.87                                                     $242,988.87
JACK, DAVID L
1421 WATSON DR
DEER PARK, TX 77536                              1753     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                                 2635    4/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                                 2728    8/11/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                1364     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00


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                Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                          Priority Amount
                                                                                                                                   Amount Amount                      Amount
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1369     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1371     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1505     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1506     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1526     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                                 1529     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Jackson, John Leslie ("J.L.")
MIchelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                                 172     10/27/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Jackson, John Leslie ("J.L.")
Michelle E. Shriro
Singer & Levrick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                 157     10/27/2016        Maxus Energy Corporation               $2,128,144.48                                                  $2,128,144.48
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                                1361     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                                1362     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                                1374     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                                1388     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                                1391     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00


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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                               1395     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
JACKSON, PAMELA K
1601 DEER CREEK DR
DESOTO, TX 75115-3699                            950     1/29/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JACOBS, KEENAN L
5525 STONE CREEK DR
LA PORTE, TX 77571-2716                          2710     8/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                       1121    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                       1162    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                       1196    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                       1197    1/31/2017          Gateway Coal Company                         $0.00                                                           $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                       1263    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JAMES, ROBERT E
2863 LONG SHADOW LN
ROCK HILL, SC 29732-9480                         985     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JAMISON, ANDREW J
PO BOX 23361
HOUSTON, TX 77228-3361                           2072    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JANNISE JR, JOSEPH M
301 CR 121
PO BOX 88
RAYWOOD, TX 77582-0088                           629     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Jarman, William C.
1007 Ridge Ave
Tuscumbia, AL 35674                              2706     8/4/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
JARMON, WILLIAM CURTIS
1007 RIDGE AVENUE
TUSCUMBIA, AL 35674-4534                         485     1/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JARUFE, CREUSA D
1424 ARAPAHO DR
CARROLLTON, TX 75010-3304                        1392     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00



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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Jay, David
16215 SW 319th Place
Hillsboro, OR 97123                               64     10/4/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                               65     10/4/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                               90     10/16/2016        Maxus Energy Corporation                  $2,687.50                                                       $2,687.50
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                               91     10/17/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
JENKINS, CLINTON LEON
4426 WESCOTT DR
GRAND PRAIRIE, TX 75052                          2204    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JEW, JEAN H.
1300 GOLDFINCH CV.
CEDAR PARK, TX 78613                             2704     8/2/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                              2325    2/17/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                              2327    2/17/2017          Gateway Coal Company                         $0.00                                                           $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                              2329    2/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                              2331    2/17/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
JOHNSON, ARTIS
4294 RIVER OAKS DR
FLORISSANT, MO 63034-3009                        1541     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
JOHNSON, CARL DOUGLAS
Linda Johnson
9920 FM 524 RD 524
SWEENY, TX 77480-8230                            1063    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00


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               Creditor Name and Address       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
JOHNSON, DALE KURT
1221 ARBOR DR
BARTLESVILLE, OK 74006-7821                      1042    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
JOHNSON, JOAN M
9999 SPENCER HWY APT 1905
LA PORTE, TX 77571-4067                          1648     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Johnson, Jr., Tyree
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                              2332    2/17/2017    Maxus International Energy Company                 $0.00                                                          $0.00
JOHNSON, WILLIAM A
3304 CAMDEN DRIVE
FLOWER MOUND, TX 75028                           1942    2/10/2017    Maxus International Energy Company                           $0.00                                                $0.00
Johnson, William A
3304 Camden Drive
Flower Mound, TX 75028-2922                      1930    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
JOHNSTON, ROY D
510 JONES RD
HIGHLANDS, TX 77562-4218                         688     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Jones, Esther J
PO BOX 150144
Arlington, TX 76015                              2119    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                              2180    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                              2182    2/13/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Jones, Esther J
PO Box 150144
Arlington, TX 76015-6144                         1962    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
JONES, JANICE L
113 SENTER VALLEY RD
IRVING, TX 75060-5366                            1319     2/3/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                       $0.00
JONES, KIM P
601 SHERWOOD OAKS DR
HALLSVILLE, TX 75650                             1831     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
JONES, MACK C.
7207 WILLIAMS RD
COVE, TX 77523                                   2637     5/1/2017         Maxus Energy Corporation                                $0.00                                                $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                             1030    1/30/2017          Gateway Coal Company                         $0.00                                                          $0.00



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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              1032    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              1062    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              1066    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              1071    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              2685    7/28/2017    Maxus International Energy Company                 $0.00                                          $0.00            $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              2686    7/28/2017            Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              2687    7/28/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              2688    7/28/2017          Gateway Coal Company                         $0.00                                          $0.00            $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                              2692    7/28/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Jones, Melissa Kondo
2504 Nighthawk Dr.
Plano, TX 75025                                   1535     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JONES, RUDOLPH T
315 GOLF COURSE RD 6
MORGANTON, NC 28655-5206                          2633    4/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Jones, William Gary
913 W Main St
Houston, TX 77006-4920                            2443    3/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JOYCE, GREGORY
1523 CHERTSEY CIR
CHANNELVIEW, TX 77530-2030                        1486     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                             2045    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                             2086    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
JOYCE, TIMOTHY J
1857 WINDY HILL DR
FRISCO, TX 75034-8097                             708     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Julstrom, Peter E
5656 Chickering Court
Bartlesville, OK 74006                            534     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
JUNKINS, JANET A
29 RIDGEFIELD DR SE
SILVER CREEK, GA 30173                            902     1/26/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875                   897     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875                   1606     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875                   1615     2/8/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875                   1701     2/8/2017          Gateway Coal Company                                   $0.00                                                 $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875                   1788     2/8/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Justus, George
217 Weeks Dr.
Camden, DE 19934                                   25      9/9/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Kabat Jr., Thaddeus L.
15 Main Street
Hatfield, MA 01038                                2678    7/26/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
KABAT, THADDEUS L
15 MAIN ST 472
HATFIELD, MA 01038-9702                           685     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                          829     1/26/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                          830     1/26/2017    Maxus International Energy Company                 $0.00                                                           $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                          837     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                          838     1/26/2017          Gateway Coal Company                         $0.00                                                           $0.00
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                                                                                                                  Current General                        Current
                                                                                                                                    Priority Secured                    Admin     Total Current
                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                            862     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Kalterman, Stewart
5005 Hidalgo St., Unit 209
Houston, TX 77056                                   2265    2/15/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KAMMERER, RICHARD J
1100 SOMERVILLE DR
OXFORD, MI 48371-5944                               2048    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KANE, ROBERT J
3957 STONE POINT DR NE
ROCHESTER, MN 55906-5461                            1796     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street, Suite 1800
Cincinnati, OH 45202                                124     10/25/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street. Suite 1800
Cincinnati, OH 45202                                125     10/25/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                           631     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                           636     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                           637     1/23/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                           639     1/23/2017    Maxus International Energy Company                 $0.00                                                          $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                           640     1/23/2017          Gateway Coal Company                         $0.00                                                          $0.00
KARRENBROCK, ANTHONY H
18219 NE 79TH STREET
LIBERTY, MO 64068-7200                              888     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KATONA, ROBERT R.
65 MENTOR AVE.
PAINESVILLE, OH 44077                               1920    2/11/2017         Maxus Energy Corporation                                $0.00                                                $0.00



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                 Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                            Claim    Claim                    Priority    Claim Amount
                                                                                                                             Amount                         Priority Amount
                                                                                                                                           Amount Amount                      Amount
Kauk, Monty R
PO BOX 352
LEEDEY, OK 73654                                           808     1/26/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
KEAN, ALLAN E
9315 SHADY LANE CIR
HOUSTON, TX 77063                                          2248    2/14/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00

Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        332     10/31/2016        Maxus Energy Corporation                $243,622.71     $0.00                                           $243,622.71

Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        227     10/31/2016        Maxus Energy Corporation                                         $0.00                       $0.00            $0.00

Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        247     10/31/2016           Tierra Solutions, Inc.                                        $0.00                       $0.00            $0.00

Kearny Peninsula Sites Environmental Remediation Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                        331     10/31/2016   Maxus International Energy Company                                    $0.00                       $0.00            $0.00
Keeling, Irene
3921 Ashburton Way
Flower Mound, TX 75022-5174                                2354    2/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KEENER, MICHAEL W
11610 SAGEWILLOW LANE
HOUSTON, TX 77089                                          976     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Keener, Thelma
97 Narrows Road
Painesville, OH 44077-4910                                 1974     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KEGLEY, DAVID B
126 WOOLENS RD
ELKTON, MD 21921-1821                                      1542     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Kehl, Monty
1692 Ridge Road
Iowa City, IA 52245                                        1804     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KELM, DONALD L
PO BOX 2009
PORT ANGELES, WA 98362-0270                                2054    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
KENNEDY, JOHN WALKER
3430 W T BENCH BAR WAY
MARANA, AZ 85658-4799                              731     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KENNEDY, STEVEN F
1816 LAKESIDE LANE
FRIENDSWOOD, TX 77546                              1629     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                              1746     2/9/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                              1748     2/9/2017    Maxus International Energy Company                           $0.00                                                $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                              1749     2/9/2017          Gateway Coal Company                                   $0.00                                                $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                              1773     2/9/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                              1903     2/9/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Kentucky Energy and Environment Cabinet
Daniel Cleveland, Esq.
Office of General Counsel
300 Sower Blvd, 3rd Floor
Frankfort, KY 40601                                478     12/15/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
KENYON, ROBERT G
66 ELIZABETH RD
GENEVA, OH 44041-9144                              1344     2/5/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KERNS, JOHN L
897 STATION CAMP RD
LE ROY, WV 25252-7129                              2186    2/13/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                       $0.00
KESSLER, JOAN L
518 SEVENTH STREET
FAIRPORT HARBOR, OH 44077                          2260    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KILGORE, RICHARD
5311 WHISPERING OAKS DR
DALLAS, TX 75236-1743                              566     1/21/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KILLEEN, JAMES C
4170 BATES RD
MADISON, OH 44057-9548                             753     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KILLION, ROBERT N
3 S. BUCK RIDGE
WOODLANDS, TX 77381                                1805     2/9/2017    Maxus International Energy Company                           $0.00                                                $0.00


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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                               1803     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                               1814     2/9/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                                  1689     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
King, Harold
4950 Winding Timbers Circle
Humble, TX 77346                                  2498    3/22/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                                  2744    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
KING, JOSEPH B
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                         2106    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
KING, KRISTINA
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                         2104    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
KIRBY, WILLIAM R
2206 MCCLELLANDTOWN RD
MASONTOWN, PA 15461                               1035    1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
KIRK, MARSHA KAY
2714 COMANCHE ST
AMARILLO, TX 79109-4716                           1209    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                             1816     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                             1825     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                            1327     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                            1341     2/3/2017          Gateway Coal Company                         $0.00                                                           $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                            1349     2/3/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                            1358     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                             1427     2/3/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Kline Jr, Donald L
386 Sandy Creek Dr
Sunnyvale, TX 75182-3255                           1907    2/11/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                           1914    2/11/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                           1924    2/11/2017    Maxus International Energy Company                 $0.00                                                          $0.00
KLINGERMAN, LINDA R
20229 COUNTRY CLUB DR
ESTERO, FL 33928                                   2368    2/28/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KLONSKY, ETHEL
821 RED ROAD APT 1B
TEANECK, NJ 07666-4456                             869     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                              2216    2/14/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                              2236    2/14/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                              2263    2/14/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KNOX, JOSEPH M
1640 W 8TH ST
ASHTABULA, OH 44004-2848                           2173    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Knox, Michael
PO 135
Roma York, TX 77368                                1608     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KNOX, MICHAEL
PO BOX 135
ROMAYOR, TX 77368-0135                             1574     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                         517     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                         518     1/18/2017          Gateway Coal Company                         $0.00                                                          $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                         519     1/18/2017    Maxus International Energy Company                 $0.00                                                          $0.00
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               Creditor Name and Address                  Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                             Claim    Claim                    Priority   Claim Amount
                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                                  520     1/18/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                                  521     1/18/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
KOGOY, JOAN E
7247 FOX MILL RD UNIT D
MENTOR, OH 44060-6355                                       1880    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KOHLER, TERRY JAY
116 COUNTY ROAD 1230 F
FAIRFIELD, TX 75840-5262                                    661     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Kong, Fanchen
186 E Lansdowne Cir
Spring, TX 77382-2727                                       811     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KOPPELMAN, JOHN C
26521 N 115TH ST
SCOTTSDALE, AZ 85255                                        576     1/21/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Kortlang, Jr., William F
1168 Hill Myna Ln
Spring Branch, TX 78070                                     647     1/21/2017         Maxus Energy Corporation                 $46,969.37                                                     $46,969.37
Kos, Joseph
551 Ridge Road
Brownsville, PA 15417                                       441     11/18/2016         Gateway Coal Company                         $0.00                                                          $0.00
KOTLINSKI, GREGORY W
24768 WILDWOOD DRIVE
WESTLAKE, OH 44145                                          515     1/19/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KOWENSKI, IRWIN
8826 PRICHETT DR
HOUSTON, TX 77096                                           1345     2/4/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KOZLOSKY, NANCY
1900 CHERRY ST
PANAMA CITY, FL 32401-4022                                  1394     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KRAUTH, GREGORY A
274 TRENTON LAKEWOOD RD
CREAM RIDGE, NJ 08514-2115                                  1802     2/8/2017         Maxus Energy Corporation                                $0.00                                                $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1905    2/10/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1944    2/10/2017          Gateway Coal Company                                   $0.00                                                $0.00


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                 Creditor Name and Address                Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                             Claim    Claim                    Priority   Claim Amount
                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1955    2/10/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1983    2/10/2017    Maxus International Energy Company                           $0.00                                                $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1985    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KRUTYHOLOWA, KATHY A
11560 AUBURN RD
CHARDON, OH 44024                                           1600     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KUCHES, THOMAS J
27490 BELMONT BLVD
MILLSBORO, DE 19966                                         2431    3/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KUHN, BILLY C
3440 CLARK RD
PERRY, OH 44081-9537                                        1928    2/12/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
KUMIN, JANE S
2873 GREEN ST
SAN FRANCISCO, CA 94123                                     845     1/26/2017         Maxus Energy Corporation                                $0.00                                                $0.00
KUNZE, DALE R
8132 TREE LAKE BLVD
POWELL, OH 43065-6920                                       864     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LABOVITZ, MARK
4850 N BONITA RIDGE AVE
TUCSON, AZ 85750-6255                                       711     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LABRY, LUCILLE
5930 LAKE RD W UNIT 703
ASHTABULA, OH 44004-8523                                    1381     2/2/2017         Maxus Energy Corporation                                $0.00                                                $0.00

LaFortune, Robert (deceased) and Deborah (beneficiary)
6580 S. Ridge Rd. West
Geneva, OH 44041                                            462     12/2/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
LAKE, CADY LORI
3412 ELGENWOOD TRL
ARLINGTON, TX 76015-3221                                    923     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lakeview Bluffs, LLC
Todd S. Davis, Esq.
3 Hemisphere Way
Bedford, OH 44146                                           104     10/20/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00


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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
LAMBERT, MARK T
3391 S ANGELLE ST
PAULINA, LA 70763-2229                           1596     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lambrecht, Glenn M
203 Caldwell St
Baytown, TX 77520-1211                           1480     2/5/2017    Maxus International Energy Company                 $0.00                                                          $0.00
LAMPE, N SCOTT
212 109TH AVE SE
BELLEVUE, WA 98004                               553     1/20/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
LAMPERT, ANDREW ALEXANDER
1484 MOUNTAIN RESERVE DR NW
KENNESAW, GA 30152-4844                          683     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                            679     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                            1613     2/8/2017          Gateway Coal Company                                   $0.00                                                $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                            1616     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                            1651     2/8/2017    Maxus International Energy Company                           $0.00                                                $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                            1673     2/8/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
LANDRY, LARRY P
65087 E ROCKY MESA DR
TUCSON, AZ 85739-1694                            584     1/21/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                          1591     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                          1874    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                            557     1/20/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                            573     1/20/2017          Gateway Coal Company                         $0.00                                                          $0.00




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                                                                                                                                  Current Current                    Current
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Larry Jr., John
c/o Addie Wiseman
2251 S. Springfield
Chicago, IL 60623                                 2716     8/8/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Larry, John
c/o Latonya McIntyre
2251 S. Springfield
Chicago, IL 60623                                 1739     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                     1012    1/30/2017          Gateway Coal Company                                   $0.00                                                 $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                     1039    1/30/2017    Maxus International Energy Company                           $0.00                                                 $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                     1040    1/30/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                     1065    1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                     1072    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Larson, Katherine D'Ann
6305 Hinsdale Drive
Amarillo, TX 79109                                451     11/29/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
LAUBACHER, DAVID L
2803 SPENCER CT
HOUSTON, TX 77089-7066                            673     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LAURIE, LANCE L
PO BOX 191
BOOKER, TX 79005-0191                             516     1/19/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Laurie, Lance L
PO Box 191
Booker, TX 79005-0191                             536     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                              1862    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                              1865    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                              1891    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                 Amount Amount                      Amount
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                             1956    2/10/2017          Gateway Coal Company                         $0.00                                                           $0.00
Laycock, Carol A.
2658 Equestrian Ave.
Springdale, AR 72762                             1991    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
LEAIR, WILLIAM
5308 REDFORD DR
BRUNSWICK, OH 44212-6469                         914     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                            1873    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                            1896    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                            2019    2/11/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                            1884    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                            1923    2/11/2017          Gateway Coal Company                         $0.00                                                           $0.00
Leavins, Jake
1083 FM 834 W
Liberty, TX 77575                                2533    3/29/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Leavins, Jake E.
1083 FM 834 West
Liberty, TX 77575                                1359     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LEDGEWOOD, ALAN
185 PATSY DRIVE
FLORENCE, AL 35633-1429                          1218     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LEDYARD, DEBORAH
1524 E 221ST STREET
EUCLID, OH 44117                                 675     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Lee, Jean E
1671 Stone Pine Lane
Menlo Park, CA 94027                             2401     3/6/2017         Maxus Energy Corporation                $524,000.00                                          $0.00      $524,000.00
LEE, TERRY W
1002 AVE P
SUNRAY, TX 79086                                 1151    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LEE, TERRY W
PO BOX 581
SUNRAY, TX 79086-0581                            1147    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                 Creditor Name and Address                  Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                              Amount Amount                      Amount
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
c/o Nicole R. Moshang, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cywnyd, PA 19004                                         313     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
Leemilt's Petroleum, Inc.
c/o Nicole R. Moshang, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                                         348     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
LEFEBVRE, DIANE L
3035 MARSH CROSSING DR
LAUREL, MD 20724-2952                                         766     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                          290     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                          366     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         308     10/31/2016        Maxus Energy Corporation                 $51,173.44                                                     $51,173.44
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         325     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
LELONG, ALEXANDER
2208 LOPEZ DR
ANTIOCH, CA 94509-4512                                        797     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LEONE, BARRY A
2955 EPPINGTON SOUTH DR
FORT MILL, SC 29708-6949                                      1323     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lester, Marshall V
76 Welsh Tract Rd.
Unit 305
Newark, DE 19713                                               70     9/23/2016         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
LEVET, KENNETH J
2191 N BANK LANE
VACHERIE, LA 70090                                            2170    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00



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                  Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                       Amount                         Priority Amount
                                                                                                                                     Amount Amount                      Amount
Lewczyk, Daniel Stanley
1924 Denver Dr.
Baton Rouge, LA 70810                                783     1/25/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                             452     11/30/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                             456     11/30/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
LEWIS, DAVID D
1859 COUNTY ROAD 1350
CHICKASHA, OK 73018-8023                             1555     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LEWIS, JAMES ALAN
5119 NC HIGHWAY 210 E 210
HARRELLS, NC 28444-7886                              978     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LEWIS, KATHY R
2006 TEXAS
PERRYTON, TX 79070                                   2207    2/14/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Lewis, Mary Lynn
59 West Shore Rd
Belvedere, CA 94920                                   98     10/19/2016        Maxus Energy Corporation                 $24,799.48     $0.00                                            $24,799.48
Lewis, Timothy W
454 Governors Rd SE
Winnabow, NC 28479                                   1471     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LIBBY, MARY
361 PHILLIPS DR.
COPPELL, TX 75019                                    2726     8/9/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Liberty Insurance Underwriters, Inc.
55 Water Street, 23rd Floor
New York, NY 10041                                    83     10/12/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Licata, John A
6200 Brook Shadow Drive
Greensboro, NC 27410                                 513     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LIGHTSEY, DARRELL G
28703 S FIRETHORNE RD
KATY, TX 77494-5919                                  1321     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LIMMER, JOHNNY RAY
710 WYND AVE 73869
PASADENA, TX 77503-2028                              2044    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                                  1767     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                                  1768     2/8/2017          Gateway Coal Company                         $0.00                                                           $0.00
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                  Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                        250     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                        259     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
LINEHAN, THOMAS M
18 STRAWBERRY CANYON PL
SPRING, TX 77382-2025                                     650     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LINKINS, SUE ELLEN
18702 SCENTED CANDLE WAY
SPRING, TX 77388-5543                                     593     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Lipscomb County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    58     9/23/2016         Maxus Energy Corporation                                $0.00    $0.00                                        $0.00
Lipscomb County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2544    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Liquidating Reichhold, Inc.
Attn: Mark Indelicato & Joseph Orbach
Hahn & Hessen LLP
488 Madison Avenue
New York, NY 10022                                        204     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Liquidating Reichold, Inc.
Hahn & Hessen, LLP
Attn: Mark Indelicato & Joseph Orbach
488 Madison Avenue
New York, NY 10022                                        160     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
LITTLE, GARY W
983 COUNTY ROAD 650
DAYTON, TX 77535-7619                                     2118    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LOCKWOOD, CAROL A
4301 RIDGE POLE LN
SPICEWOOD, TX 78669-6544                                  1130    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                                    1754     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00



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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                             2713     8/7/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Loftin, Michael W.
3815 Fordham Park Ct.
Houston, TX 77058-1209                             1377     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Loftis, Herbert Ray
915 Radnor Rd.
Wilmington, NC 28409                               2758    8/15/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
LOHR, SHIRLEY A
867 SKINNER AVE
PAINESVILLE, OH 44077-4252                         2346    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                           1356     2/3/2017          Gateway Coal Company                                   $0.00                                                 $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                           1360     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                           1365     2/3/2017    Maxus International Energy Company                           $0.00                                                 $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                           1367     2/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                           1368     2/3/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
LOUGHRY, ELEANOR
1114 PHYLLIS ST
DEER PARK, TX 77536-3624                           1578     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
LOUQUE, JODY P
3255 LA 642
PAULINA, LA 70763-2406                             1815     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LOUQUE, STEPHEN G
3405 S ANGELIE STREET
PAULINA, LA 70703                                  2185    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                                 2149    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                                 2193    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00




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                                                                                                                                             Amount Amount                      Amount

Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2617    4/17/2017         Maxus Energy Corporation             $14,365,320.14              $0.00                              $14,365,320.14

Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2629    4/17/2017            Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00

Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             134     10/26/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00

Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             135     10/26/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00
Lozier, John G
5603 Lobello Dr.
Dallas, TX 75229                                             1507     2/6/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Ludwig, Douglass E
489 Bauer RD
Bath, PA 18014                                               1363     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Lundin, Francis Walter
13080 Bayou Terrace Dr
Saint Amant, LA 70774                                        1997    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
LUTHER, GARY HANSEL
17550 BOBBYE LN
CANYON, TX 79015-8033                                        1428     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
LYLE, PAUL G
305 OLD STATE RD
TOWNSEND, DE 19734-9027                                      1332     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00



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                  Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                       Amount                         Priority Amount
                                                                                                                                     Amount Amount                      Amount
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                                 1633     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                                 2693    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
MacAfee, Douglas R.
4308 Roseland St
Houston, TX 77006                                    1252     2/2/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MADDOX, JOSEPH A
32839 FOXRUN DR
WALKER, LA 70785-5749                                2117    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Magna Legal Services
Attn: Barbara Previ, Esq.
1635 Market St.
8th Floor
Philadelphia, PA 19103                                19     8/17/2016         Maxus Energy Corporation                 $17,107.89                                                      $17,107.89
Malek, David R
1901 Willowbend Drive
Deer Park, TX 77536-8902                             1532     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Malkin, Charlotte Z
5860 Kings Hwy
Parma Heights, OH 44130-1747                         121     10/25/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Malkin, Irving
27200 Cedar Rd
Apt 431
Beachwood, OH 44122                                  120     10/25/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
MALKOWSKI, SUSAN E
321 S WESTHAVEN DR APT 104
OSHKOSH, WI 54904-7981                               1761     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     324     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     395     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     2645    5/10/2017         Maxus Energy Corporation                $829,379.13                                          $0.00      $829,379.13
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                                                                                                                       Amount                         Priority Amount
                                                                                                                                     Amount Amount                      Amount
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                     2651    5/10/2017            Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
MALLOY, BRENDA
NF44 LAKE CHEROKEE
LONGVIEW, TX 75603-9512                              1441     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                               1149    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                               1166    1/31/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                               1187    1/31/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                               1195    1/31/2017          Gateway Coal Company                                   $0.00                                                 $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                               1203    1/31/2017    Maxus International Energy Company                           $0.00                                                 $0.00
MANLEY, CHRIS LAMAR
153 CHIPPENDALE SQ
KINGSPORT, TN 37660                                  2020    2/12/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     1016    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     1018    1/30/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     1022    1/30/2017    Maxus International Energy Company                           $0.00                                                 $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     1024    1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     1048    1/30/2017          Gateway Coal Company                                   $0.00                                                 $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                     2732    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00


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                  Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                            Amount Amount                      Amount
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                            2733    8/14/2017    Maxus International Energy Company                                                                $0.00            $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                            2734    8/14/2017          Gateway Coal Company                         $0.00                                          $0.00            $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                            2735    8/14/2017            Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                                            2738    8/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                      1177    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                      1207    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                      1208    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                                      1210    1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                                      1212    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                                      1223    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                        2094    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                        2097    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00




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                  Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                        2100    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                           110     10/21/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                           2757    8/14/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Ste. 3700
Houston, TX 77002                                           2741    8/14/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00
Marie, Juan L
1507 Homespun Road
Austin, TX 78745-2946                                       1051    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MARKS, PEGGY M
9033 TERRACE PARK DRIVE
MENTOR, OH 44060-6435                                       1326     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MARONE, JOSEPH T
2202 BINDON DR
CEDAR PARK, TX 76613-1576                                   2536    3/29/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MARQUEZ, ROBERTO C
14223 ROUNDSTONE LN
HOUSTON, TX 77015-2451                                      2359    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MARSH, JOAN M
PO BOX 93123
PHOENIX, AZ 85070-3123                                      1661     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MARTIN, JAMES LARRY
1622 MAIN ST
CANADIAN, TX 79014-3511                                     1445     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MARTIN, RON H
7231 BLACK WALNUT CIRCLE
LOUISVILLE, KY 40229                                        1353     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                                        700     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                             2701    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                          455     11/30/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                          454     11/30/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
MATHERNE, GARY M
PO BOX 2721
RESERVE, LA 70084-2721                           1817     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Mathis, Chris L
3605 Field Stone Dr.
Carrollton, TX 75007                             495     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MATHUR, VINOD R
8705 BALTUSROL DR
FLOWER MOUND, TX 75022                           1148    1/31/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MATITS, JUDITH N
605 DAREN LN O605
MINE HILL, NJ 07803-3053                         1759     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MATRANGA, JOSEPH D
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                       2074    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MATRANGA, PAULA E
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                       2051    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
May, Don Earl
331 Lakeview Dr.
Victoria, TX 77905-4017                          1830     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MAYEAUX, LARRY DALE
1842 SIMMONS RD
DERIDDER, LA 70634-8331                          1431     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MAYHEW, S J
1407 TRAILWOOD VILLAGE DR
KINGWOOD, TX 77339-3328                          1396     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MAYHEW, SHELIA J
1409 TRAILWOOD VLG DR
KINGWOOD, TX 77339                               1379     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MAYON, TIMOTHY A.
402 TOURNAMENT BLVD.
BERWICK, LA 70342                                2680    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
MCAFEE, NANCY K
1900 CHERRY ST
PANAMA CITY, FL 32401                            1397     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                   Claim    Claim                    Priority    Claim Amount
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                                                                                                                                  Amount Amount                      Amount
MCAFEE, NINA R
31426 IMPERIAL BLUFF COURT
SPRING, TX 77386-1590                             714     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MCBRIDE, DAVID L
1710 JANELL RENE CIR
DEER PARK, TX 77536-2843                          1337     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
McCain, G. Howard
250 Orton Rd
Painesville, OH 44077                              29      9/9/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
McCain, George H
250 Orton Rd.
Painesville, OH 44077                              23      9/9/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
MCCARTHY, ROBERT J
102 DARTER LN
NORTH WALES, PA 19454-1155                        638     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCCLURE, VICTOR L.
288 N STATE RD 129
MILAN, IN 47031-9189                              2729    8/11/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
MCCOY, MARTHA V
6426 ST ALBAN CT
ARLINGTON, TX 76001-7895                          1490     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MCCOY, THOMAS P
PO BOX 485
ROGERSVILLE, AL 35652-0485                        1310     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
McCullough, John R
20 Bayon Dr Apt 216
South Hadley, MA 01075-3335                       363     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Mcdowell, Stephen
545 Carma Dr
Shippensburg, PA 17257-8418                       1020    1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                             1841     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                             1850     2/9/2017          Gateway Coal Company                         $0.00                                                           $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                             1851     2/9/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                             1861     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                             1863     2/9/2017    Maxus International Energy Company                 $0.00                                                           $0.00
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
MCFADDEN JR, LEROY
3005 CABOT COURT
WILMINGTON, NC 28405                              2058    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MCFATHER, JANICE S
1301 Garrison DR
ST Augustine, FL 32092-1072                       560     1/20/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MCGOVNEY, MCGOVNEY A
14812 AVERY RANCH BLVD APT 69
AUSTIN, TX 78717-3939                             2189    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MCGREW, WILLIAM S
4919 PLEASANT PLAINS DR
FRIENDSWOOD, TX 77546-2952                        918     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           1421     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2282    2/15/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2285    2/15/2017          Gateway Coal Company                         $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2286    2/15/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2289    2/15/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2290    2/15/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2291    2/15/2017          Gateway Coal Company                         $0.00                                                          $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                           2299    2/15/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581                                2283    2/15/2017    Maxus International Energy Company                           $0.00                                                $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581-3712                           2295    2/15/2017    Maxus International Energy Company                 $0.00                                                          $0.00
MCINTOSH, JOHN K
3324 ZION RD
VAN BUREN, AR 72956-8782                          1034    1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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                  Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                            Amount Amount                      Amount
MCINTOSH, RAYE S
2411 ANTHONY LN
PEARLAND, TX 77581-3712                                     1418     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                             2056    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                             2060    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
McIntyre, John F.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                        2153    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MCKAUGHAN, FANNIE B
PO BOX 127
Soper, OK 74759                                             2113    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
McKean, Marcia R
3402 Forestway Ct
Arlington, TX 76001                                         2647     5/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                                          1473     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                                          1474     2/4/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                                            1854    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                                            1858    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                                            2725     8/9/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
McKool Smith PC
Michael John Miguel
300 South Grand Ave.
Suite 2900
Los Angeles, CA 90071                                       168     10/28/2016        Maxus Energy Corporation                 $71,909.61                                                      $71,909.61
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                                                                                                                                Amount Amount                      Amount
McLain Clark, Valorie K
5312 Dunster Dr
McKinney, TX 75070-8886                         1832     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCMILLAN, RANDALL S
26 FAIRVIEW RD
KIRKWOOD, PA 17536-9300                         1402     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCMILLEN, KAYETTE E
3959 SOUTHERN BEND
MISSOURI CITY, TX 77459                         873     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCMURRY, WILLIAM GREGORY
7209 QUEENS PLACE
AMARILLO, TX 79109-6489                         1234     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
McPherson, Kenneth W.
PO BOX 1200
Canadian, TX 79014-1200                         2109    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MCPHERSON, VENITA H
11010 COUNTY ROAD 10
CANADIAN, TX 79014-4928                         939     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MCWILLIAMS, DOUGLAS L
1806 MACLIN DR
TUSCUMBIA, AL 35674-6102                        2062    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Megel Inc
4809 Westway Park Blvd
Houston, TX 77041                                48     9/19/2016         Maxus Energy Corporation                 $58,325.38                                                      $58,325.38
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                              2636    4/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                              2739    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                           876     1/27/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                           877     1/27/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                           878     1/27/2017          Gateway Coal Company                                   $0.00                                                 $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                           907     1/27/2017    Maxus International Energy Company                           $0.00                                                 $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                           908     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
MEUSEL, ARTHUR L
2344 BRENTFIELD RD W
JACKSONVILLE, FL 32225                           559     1/20/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                1958    2/12/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                2016    2/11/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                2021    2/12/2017    Maxus International Energy Company                 $0.00                                                          $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                2022    2/12/2017          Gateway Coal Company                         $0.00                                                          $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                2023    2/12/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
MICHAEL, DANNY J
212 W QUEENSBURY LN
FLORENCE, AL 35630-6662                          974     1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MICHELOTTI, ROBERT J
7721 TRIPP AVE
AMARILLO, TX 79121-1769                          780     1/25/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MIDKIFF JR, ARLIE E
704 CHRISTIAN DR
CHARLESTON, WV 25303                             785     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MIDKIFF, ARLIE E
704 CHRISTIAN DR
SOUTH CHARLESTON, WV 25303-2824                  730     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                             1940    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                             2030    2/12/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MILES, KENNETH D
11230 SAGEWOOD DR
HOUSTON, TX 77089-4751                           2240    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MILES, NICK P
1630 RIDING CLUB ROAD
KEENE, VA 22946                                  1829     2/9/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MILLER, ELTON L
4743 BELLE MEADOW RD
MENTOR, OH 44060-1116                            943     1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Miller, Frank Richard
1135 North Lincoln
Casper, WY 82601                                  1980    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MILLER, JON MARSHALL
4031 COBBLERS LN
DALLAS, TX 75287-6724                             2361    2/22/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                        842     1/26/2017          Gateway Coal Company                         $0.00                                                          $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                        846     1/26/2017    Maxus International Energy Company                 $0.00                                                          $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                        863     1/26/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                        884     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                        890     1/26/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
MILLER, LANDIS E
702 RIVER ST
GRAND RIVER, OH 44045-0452                        2049    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-3930                             507     1/19/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-693                              527     1/19/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-6930                             508     1/19/2017          Gateway Coal Company                         $0.00                                                          $0.00
Miller, Linda C
6701 Eastridge Rd. Apt #117
Odessa, TX 79762                                  2363    2/22/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MILLER, MICHAEL J.
PO BOX 51105
AMARILLO, TX 79159-1105                           436     11/11/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
MILLER, THOMAS WILLIAM
2933 FAWN DR
BURLINGTON, KY 41005-9738                         1961    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MILLER, W MARK
4225 STANTON BLVD
PLANO, TX 75093-6918                              2314    2/17/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Millet, Mark A.
3674 Angelle Lane
Paulina, LA 70763                                 1771     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                         1566     2/7/2017          Gateway Coal Company                         $0.00                                                           $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                         1576     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                         1579     2/7/2017    Maxus International Energy Company                 $0.00                                                           $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                         1641     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                         1695     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
MIMS, DARRELL W
10565 WREN RIDGE RD
ALPHARETTA, GA 30022-6646                         592     1/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MIZNER, DAVID R
3359 MCCONNELL RD
HERMITAGE, PA 16148-3215                          979     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MOELLER, TIMOTHY C
14103 DEER RUN ST
MAGNOLIA, TX 77355-3887                           1462     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MOFFETT, ROBERT L
PO BOX 29
39 WEST COMMERCE
KENTON, DE 19955-0029                             630     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MOGEL, RAY L
20037 ROCKWELL RD
CORONA, CA 92881-4893                             1688     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MOLLMANN, NORBERT A
2765 ROSEANN LN
CINCINNATI, OH 45239-7249                         684     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                                970     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                                2679    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00



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                                                                                                                                              Claim    Claim                    Priority    Claim Amount
                                                                                                                               Amount                         Priority Amount
                                                                                                                                             Amount Amount                      Amount
Monastyrski, Swetlana
104 Lake Road B-2
Valley Cottage, NY 10989                                     211     10/27/2016        Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                       1340     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                       1348     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                       1352     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                       1354     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                                       1488     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Montgomery County
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253-3064                                        6       7/5/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
MONTGOMERY, DONALD R
191 PARK AVE
KILLEN, AL 35645-9240                                        919     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MONTGOMERY, MARY C
205 NORTH ST
CHARDON, OH 44024-1031                                       1577     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Moore County and Entities Collected by Moore County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                       59     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Moore County and Entities Collected by Moore County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                      2541    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
MOORE, GWEN J
902 MOORE DR NE
LELAND, NC 28451-8393                                        1440     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                                        541     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                                        1036    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
MORAN, MICHAEL C
32 KENTUCKY DR
LITTLE EGG HARBOR TWP, NJ 08087-1035              641     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Morgan, Penny
207 Park Meadows Drive
Euless, TX 76039                                  448     11/23/2016        Maxus Energy Corporation                  $7,498.68     $0.00                                            $7,498.68
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                             2292    2/15/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                             2294    2/15/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                             2296    2/15/2017    Maxus International Energy Company                 $0.00                                                          $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                             2297    2/15/2017          Gateway Coal Company                         $0.00                                                          $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                             2298    2/15/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Morris, Faye Z
8359 HWY 405
Donaldsonville, LA 70346-8313                     1995    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1343     2/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1453     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1457     2/3/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1460     2/3/2017    Maxus International Energy Company                           $0.00                                                $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                             1467     2/3/2017          Gateway Coal Company                                   $0.00                                                $0.00
Mosher, Scott L
225 Highland St
Woodland Park, CO 80863-1503                      1272     2/1/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MOSHER, SCOTT L
225 HIGHLAND ST
WOODLAND PARK, CO 80863-1503                      2493    3/20/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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                Creditor Name and Address            Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                        Claim    Claim                    Priority   Claim Amount
                                                                                                                         Amount                         Priority Amount
                                                                                                                                       Amount Amount                      Amount
Mosher, Scott L.
225 Highland St
Woodland Park, CO 80863                                501     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MOSS, CLIFTON O
30 LYRIC DR
NEWARK, DE 19702-4521                                  843     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Moss, Matthew Scott
7906 Success Place
Amarillo, TX 79119                                     1525     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
MURALT, IONE
1462 15TH ST N
WAHPETON, ND 58075-3519                                1656     2/8/2017    Maxus International Energy Company                 $0.00                                                          $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                     1818     2/9/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                     1820     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                                     1823     2/9/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Murphy Exploration & Production Company - USA
J. Eric Lockridge
Kean, Miller
400 Convention Street, Suite 700
Baton Rouge, LA 70802                                  140     10/27/2016        Maxus Energy Corporation                $180,000.00                                                    $180,000.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2120    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2151    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2154    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2169    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2187    2/13/2017          Gateway Coal Company                                   $0.00                                                $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                        2033    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
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                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                   2073    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                   2076    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Murray, Curtis W
27410 Winebrook Creek Ln
Katy, TX 77494-2768                               491     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MURRAY, JAMES E
2511 25TH STREET NE
SALMON ARM, BC V1E 2Z7
Canada                                            676     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MURRAY, MILLARD C
1280 WHITESTOCKING RD
BURGAW, NC 28425-3322                             756     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Myers, Lonnie L.
206 Wellesley Drive
Spartanburg, SC 29307-2967                        505     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
MYERS, PAUL D
7908 OAK KNOLL DR
NORTH RICHLAND HILLS, TX 76182-8701               966     1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                                  882     1/27/2017          Gateway Coal Company                         $0.00                                                          $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                                  840     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                                  872     1/27/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                                  874     1/27/2017    Maxus International Energy Company                 $0.00                                                          $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                                  875     1/27/2017    Maxus International Energy Company                 $0.00                                                          $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                                  906     1/27/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
NAPOLES, JULIO L
4440 HIGHLANDER DR
DALLAS, TX 75287-6843                             1119    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                      Claim    Claim                    Priority    Claim Amount
                                                                                                                      Amount                          Priority Amount
                                                                                                                                     Amount Amount                      Amount
NASSAR, NAHEEM G
5390 CANATELLA ST
CONVENT, LA 70723-2100                              732     1/24/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
Nastick Sr, Henry P
619 Hoppers Lane
Havre De Grace, MD 21078-2735                       1120     2/1/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue
Suite 1015
Wilmington, DE 19801-1671                           339     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                           252     10/31/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                           2641     5/9/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                           2652     5/9/2017            Tierra Solutions, Inc.              $1,027,806.46                                                   $1,027,806.46
Nautilus Pipeline Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                                   111     10/21/2016    Maxus (U.S.) Exploration Company                  $0.00                                                            $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                              2740    8/14/2017     Maxus (U.S.) Exploration Company                                                                  $0.00            $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                              2753    8/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                           $0.00            $0.00
NEAL, JOHN R
9810 CREEKWOOD RD
LOUISVILLE, KY 40223-1174                           2313    2/17/2017         Maxus Energy Corporation                                 $0.00    $0.00                                        $0.00
NEEF, TERRI J
2945 FM 876
WAXAHACHIE, TX 75167-8349                           1262    1/31/2017         Maxus Energy Corporation                      $0.00                                                            $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            591     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            1141    1/31/2017    Maxus International Energy Company                 $0.00                                                          $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            1243    1/31/2017          Gateway Coal Company                         $0.00                                                          $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            1244    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            1245    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                            1264    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NELSON, FRANCES
184 LARCHWOOD DR
PAINESVILLE, OH 44077-1939                         1584     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                             492     1/18/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                             493     1/18/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                             499     1/18/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NEMETH, GERALD F
103 S CASTLEGREEN CIR
SPRING, TX 77381-6339                              1406     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NESBITT, LINWOOD
612 BRACKEN FERN DR
WILMINGTON, NC 28405                               1465     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Nethercutt, Melvin M
4196 FM 1011
Liberty, TX 77575                                  579     1/23/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
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                                                                                                                                                   Current Current                    Current
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                  Creditor Name and Address                      Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                                     Amount                         Priority Amount
                                                                                                                                                   Amount Amount                      Amount
NEUMEISTER, BETTY D
530 STONEHENGE DR
CROSSVILLE, TN 38558-2728                                          836     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
NEUSSE, CINDY L
2304 FALL RIVER DR
ARLINGTON, TX 76006                                                1458     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            206     10/27/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            212     10/27/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                            223     10/27/2016   Maxus International Energy Company                 $0.00                                                          $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  391     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
Newell Brands Inc.
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  372     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   598     1/23/2017         Maxus Energy Corporation                                $0.00                                                $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   603     1/23/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                                                   616     1/23/2017    Maxus International Energy Company                           $0.00                                                $0.00
NICHOLS, KEITH HAMLIN
16313 JERSEY HOLLOW DR
JERSEY VILLAGE, TX 77040-1131                                      1429     2/6/2017         Maxus Energy Corporation                                $0.00                                                $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065                                    712     1/24/2017    Maxus International Energy Company                           $0.00                                                 $0.00
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065-5049                               696     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Nickell, Ricky J.
617 Red Deer St
Pampa, TX 79065-5049                               655     1/24/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
NIERWIENSKI, KENNETH J
1145 INGATE RD
HALETHORPE, MD 21227-3850                          892     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Nikolis, Theodore P.
515 East 89th Street
Apt 3H
New York, NY 10128                                 117     10/24/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Norderhaug, Kathleen J
5950 Lindenshire Lane # 408
Dallas, TX 75230-2744                              841     1/26/2017    Maxus International Energy Company                 $0.00                                                           $0.00
NORDERHAUG, KATHLEEN J
5950 LINDENSHIRE LN APT 408
DALLAS, TX 75230-2744                              806     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                              171     10/28/2016        Maxus Energy Corporation                  $1,366.20                                                       $1,366.20
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                              303     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
OAKTON, INC.
P.O. Box 144
Painesville, OH 44077                              310     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Occidental Chemical Corporation
Attn: Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                                   2587     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
Occidental Chemical Corporation
Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                   2597     4/3/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00




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                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
Occidental Chemical Corporation
Melissa Hunt
Associate General Counsel
Occidental Petroleum
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            320     10/31/2016        Maxus Energy Corporation            $510,626,872.18                                                  $510,626,872.18
Occidental Chemical Corporation
Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                                            2582     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00             $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            316     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            408     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                            $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            413     10/31/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            2574     4/3/2017         Maxus Energy Corporation                                                                     $0.00             $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                            2599     4/3/2017          Gateway Coal Company                                                                        $0.00             $0.00
Ochiltree County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                      66     9/23/2016         Maxus Energy Corporation                                $0.00    $0.00                                         $0.00
Ochiltree County Appraisal District
Perdue, Brandon, Fielder, Collins and Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                     2538    3/30/2017         Maxus Energy Corporation                                                                     $0.00             $0.00


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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
ODLE, WILLIAM C
3405 MARSALIS LANE
PLANO, TX 75074-8795                                1430     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ODOM, RICHARD D
4163 LITTLE KELLY RD
ROCKY POINT, NC 28457-8665                          1770     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                             1843    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                             1848    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                             1849    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                             1977    2/10/2017          Gateway Coal Company                         $0.00                                                           $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                             1986    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                                   304     10/31/2016         Gateway Coal Company                         $0.00              $0.00                                        $0.00
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                                   396     10/31/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                                    2224    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                                    2684    7/28/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
OLSCHESKY, ROBERT F
3515 S COLLEGE RD 397/8
WILMINGTON, NC 28412-0913                           2345    2/21/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Ondercin, Gregory S.
16225 Lake Forest Dr.
Strongville, OH 44136-2521                          1561     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Orr, John Steve
PO Box 19
Stinnett, TX 79083                                 930     1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ORR, MICHAEL D
150 ROCKROSE DRIVE
LONGVIEW, TX 75605                                 605     1/23/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Otis Elevator Company
Attn: Brian Freeman, Esquire
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103                                 264     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Otis Elevator Company
Robinson + Cole
Attn: Brian Freeman Esq.
280 Trumball Street
Hartford, CT 06103                                 267     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
OTTATO, MADELYNE A
5 COVENTRY LANE
LEWES, DE 19958-4107                               1256     2/2/2017         Maxus Energy Corporation                                $0.00                                                $0.00
OTY, JOHN W
685 S LA POSADA CIR UNIT 2802
GREEN VALLEY, AZ 85614                             1075    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
OZUNA, LIONEL C.
813 HOLDEN CT
GARLAND, TX 75044                                  1274     2/1/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PACHULSKI, JAMES M.
16311 TURTLE DOVE LANE
CANYON, TX 79015                                   587     1/21/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                                  1434     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                                  1459     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Padilla, Gabriel
105 Bayrock Circle
Amarillo, TX 79118                                 2017    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                             977     1/29/2017          Gateway Coal Company                         $0.00                                                          $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                             981     1/29/2017    Maxus International Energy Company                 $0.00                                                          $0.00



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                                                                                                                                  Amount Amount                      Amount
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                            982     1/29/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                            983     1/29/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                            991     1/29/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Padley, Patrick D
7414 Dearborn
Houston, TX 77055                                 1031    1/29/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Pakebusch, Mary Ann
P.O. Box 9945
Spring, TX 77387-6945                             805     1/26/2017         Maxus Energy Corporation                                $0.00                                                $0.00
PAKEBUSCH, MARY ANN
PO BOX 9945
SPRING, TX 77387-6945                             1089    1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                             1278     2/1/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                             1279     2/1/2017          Gateway Coal Company                         $0.00                                                          $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                             1281     2/1/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                             1282     2/1/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                             1286     2/1/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565                    1131    1/30/2017    Maxus International Energy Company                 $0.00                                                          $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565                    945     1/30/2017          Gateway Coal Company                         $0.00                                                          $0.00
Palugyay, Grace M
49830 Shelby Road
Shelby Township, MI 48317-1565                    1054    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565                    1056    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565                    1067    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                              1674     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                              1677     2/9/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                              1822     2/9/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                              1824     2/9/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                              1826     2/9/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PARK, DOUGLAS A
11215 BUSHIRE DRIVE
DALLAS, TX 75229                                  2714     8/7/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       1125    1/31/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       1175    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       1181    1/31/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       1186    1/31/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       1189    1/31/2017    Maxus International Energy Company                           $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                       2606     4/5/2017          Gateway Coal Company                                   $0.00                                                 $0.00
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                                                                                                                                    Amount Amount                      Amount
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                         2607     4/5/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                         2608     4/5/2017    Maxus International Energy Company                           $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                         2609     4/5/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                         2614     4/5/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                         2715     8/8/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PARKS, JACK A
PO BOX 634
CLAYMONT, DE 19703-0634                             1334     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PARRISH, JAMES E
121 MOUNTAIN BROOK DR
KILLEN, AL 35645-8831                               2176    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PARSONS, DAVID A.
106 WHITE ST. APT D
CHARLESTON, WV 25302                                1589     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PARSONS, MARY ANN
PO BOX 765
CENTER, TX 75935-0765                               973     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PASCHALL, LINDA M
11142 SUNSET RIDGE ST
LA PORTE, TX 77571-9374                             686     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                                151     10/27/2016        Maxus Energy Corporation                      $0.00                                                           $0.00




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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                                188     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                                401     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                                405     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
PATT, CHRISTINE JOANN
911 SAGE TREE CT
LAS VEGAS, NV 89101-5555                            2179    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                            554     1/20/2017    Maxus International Energy Company                 $0.00     $0.00                                                $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                            555     1/20/2017            Tierra Solutions, Inc.                     $0.00     $0.00                                                $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                            556     1/20/2017     Maxus (U.S.) Exploration Company                  $0.00     $0.00                                                $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                            572     1/20/2017          Gateway Coal Company                                   $0.00                                                $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                            574     1/20/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Pattillo, Kathy June
107 Camaron Dr
Shawnee, OK 74804-9711                              1482     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Paul, McKinley
5702 Tautenhahn Rd
Houston, TX 77016                                   1390     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PAULEY, LARRY W
535 21ST STREET
DUNBAR, WV 25064                                    1545     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
PAVLICH, MICHAEL E
26 FORGE HILL PL
SPRING, TX 77381-4308                             996     1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                        1009    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                        1019    1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                        1023    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                        1025    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                        1029    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                              1081    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                              2702    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PAZUR, ANDREW S
WEST 7119 COUNTY RD N
PLYMOUTH, WI 53073                                1037    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Pearson-Alexander, Dalia
21351 Village Crossing Lane
Porter, TX 77365                                  2121    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
PEARSON-ALEXANDER, DALIA
21351 VILLAGE CROSSING LANE
PORTER, TX 77365-5187                             1918    2/12/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                         2300    2/15/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                         2301    2/15/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                         2302    2/15/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                         2303    2/15/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                           2305    2/15/2017    Maxus International Energy Company                           $0.00                                                $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                             1554     2/7/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                             1693     2/7/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Pena, Jerry
2305 Thomas Ave
Pasadena, TX 77506-3053                             1696     2/7/2017          Gateway Coal Company                                   $0.00                                                $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                             1713     2/7/2017    Maxus International Energy Company                           $0.00                                                $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                             1714     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Pen-Cal Administrators, Inc
6210 Stoneridge Mall Rd. Ste 300
Pleasanton, CA 95683                                360     10/31/2016        Maxus Energy Corporation                                $0.00                                                $0.00
Pendleton, John Asbury
3805 Navasota
Amarillo, TX 79109                                  467     12/5/2016         Maxus Energy Corporation                                $0.00                                                $0.00
Penner, Don L
40205 Alise Ave
Prairieville, LA 70769                              825     1/26/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Pennington, James M
29731 East Irvin Rd
Huffman, TX 77336                                   2064    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                           228     10/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                           2304    2/16/2017         Maxus Energy Corporation                      $0.00                                                          $0.00




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                  Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
                                                                                                                                            Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                          Priority Amount
                                                                                                                                           Amount Amount                      Amount
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K St., N.W.
Suite 340
, Washington DC 20005-4026                                242     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Pension Benefit Guaranty Corporation
Office Of The Chief Counsel
Attn: Michael Baird
1200 K Street
Suite 340
Washington, DC 20005-4026                                 236     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K Street, N.W.
Suite 340
Washington, DC 20005-4026                                 187     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K St., NW, Suite 340
Washington, DC 20005-4026                                 2284    2/15/2017         Maxus Energy Corporation               $4,662,443.42                                                   $4,662,443.42
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, N.W., Suite 340
Washington, DC 20005-4026                                 237     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                 225     10/28/2016        Maxus Energy Corporation                      $0.00                                                            $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                 226     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                 229     10/28/2016        Maxus Energy Corporation                                 $0.00                                $0.00            $0.00
Peplowski, Michael A.
5501 W. Loveland Rd.
Madison, OH 44057-9007                                    1835    2/10/2017         Maxus Energy Corporation                      $0.00                                                            $0.00
PEREZ, CARLOS
750 COUNTY ROAD 316
FLORENCE, AL 35634-6006                                   1618     2/6/2017         Maxus Energy Corporation                      $0.00                                                            $0.00


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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
PERKOSKI, DAVID B
22 DANIELS AVE
CONNEAUT, OH 44030-2315                           777     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                1410     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                1433     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                1437     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                1611     2/6/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                1623     2/6/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PERRETTA, PAUL F
7471 HUNTING LAKE DR.
PAINESVILLE, OH 44077                             905     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                                 807     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                                 2677    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PERTL, DAVID J
6206 JAMESON RD
AMARILLO, TX 79106                                1194    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PESHO, BETTY
6071 DOUGLAS DRIVE
MADISON, OH 44057-1819                            678     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PETERS, BARBARA
5010 GROVE WEST BLVD UNIT 807
STAFFORD, TX 77477-2620                           2356    2/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                      1265    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                      1266    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                      1287     2/1/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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                 Creditor Name and Address                      Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                    Amount                         Priority Amount
                                                                                                                                                  Amount Amount                      Amount
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1294     2/1/2017          Gateway Coal Company                         $0.00                                                           $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                                      1299     2/1/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              645     1/23/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              660     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                                              2717     8/8/2017          Gateway Coal Company                         $0.00                                          $0.00            $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2227    2/14/2017    Maxus International Energy Company                 $0.00                                                           $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2228    2/14/2017          Gateway Coal Company                         $0.00                                                           $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2229    2/14/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2230    2/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                                         2232    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PETRUCCY JR, PAUL J
7975 CRAIN HWY S UNIT 123
GLEN BURNIE, MD 21061-4969                                        1159    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               22      9/8/2016            Tierra Solutions, Inc.                               $0.00                                                 $0.00

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               24      9/8/2016         Maxus Energy Corporation                                $0.00                                                 $0.00
PFEIFER, CHERYL
2121 BALLYCASTLE DRIVE
ARLINGTON, TX 76017-4512                                          736     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                    Amount Amount                      Amount
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                                  145     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                                  153     10/27/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                               371     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                               404     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                    195     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                    288     10/28/2016        Maxus Energy Corporation                                         $0.00                                       $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                    289     10/28/2016   Maxus International Energy Company                                    $0.00                                       $0.00
Phillips, Charles N
114 Myrtle Lane
Onalaska, TX 77360                                  484     1/17/2017         Maxus Energy Corporation                                $0.00                                                $0.00
PHIPPS, GARY L
312 ASTILBE COURT
BEAR, DE 19701                                      652     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Pickel, Peggy D
23431 Banks Mill Drive
New Caney, TX 77357-1578                            1085    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00


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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
PIERCE, PEGGY J
RR 2 BOX 111
BALKO, OK 73931-9802                             1988    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PIERCE, THEODORE
139 LAKESIDE DR
MONTGOMERY, TX 77356-9031                        900     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Pietrantonio, Ralph
51 Zephyr Rd
Trumbull, CT 06611-2207                          1378     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           609     1/24/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           610     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           611     1/24/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           613     1/24/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           617     1/24/2017          Gateway Coal Company                         $0.00                                                          $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                           618     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                             1271     2/2/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                             1273     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                             1308     2/2/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Pisani, Victor F
PO BOX 8952
Mandeville, LA 70470                             1304     2/2/2017          Gateway Coal Company                         $0.00                                                          $0.00
Pisani, Victor F
PO Box 8952
Mandeville, LA 70470                             1305     2/2/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Pitman, Ellis R
13823 Lantern Lane
Houston, TX 77015                                 76     9/20/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Pittenger, Richard T
4720 Yorkshire Lane
Suwanee, GA 30024                                  2181    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
PLETCHER, BYRON
19549 E 1115 RD
ELK CITY, OK 73644-9504                            1314     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                              1660     2/7/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                              1716     2/7/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                              1717     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                              1733     2/7/2017    Maxus International Energy Company                           $0.00                                                $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                              1736     2/7/2017          Gateway Coal Company                                   $0.00                                                $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                               737     1/25/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                               738     1/25/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                               744     1/25/2017          Gateway Coal Company                         $0.00                                                          $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                               745     1/25/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                               749     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Pokorny, Christine A.
7039 Anthony Lane
Parma Hts., OH 44130                               443     11/18/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
POND, KATHY S
1005 IVY AVE
DEER PARK, TX 77536-3223                           1236     2/2/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
POOLE, KENNETH
29 CLAREMONT AVE
JERSEY CITY, NJ 07305-4414                         1298     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                   Amount Amount                      Amount
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                                 402     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                                 2768    7/30/2018            Tierra Solutions, Inc.               $244,379.14                                                     $244,379.14
POTTS, CARROLL C
4614 OAKMONT CIRCLE
PASADENA, TX 77505-4320                            551     1/20/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
POWELL, CLIFTON EARL
5338 ESPUELA LN
BAYTOWN, TX 77521-2647                             1548     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                           1564     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                           2703     8/1/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
POWELL, H JOSEPH
95 JL POWELL RD 5
WILLARD, NC 28478-9301                             971     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
POWELL, JOHN D
14703 CARSEN BND
CYPRESS, TX 77429                                  1590     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                 306     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                 336     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                 373     10/31/2016        Maxus Energy Corporation                                         $0.00                                        $0.00



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                                                                                                                                 Amount Amount                      Amount
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                               381     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
PRAMIK, KENNETH R
201 COMMONS PARK SOUTH
APT 1502
STAMFORD, CT 06902                               2705     8/2/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                           1557     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                           1572     2/7/2017    Maxus International Energy Company                 $0.00                                                           $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                           1580     2/7/2017          Gateway Coal Company                         $0.00                                                           $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                           1640     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                           1743     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
PRESSLY, KIMBERLY ANN
3638 DESERT RUN DR
LA PORTE, TX 77571-7909                          1372     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Pride Energy Company
4641 E. 91st St.
Tulsa , OK 74137                                  68     9/30/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Prince, Joseph W
3106 Hays
Pasadena, TX 77503                               101     10/18/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Prince, Pamela M.
6680 Ross Road
Madison, OH 44057                                1839    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                 2050    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00


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                                                                                                                                     Amount Amount                      Amount
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                     2745    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
PROCTOR, JOHN D
PO BOX 58614
LOUISVILLE, KY 40268-0614                            1315     2/2/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2334    2/18/2017    Maxus International Energy Company                           $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2335    2/18/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2336    2/18/2017    Maxus International Energy Company                           $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2337    2/18/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2338    2/18/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2339    2/18/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2340    2/18/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2341    2/18/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2342    2/18/2017          Gateway Coal Company                                   $0.00                                                 $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                                2343    2/18/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
PSEG Fossil, LLC
Attn: Philip W. Allogramento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                   399     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00




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                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
PSEG Fossil, LLC
Attn: Phillp W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                  386     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Public Service Electric and Gas Company
Attn: Philip W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                  390     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Public Service Electric and Gas Company
Attn: Phillip W. Allogremento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                  385     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                  411     11/2/2016            Tierra Solutions, Inc.                                        $0.00                                       $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                  412     11/2/2016         Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                                232     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                                234     10/28/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00
QUINONES, DONALD L
143 SCHOLAR RD
GUYTON, GA 31312-6249                               697     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Quirk, Randy J.
7914 Barstow Drive
Amarillo, TX 79118-8107                             468     12/13/2016        Maxus Energy Corporation                      $0.00                                                          $0.00



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                                                                                                                                    Amount Amount                      Amount
Rabbe, David
98 Scott Rd
Warick, MD 21912-1241                               142     10/27/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
Rabbe, David
98 Scott Rd
Warrick, MD 21912-1241                              139     10/27/2016           Tierra Solutions, Inc.                     $0.00     $0.00                                                 $0.00
RABBE, DAVID E
98 Scott Rd
Warick, MD 21912-1241                               861     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Rabe, Robert K
P.O. Box 558
Lone Grove, OK 73443                                 97     10/19/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
RABORN, CLEHON B
206 FLAGSTONE COURT
LAFAYETTE, LA 70503-5966                            568     1/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
RABURN, LISA L
2803 TROON RD
ENNIS, TX 75119-7266                                772     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
RACKLEY, CARL H
18091 US HIGHWAY 421
WATHA, NC 28478-8488                                1317     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Rainosek, Beverly
1513 Narcille St
Baytown, TX 77520                                   2459    3/16/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Ramboll Environ
Ramboll Environ US Corporation
4350 North Fairfax Drive
Suite 300
Arlington, VA 22203                                  21     8/30/2016            Tierra Solutions, Inc.                $76,089.35                                                      $76,089.35
Ramsey, Hal
104 Willis Dr. Lot 24
Saint Martinville, LA 70582-5101                    497     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
RAMSEY, STEVEN P
1290 MORGAN RD
KELLY, NC 28448                                     2709     8/4/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
RANDALL, ALBERT G
56 CIMARRON ESTATES GREEN
OKOTOKS, AB T1S 0A4
Canada                                              1882    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
RANGEL, RAMONA
521 S CLINTON AVE
DALLAS, TX 75208-5918                               2396     3/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Rankin, Betty
56 Castle View Drive
McKees Rocks, PA 15136                              133     10/26/2016         Gateway Coal Company                         $0.00                                                           $0.00
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RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                           1324     2/3/2017    Maxus International Energy Company                 $0.00                                                          $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                           1328     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                           1384     2/3/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                           1435     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Rankin, Paul L
11020 Mesquite Road
Canadian, TX 79014                                127     10/26/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
Ray, Gary D
3405 Somerset Ln
Deer Park, TX 77536-5285                          614     1/23/2017    Maxus International Energy Company                 $0.00                                                          $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                          704     1/23/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                          709     1/23/2017          Gateway Coal Company                         $0.00                                                          $0.00
RAY, GARY D
3405 SOMERSET LN.
DEER PARK, TX 77536-5285                          715     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Ray, Gary D
3405 Somerset Ln.
Deer Park, TX 77536-5285                          710     1/23/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                             933     1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                             935     1/30/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Ray, Gregory L
320 County Road 6057
Dayton, TX 77535-5328                             957     1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                             958     1/30/2017          Gateway Coal Company                         $0.00                                                          $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                             959     1/30/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
RECKER, WILLIAM J
2208 WOODSTOCK DR
COLLEYVILLE, TX 76034-4438                         968     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
REDIG, BRUCE R
PO BOX 1154
GILLETTE, WY 82717-1154                            2027    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
REEVES, DOUGLAS LEE
PO BOX 948
PERRYTON, TX 79070-0948                            2362    2/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
REHO, STEVEN N
1725 W JACKSON ST
PAINESVILLE, OH 44077-1355                         1533     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
REMINGTON, ROY A
225 BACKLINE RD
JEFFERSON, PA 15344-4234                           1466     2/7/2017          Gateway Coal Company                         $0.00                                                           $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                            1415     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                            1417     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                            1419     2/6/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                            1497     2/6/2017          Gateway Coal Company                         $0.00                                                           $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                            1610     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
RHODES, DAVID C
9318 WALNUT BROOK CT
HOUSTON, TX 77040-7649                             1587     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                                  1625     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                                  2731    8/11/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Rice, James B
2278 CR 499
Hico, TX 76457                                     489     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                           662     1/23/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                           695     1/23/2017          Gateway Coal Company                                   $0.00                                                $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                           698     1/23/2017    Maxus International Energy Company                           $0.00                                                $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                           699     1/23/2017         Maxus Energy Corporation                                $0.00                                                $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                           702     1/23/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                                  173     10/27/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                  150     10/27/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                            2239    2/14/2017          Gateway Coal Company                         $0.00                                                          $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                            2251    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                            2253    2/14/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                            2256    2/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                            2258    2/14/2017    Maxus International Energy Company                 $0.00                                                          $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                            1135    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00


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                                                                                                                                            Current Current                    Current
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                                                                                                                                            Priority Secured                    Admin      Total Current
                  Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                             Claim    Claim                    Priority    Claim Amount
                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                                     1170    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                                     1183    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Rigatti, Vincent G.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                             2168    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                        2087    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                        2089    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
RIGSBY, FRANK H
2413 S VENICE DR 111
PEARLAND, TX 77581-7510                                     1184    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
RINEHART, GARY P
9313 SAWYER FAY LN
AUSTIN, TX 78748-3107                                       1082    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Ring, John R
7074 Regalview Cir
Dallas, TX 75248                                             84     10/12/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
RINI, FLORENCE E
2002 N BANCROFT PKWY
WILMINGTON, DE 19806-2204                                   2039    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
RINYO, JOSEPH E.
2193 HAINES RD
MADISON, OH 44057                                           2681    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Risener, Charles R
4310 County Road 61
Florence, AL 35634-6419                                     1687     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
RITONDARO, ROSEMARY
3086 VILLAGE GREEN DR D
WESTLAKE, OH 44145-4582                                     2352    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                          Current Current                    Current
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                  Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
Roberts County Appraisal District
Perdue, Brandon, Fielder, Collins & Moot, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2545    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Roberts County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    45     9/23/2016         Maxus Energy Corporation                                $0.00    $0.00                                        $0.00
ROBERTSON, BARBARA L
2626 WILD GROVE LANE
LANCASTER, TX 75146                                       1124    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                                 1158    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                                 1160    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                                 1178    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                                 1191    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                                 1205    1/31/2017          Gateway Coal Company                         $0.00                                                           $0.00
ROBINSON, ANNA M
304 SAGE DR
GALENA PARK, TX 77547                                     1536     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ROBISON-WATSON, GERALDINE B
2110 MEADOWVIEW COURT
GARLAND, TX 75043-1002                                    972     1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ROBKER, DOUGLAS EARL
7004 N BELLEFONTAINE AVE
KANSAS CITY, MO 64119-5212                                1521     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
RODEN, ROCKY R
4927 COUNTY ROAD 2161
CENTERVILLE, TX 75833-3433                                1840    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
RODRICK, ROBERT A.
2609 CHAMBRAY LN
MANSFIELD, TX 76063-5841                                  1647     2/7/2017         Maxus Energy Corporation                      $0.00     $0.00    $0.00                                        $0.00
Rodrick, Robert A.
2609 Chambray Ln.
Mansfield, TX 76063                                       1582     2/8/2017         Maxus Energy Corporation                      $0.00              $0.00                                        $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
RODRIGUEZ, NICANOR
416 CEDAR MEADOW CIR
AMARILLO, TX 79124-1425                            1917    2/12/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Roebuck, Stanley M
202 Heistersburg Rd
East Millsboro, PA 15433                            47     9/20/2016          Gateway Coal Company                         $0.00     $0.00                                                $0.00
ROLLING, DENISE
18552 VISTA DEL SOL
DALLAS, TX 75287                                   1705     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Romo, John A
PO Box 47
Bushland, TX 79012-0047                            533     1/19/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ROPER, CORNELIUS M
39606 FERDINAND ST
PAULINA, LA 70763                                  2307    2/16/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Rose, Ira M
4700 Lucerne Lakes Blvd. W
Apt. 208
Lake Worth, FL 33467                                33     9/12/2016         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
ROSS, DEBRA C
1061 SUNSET DR
KAUFMAN, TX 75142-7841                             1879    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ROSSI, DINO A
PO BOX 193
BENTLEYVILLE, PA 15314-0193                        2324    2/17/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ROTENBERG, HERMAN
571 CORDAY ST.
LAVAL, QC H7W 4T1
CANADA                                             1285     2/1/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                              1675     2/8/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                              1732     2/8/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                              1747     2/8/2017    Maxus International Energy Company                           $0.00                                                $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                              1780     2/8/2017          Gateway Coal Company                                   $0.00                                                $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                              1792     2/8/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00


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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
ROUSSEL, MARK A
3572 KENMORE DR
PAULINA, LA 70763-2312                              2006    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ROWLAND, MELINDA JANE
9354 HIGHEDGE CIR
DALLAS, TX 75238-2585                               802     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                                    128     10/26/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                                    137     10/26/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
RUCK, NANCY E
506 N BRIER PATCH LN 4
MADISON, OH 44057-3161                              1061    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
RUGGIRELLO, JOHN R
62 OCEAN AVENUE
MONMOUTH BEACH, NJ 07750-1351                       1007    1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Ruppert, Walter C
115 Sherwood Dr
Cedartown, GA 30125-7141                            928     1/28/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
RUSSELL, JAMES S
6406 HAMPTON DR
AMARILLO, TX 79109                                  1053    1/30/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Russell, James S
6406 Hampton Dr
Amarillo, TX 79109                                  1074    1/30/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Rutledge, Johnnie
2211 Tonckawa Hills Lane
Brenham, TX 77833                                   2630    4/18/2017         Maxus Energy Corporation                                $0.00                                                $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                             174     10/27/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                             301     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                            383     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD
ATTN: JEFFREY M. POLLOCK, ESQ.
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                            175     10/27/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
SABIN, HAROLD E
11628 N D ST D
LA PORTE, TX 77571-9120                            1134    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SACKETT, JAMES E
308 HIGHLAND AVE
CONNEAUT, OH 44030                                 903     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SAIN, BOBBIE J
20025 CHAPEL POINT LN
CORNELIUS, NC 28031-7053                           1649     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SALAIS, THOMAS A
2408 CREEKS EDGE DR
PEARLAND, TX 77581-4486                            2084    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SALAZAR, RICARDO
1602 JACKSON DR
DEER PARK, TX 77536                                1448     2/6/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                             1931    2/12/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                             2308    2/17/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Salinas, Michele
1319 Highland Dr
Mansfield, TX 76063                                449     11/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
SALLENG, WILLIAM E
297 FULKERSON RD
HORSE CAVE, KY 42749-8002                          1698     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                           2264    2/15/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                           2266    2/15/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority    Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                            2267    2/15/2017          Gateway Coal Company                         $0.00                                                           $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                            2277    2/15/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                            2288    2/15/2017    Maxus International Energy Company                 $0.00                                                           $0.00
SAMSON LONE STAR, LLC
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                                     108     10/20/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
SAMSON RESOURCES COMPANY
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                                     107     10/20/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
SANCHEZ, JACOBO S
11418 GNARLWOOD DR
HOUSTON, TX 77089-5328                              1855    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
SATTERFIELD, DARALL W
10596 NATURAL GAS RD
STINNETT, TX 79083                                  1309     2/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                               1883    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                               1887    2/10/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
SAVAGE JR, WILLIAM R
1116 PLEASANTDALE RD
KINGWOOD, WV 26537-8469                             1351     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                               2584     4/3/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                               340     10/31/2016           Tierra Solutions, Inc.                     $0.00              $0.00                       $0.00            $0.00




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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                              2572     4/3/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn:Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                              2591     4/3/2017    Maxus International Energy Company                                                                $0.00            $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                              338     10/31/2016   Maxus International Energy Company                 $0.00              $0.00                       $0.00            $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                              361     10/31/2016        Maxus Energy Corporation                $243,672.71              $0.00                       $0.00      $243,672.71
SCELFO, BERNARD
206 WATER BIRCH LN
YOUNGSVILLE, LA 70592-5148                         1108    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Scepter Management Corporation, Inc.
Douglas G. Haynam
Shumaker, Loop & Kendrick,LLP
1000 Jackson Street
Toledo, OH 43604                                   179     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
Sceptr Management Corporation
Douglas G. Haynam
Shumaker, Loop & Kemdrick, LLP
1000 Jackson Street
Toledo, OH 43604                                   180     10/28/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
SCHELLBERG, ALVARD A
14014 NITIDA ST
HOUSTON, TX 77045-5146                             2254    2/15/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Schexnailder, Sandy
934 SE 5th
Grand Prairie, TX 75051                            1787     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
SCHEXNAYDER, JACQUELINE M
P.O. BOX 134
PAULINA, LA 70763                                  1489     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
SCHMIDT, LILA J
5107 GLADEHILL DR
KINGWOOD, TX 77345-2418                            1528     2/6/2017    Maxus International Energy Company                           $0.00                                                $0.00
SCHNEIDER, MORRIS
5053 VALENTIA ST UNIT 105
DENVER, CO 80238-3728                              898     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SCHNEIDER, SHARON R
684 SORRELL CIR
SMYRNA, DE 19977-4307                              1307     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SCHOENDORFER, CAROLE D
3790 N RIVER HILLS DR
TUCSON, AZ 85750-2070                              1989    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SCHULTE, JAMES M
4502 CHESAPEAKE PL
AMARILLO, TX 79119-6445                            1339     2/5/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Schulz, Robert A
3430 SW Islesworth Circle
Palm City, FL 34990                                620     1/22/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Schwartau, Kurt
7116 Timbers Dr
Evergreen, CO 80439                                1975    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SCHWARTAU, KURT
7116 TIMBERS DRIVE
EVERGREEN, CO 80439                                2133    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SCHWARZ, BRIAN
5606 SW 39TH AVE
AMARILLO, TX 79109-5210                            1216     2/1/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SCOTT, CATHERINE S
5911 COUNTY ROAD 63
P.O. BOX 572
KILLEN, AL 35645                                   547     1/20/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SCOTT, HORMILDA B
305 S BELLEVIEW ST
AMARILLO, TX 79106                                 2211    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Scott, Howard O
7896 Dovegate Dr.
Mentor, OH 44060                                    82     10/12/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                                  1929     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                                  2116    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00



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                                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                                      Amount                         Priority Amount
                                                                                                                                                    Amount Amount                      Amount
Seaton, Joyce F.
402 Paradise Dr
Tiburon, CA 94920                                                    79     10/7/2016         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
SEBEK, CONSTANCE
15121 NE 27TH AVENUE
VANCOUVER, WA 98686                                                 1534     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SEELING, ALAN F
29275 COUNTY ROAD 358A
BUENA VISTA, CO 81211-9632                                          1794     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                    199     10/28/2016    Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Seitel Offshore Corp., as Venture Manager of Digitel Data Joint
Venture
Strasburger & Price LLP
Duane J. Brescia
720 Brazos Street, Suite 700
Austin, TX 78701                                                    269     10/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Seitel, Inc. and its subsidiary, Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                    191     10/28/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
SEKKI, RUSSELL R
235 ORCHARD ST
FAIRPORT HARBOR, OH 44077-5534                                      1571     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SELLITTO, MARY A
22 HANOVER AVE
WHIPPANY, NJ 07981-1843                                             1276     2/1/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
SENTMAN, LARRY W
23 ERMINE LANE
NEW CASTLE, DE 19720                                                1399     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Sequa Corporation
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                                  253     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sequa Corporation
Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                                  222     10/27/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00




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                  Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                   213     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                   263     10/28/2016        Maxus Energy Corporation                                         $0.00                                        $0.00
Shaffer, Rita J
257 Thompson 1 Road
Adah, PA 15410                                             27     9/12/2016          Gateway Coal Company                         $0.00                                                           $0.00
Shaw, William L.
630 Pecanwood Road
Charlotte, NC 28214                                       512     1/19/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
SHEETS, S B
PO BOX 238
SPEARMAN, TX 79081                                        1766     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Sheridan, Robert A
830 Meadow Ave
Scranton, PA 18505-2534                                   1514     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Sherman County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    69     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Sherman County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2546    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Sherman County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    67     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Sherman County Appraisal District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2543    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                                1592     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                                1657     2/7/2017    Maxus International Energy Company                 $0.00                                                           $0.00


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                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                       1380     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                       1706     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                       1727     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                       1912    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                       1916    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                       2018    2/11/2017          Gateway Coal Company                         $0.00                                                          $0.00
Shetina, Anthony E
678 Second Street #1
Fair Port Harbor, OH 44077                       2005    2/10/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Shetina, Anthony E.
678 Second Street #1
Fair Port Harbor, OH 44077                       2028    2/11/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Shields, Scott Morgan
27502 Meeks Bay CT
Katy, TX 77494                                   582     1/23/2017         Maxus Energy Corporation                                $0.00    $0.00                                       $0.00
SHIPMAN, CAROLYN CHAMBERS
1705 THROWBRIDGE LANE
PLANO, TX 75023-7429                             1704     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Shipp, James G.
1557 FM 449
Longview, TX 75605-7430                          1645     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SHIRLEY, BILLIE R
921 N UNION RD
STILLWATER, OK 74075-8720                        2357    2/22/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SHIVER, BEVERLY S
20 LOGAN RD
CASTLE HAYNE, NC 28429-5617                      2095    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SHOLAR, DELORIUS F
794 ANGOLA BAY RD
WALLACE, NC 28466-7126                           2129    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Shoulders, Cynthia
5779 Epworth Rd.
Newburgh, IN 47630                               457     11/30/2016        Maxus Energy Corporation                                $0.00                                                $0.00
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                                                                                                                                    Claim    Claim                    Priority   Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
SIEGEL, ELISA
4601 N. PARK AVE., #1813
CHEVY CHASE, MD 20815-4546                         458     11/30/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
SILLANPA, MARGARET I
43 MILL MORR DR
PAINESVILLE, OH 44077                              2210    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SIMPSON, JOANNA WHALEY
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                            1027    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SIMPSON, THOMAS ROBERT
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                            1008    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                             2136    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                             2198    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                             2199    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Singleton, Carl E.
4414 Navajo St.
Pasadena, TX 77504-3422                            781     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                            819     1/25/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                            832     1/25/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                            833     1/25/2017    Maxus International Energy Company                 $0.00                                                          $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                            839     1/25/2017          Gateway Coal Company                         $0.00                                                          $0.00
SINGLETON, JACQUELINE D
16603 QUIET QUAIL DR
MISSOURI CITY, TX 77489-5407                       1669     2/8/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                         1038    1/30/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                        1041    1/30/2017    Maxus International Energy Company                 $0.00                                                          $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                        1047    1/30/2017          Gateway Coal Company                         $0.00                                                          $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                        1073    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                        1132    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                        2353    2/22/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                        2360    2/22/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SKEES, JAMES L
101 W PARK AVE
ST MARY'S, KS 66536                               1886    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Skipper, Joseph L
7505 Elmhurst
Amarillo, TX 79121                                 28     9/13/2016         Maxus Energy Corporation                      $0.00                                                          $0.00
SLATER, STEVEN R.
3038 N NORTHWEST DR
HOBBS, NM 88240-1721                              2638     5/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                             601     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                             1171    1/31/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Slezak, Mark
2103 Crystal River Dr
Kingwood, TX 77345-1615                           1306     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SLOAN, PEGGY A
7612A BRIDGES AVE
RICHLAND HILLS, TX 76118                          2141    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SLOCKI, ALLEN T.
6268 FERNSTONE TRAIL NW
ACWORTH, GA 30101-3580                            586     1/21/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
SMITH, DEBORAH J
1524 E 221ST ST E
EUCLID, OH 44117-1509                             665     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
                                                                                 Page 172 of 211
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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority    Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
SMITH, HELEN S
4321 S MONROE ST
AMARILLO, TX 79110                               2035    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
SMITH, J REID
1280 S PARAHAM RD
YORK, SC 29745                                   691     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SMITH, JAMES C
2920 LIGHTHOUSE DR
FRISCO, TX 75034-3223                            2520    3/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                        717     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                        2535    3/29/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
SMITH, JOHN
1280 S PARAHAM RD
YORK, SC 29745-7415                              727     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SMITH, KEVIN L
7200 MILLARD POND DR
MCKINNEY, TX 75071-4628                          671     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Smith, Kristina D.
1226 Porto Pt.
New Braunfels, TX 78132                          1604     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Smith, Mark F.
304 Galeton Ct.
Greer, SC 29651-2320                             2065    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                          2672    7/25/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                          2673    7/25/2017    Maxus International Energy Company                                                                $0.00            $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                          2671    7/25/2017            Tierra Solutions, Inc.                                                                    $0.00            $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                          2674    7/25/2017          Gateway Coal Company                                                                        $0.00            $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                          2675    7/25/2017     Maxus (U.S.) Exploration Company                                                                 $0.00            $0.00


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                                                                                                                                  Priority Secured                    Admin     Total Current
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                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Smith, Nonnie
2802 San Pedro Ct
Youngstown, OH 44511                              1838    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SMITH, RANDY H
6724 WAKEHURST RD
CHARLOTTE, NC 28226-5566                          2214    2/14/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SMITH, ROOSEVELT
16035 MILLERS LANDING LANE
HOUSTON, TX 77049                                 2157    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Smith, Stephine L
725 Phillips Dr
Dumas, TX 79029-5325                              1697     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Smith, Stephnie L
725 Phillips Dr
Dumas, TX 79029-5325                              1599     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                              1731     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                              1734     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                              1735     2/7/2017    Maxus International Energy Company                 $0.00                                                          $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                              1894    2/10/2017    Maxus International Energy Company                 $0.00                                                          $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                              1898    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                              1900    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Smoot, Bobby B
351 PRIVATE ROAD 5567 1560
ALBA, TX 75410-3790                               1283     2/1/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                                 1663     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                            1769     2/8/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                            1779     2/8/2017          Gateway Coal Company                         $0.00                                                          $0.00
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority    Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
Snider, James Mark
14551 Broadgreen Dr.
Houston, TX 77079                                   1778     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Snider, James Mark
14551 Broadgreen Drive
Houston, TX 77079                                   1783     2/8/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                                   1662     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Snider, James Mark
14551 Dairy Ashford
Houston, TX 77079                                   1658     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SNOW, WANDA M
PO BOX 472
GRANITE, OK 73547-0472                              1045    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SNUG, MICHAEL A
2031 CARDIGAN DR
AIKEN, SC 29803-3758                                904     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                               126     10/26/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                               463     12/5/2016     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
Solomon, Timothy Dale
19914 Hanna Nash
Crosby, TX 77532                                    500     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SONTAG, DENISE
202 WATERWOOD DR
WYLIE, TX 75098-7475                                1335     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                            883     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                            1261    1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SOSA, MELISSA
642 ARBOL APT D13
IRVING, TX 75039-3210                               763     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
SOWMA, JERRY
15172 RED BANK RD
BREMOND, TX 76629-5312                            2306    2/16/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SPEER, DAVID G
1107 LAKE FRASER CT
CALGARY, AB T2J 7G4
CANADA                                            1853    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
SPEIDELL, WALTER A
3512 SHORELINE DR
PORTSMOUTH , VA 23703-4032                        725     1/24/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            1845    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            1846    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            1847    2/10/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            1915    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            2162    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            2165    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            2194    2/13/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            2195    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                            2196    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
Spell, Larry J.
28487 Huffman Cleveland Road
Huffman, TX 77336-3801                            1921    2/10/2017          Gateway Coal Company                         $0.00                                                           $0.00
SPHAR, JOYCE E
79 DEERWOOD LN
TERRA ALTA, WV 26764                              2718     8/8/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00



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                 Creditor Name and Address                Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                             Claim    Claim                    Priority    Claim Amount
                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2052    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2059    2/13/2017          Gateway Coal Company                         $0.00                                                           $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                                    2061    2/13/2017    Maxus International Energy Company                 $0.00                                                           $0.00
Spilman, Kathy D
1509 Cleveland Dr.
Deer Park, TX 77536                                         1976    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Spilman, Kathy D
1509 Cleveland Drive
Deer Park, TX 77536                                         2040    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Spriggs, Alan K.
10615 South Morningview
Santa Fe, TX 77510-7951                                     503     1/18/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Stacey, Alan J.
20522 Black Spur Ct.
Richmond, TX 77406                                          1084    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STAHA, JOSEPH A
1011 PAPAYA CV
HUTTO, TX 78634-2200                                        1058    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STALZER, WALTER E
6211 CHASE DR
MENTOR, OH 44060-3601                                       1524     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00

Standard Chlorine Chemical Company Superfund Site Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                         249     10/31/2016   Maxus International Energy Company                           $0.00    $0.00                                        $0.00

Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                         329     10/31/2016           Tierra Solutions, Inc.                                                                    $0.00            $0.00

Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                         367     10/31/2016        Maxus Energy Corporation                $243,622.71              $0.00           $0.00                  $243,622.71




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                  Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                             Claim    Claim                    Priority    Claim Amount
                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
Stanley Black & Decker, Inc.
Andrew L. Kolesar, Esq.
Thompson Hine LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                        380     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
Stanley Black & Decker, Inc.
Andrew L. Kolesat, Esq.
Thompson HIne LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                        370     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                        2003    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                        2041    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
Stanley, Charles B.
Steven W. Soulé
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                        2055    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                   2501    3/23/2017    Maxus International Energy Company                                                                $0.00            $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                   2518    3/21/2017    Maxus International Energy Company                                                                $0.00            $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO box 2952
Sacramento, CA 95812-2952                                   2519    3/21/2017    Maxus International Energy Company                                                                $0.00            $0.00
State of New Jersey - Division of Taxation
PO Box 245
Trenton, NJ 08695                                           123     10/25/2016        Maxus Energy Corporation                                $0.00                                                 $0.00


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                 Creditor Name and Address                  Claim No. Claim Date                  Debtor                    Unsecured Claim                     503(b)(9) Admin
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                                                                                                                                Amount                          Priority Amount
                                                                                                                                               Amount Amount                      Amount
State of New Jersey Division of Taxation
PO Box 245
Trenton, NJ 08695                                             122     10/25/2016           Tierra Solutions, Inc.                                $0.00                                                $0.00
State of Ohio, Ohio Department of Natural Resources
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                            471     12/15/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus , OH 43215                                           470     12/15/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                            469     12/15/2016        Maxus Energy Corporation             $25,000,000.00                                                  $25,000,000.00
State of Wisconsin - Department of Natural Resources
Theresa (Esa) M. Anzivino, Dept. of Justice
P.O. Box 7857
Madison, WI 53707                                              80     10/11/2016        Maxus Energy Corporation               $5,000,000.00                                                  $5,000,000.00
Stauffer, Carole B
7101 Tremont Lane
Rowlett, TX 75089                                             2069    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                                         1288     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                                         1289     2/1/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
STEELE, EUGENE
204 CENTER ST
WHITESBORO, TX 76273-1704                                     1403     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STEFFEK, DOUGLAS A
1705 N PARK SIDE DR
DEER PARK, TX 77536-5433                                      1644     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STEPHEN, KIRSTEN M
3407 GARY LN
SPRING, TX 77380-1211                                         690     1/23/2017     Maxus (U.S.) Exploration Company                             $0.00                                                $0.00



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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Stephon, John
27 Yeates Dr
New Castle, DE 19720                               30     9/12/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                         1890    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                         2689    7/28/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
STEVENSON, HENRY
PO BOX 1857
BAYTOWN, TX 77522-1820                            670     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Stewart, Mark Ray
24718 Valleylight Drive
Katy, TX 77494                                    881     1/27/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
STEWART, MARK RAY
24718 VALLEYLIGHT DRIVE
KATY, TX 77494                                    893     1/27/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                                 481     12/28/2016        Maxus Energy Corporation                $195,000.00     $0.00                                           $195,000.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                                 483     1/12/2017         Maxus Energy Corporation                $185,000.00     $0.00                                           $185,000.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                                 1180    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
STOCKER, JULIA
7319 HOPKINS RD
MENTOR, OH 44060-6427                             887     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STOLLINGS, DEBBIE ANN
1010 ROSENDA LN
AMARILLO, TX 79124                                866     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                              1137    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                              1138    1/31/2017    Maxus International Energy Company                 $0.00                                                           $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                              1139    1/31/2017          Gateway Coal Company                         $0.00                                                           $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                              1146    1/31/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
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                   Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                       Claim    Claim                    Priority    Claim Amount
                                                                                                                        Amount                         Priority Amount
                                                                                                                                      Amount Amount                      Amount
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                                  1224    1/31/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                  2111    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                  2164    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                  2172    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                  2183    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                  2188    2/13/2017          Gateway Coal Company                                   $0.00                                                 $0.00
STREKAL, GERALD J
2 STONEHENGE DR
MEDFORD, NJ 08055                                     894     1/27/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STUBBINGS, JOHN D
3701 CORAL REEF DR
SEABROOK, TX 77586                                    1044    1/30/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                                     2311    2/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                                     2682    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
Stutts, Michael
5 Greenway Plz Ste 110
Houston, TX 77046-0521                                1953    2/13/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
STWB Inc.
c/o William E. Kelleher, Jr.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                             181     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
STWB Inc.
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                             178     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00



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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
SULLIVAN, THOMAS A
10767 VILLAGER RD APT D
DALLAS, TX 75230-3944                             689     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SUMMERS, ROGER L
183 BERRY RD
SCOTTOWN, OH 45678-9602                           1408     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Sun Chemical Corporation
c/o Warren Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                               86     10/14/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Sun Chemical Corporation
Warren W. Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                               85     10/14/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                  347     10/31/2016        Maxus Energy Corporation                                         $0.00                                       $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                  354     10/31/2016   Maxus International Energy Company                                    $0.00                                       $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                  358     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                  416     11/4/2016         Maxus Energy Corporation                                         $0.00                                       $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                  426     11/4/2016            Tierra Solutions, Inc.                                        $0.00                                       $0.00


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                 Creditor Name and Address                   Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                               Amount Amount                      Amount
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               427     11/4/2016    Maxus International Energy Company                                    $0.00                                       $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               261     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               266     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               334     10/31/2016   Maxus International Energy Company                                    $0.00                                       $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               423     11/4/2016         Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               424     11/4/2016            Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                               425     11/4/2016    Maxus International Energy Company                                    $0.00                                       $0.00




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                  Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                     Amount Amount                      Amount
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     333     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     335     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     341     10/31/2016   Maxus International Energy Company                                    $0.00                                       $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     420     11/4/2016         Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     421     11/4/2016            Tierra Solutions, Inc.                                        $0.00                                       $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                     422     11/4/2016    Maxus International Energy Company                                    $0.00                                       $0.00
SWAILS, BETTY J
4241 LANE ROAD
PERRY, OH 44081-9301                                 1819     2/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                210     10/29/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                255     10/29/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                               256     10/29/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                               297     10/29/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
SWEET, WENDY J
17318 ASPEN CT 318
STANHOPE, NJ 07874-2798                             1322     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
SWEITZER, CURT J
2700 COWAN BLVD APT 325
FREDERICKSBURG, VA 22401                            938     1/27/2017         Maxus Energy Corporation                                $0.00                                                $0.00
SWINK, TRAVIS D
1110 WILMETH DR
SPEARMAN, TX 79081                                  1355     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Tarver, Marva
655 Senda
Irving, TX 75039                                    764     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
1 University Plaza
Suite 611
Hackensack, NJ 07061                                 96     10/19/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
Two University Plaza Suite 300
Suite 611
Hackensack, NJ 07601                                 95     10/19/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
TAYLOR, CYNTHIA W
9811 BREUK LN
AMARILLO, TX 79119                                  1454     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
TAYLOR, JOHN
234 RS COUNTY ROAD 3332
EMORY, TX 75440-4699                                1217     2/1/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TAYLOR, JOHN D
4150 HERRING RD
KINGWOOD, WV 26537-8419                             2107    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                              2103    2/13/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                              2122    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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Taylor, Michael Rand
2121 Hickory Manor Dr
Huffman, TX 77336-2625                                                 2123    2/13/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                                 2124    2/13/2017    Maxus International Energy Company                 $0.00                                                          $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                                 2191    2/13/2017          Gateway Coal Company                         $0.00                                                          $0.00
TAYLOR, RONALD W
405 W FORREST LN
DEER PARK, TX 77536-4021                                               1758     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
TEBOE, DENNIS L
14932 WALKER RD
CONROE, TX 77302-6668                                                  2219    2/14/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TEGOWSKI, EVA
11310 BUTTERNUT RD
CHARDON, OH 44024-9386                                                 949     1/28/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TEICHMER, SANDRA
2865 ALICE ST
WHITEHALL, MI 49461                                                    581     1/21/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
TEMPLE, RICHARD SCOTT
2445 N GOWER ST
LOS ANGELES, CA 90068-2257                                             2063    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TENEYCK, DAVID
2516 FOSSIL TRACE CT
GOLDEN, CO 80401                                                       447     11/23/2016        Maxus Energy Corporation                 $25,486.66     $0.00                                           $25,486.66
TestAmerica Laboratories, Inc.
4101 Shuffel St NW
North Canton, OH 44720                                                  16     8/16/2016            Tierra Solutions, Inc.                $41,480.00                                                     $41,480.00

Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories, Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                                209     10/27/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00

Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories, Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                                224     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00




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Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                        200     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 1920                                         218     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General- Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               37     9/12/2016    Maxus International Energy Company                           $0.00                                                $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               36     9/12/2016         Maxus Energy Corporation                                $0.00                                                $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               38     9/12/2016            Tierra Solutions, Inc.                               $0.00                                                $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                               39     9/12/2016     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Texas Workforce Commission
Office of the Attorney General - Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 7711-2548                                           3      6/30/2016         Maxus Energy Corporation                                $0.00                                                $0.00
Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                                          165     10/28/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00




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Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                                         182     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
The Board of Trustees of the University of Illinois
Grants and Contracts Post Award Administration
1901 South First Street, Suite A
Champaign, IL 61820-7406                                     414     11/2/2016            Tierra Solutions, Inc.               $110,711.82                                                    $110,711.82
The Dow Chemical Company
C/O Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                     362     10/31/2016        Maxus Energy Corporation                      $0.00                                                          $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                     375     10/31/2016   Maxus International Energy Company                 $0.00                                                          $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                     376     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq,
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                       349     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                       314     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                           194     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                           286     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00



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The Intelligence Group LLC
1545 Route 206 Ste 202
Bedminster, NJ 07921                                             445     11/22/2016           Tierra Solutions, Inc.                     $0.00                                                          $0.00
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                374     10/31/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                382     10/31/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety &
Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                              176     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety
& Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                              219     10/27/2016           Tierra Solutions, Inc.                     $0.00              $0.00                                       $0.00
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                                 2766    7/10/2018            Tierra Solutions, Inc.               $100,801.86                                                    $100,801.86
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                                 2767    7/11/2018            Tierra Solutions, Inc.                     $0.00                                                          $0.00
The Woods Hole Group, Inc.
ATTN: Robert Hamilton
81 Technology Park Drive
East Falmouth, MA 02536                                           49     9/22/2016            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Thelma Heller, individually and as Executor of The Estate of
Aldon Heller
Simon Greenstone Panatier Bartlett, PC
3232 McKinney Avenue, Suite 610
Dallas, TX 75204                                                  94     10/18/2016        Maxus Energy Corporation                      $0.00                                                          $0.00


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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                                 Amount Amount                      Amount
THIGPEN, BILLY R
1660 HERMITAGE DR
FLORENCE, AL 35630                               2174    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THIGPEN, HAROLD DALLEN
522 CORLEY DR
HIGHLANDS, TX 77562-2806                         2312    2/17/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THIGPEN, SR., BYRON H
234 S CHANNEL HAVEN DR
WILMINGTON, NC 28409                             1455     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
THIGPEN, SR., BYRON H.
234 S CHANNEL HAVEN DR 39
WILMINGTON, NC 28409-3510                        1463     2/3/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Thomas, Harry Glenn
5213 Hedgerow Lane
Wilmington, NC 28409                             2158    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THOMAS, ROBERT O.
314 E. BUFFALO CHURCH RD.
WASHINGTON, PA 15301                             1583     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Thomas, Robert O.
314 E. Buffalo Church Rd.
Washington, PA 15301                             1639     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
THOMPSON, JERALD
11902 GRAPEWOOD DR
HOUSTON, TX 77089-5438                           2351    2/21/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THORN, TERRY A
1126 GLENCREST DRIVE
LA PORTE, TX 77571-7805                          1650     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
THORNTON, MARY A
2016 W SCHAAF RD
CLEVELAND, OH 44109-4608                         606     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THORNTON, MARY ANN
884 GINO LANE
CLEVELAND, OH 44109-3788                         608     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
THORNTON, ROBERT W
1910 HIXON AVE
FLORENCE, AL 35630                               707     1/23/2017         Maxus Energy Corporation                                $0.00                                                $0.00
THRASHER, CATHERNIE L
5705 COUNTY ROAD 108
TOWN CREEK, AL 35672-5401                        1239     2/1/2017         Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                            1267     2/2/2017         Maxus Energy Corporation                                $0.00                                                $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                            1269     2/2/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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Tiffany and Co.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                           105     10/20/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
Tiffany and Co.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                           106     10/20/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
TIMMONS, RICHARD L
5 BLUERIDGE DR
MIDDLETOWN, DE 19709-9795                                  1312     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                           100     10/19/2016        Maxus Energy Corporation                                $0.00                                                $0.00
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                           103     10/20/2016        Maxus Energy Corporation                                $0.00                                                $0.00
Tommerup, Jeffery Roy
c/o Steven W. Soule Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson PC
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                            2082    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                            2083    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                            2134    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
TOPLEK, BRUCE
4211 HOLLAND AVE APT 202
DALLAS, TX 75219-2834                                      681     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
TORRES JR, DONALD THOMAS
108 COUNTRY GDNS
LA VERNIA, TX 78121-9540                                   706     1/23/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                                  1959    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                                  2034    2/13/2017          Gateway Coal Company                                   $0.00                                                $0.00


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                                                                                                                                   Amount Amount                      Amount
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                          2066    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                          2067    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                          2080    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
TRMI-H LLC
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                             275     10/28/2016        Maxus Energy Corporation                      $0.00              $0.00                                       $0.00
TRMI-H LLC
Mark Pfeiffer, Esquire
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                             192     10/28/2016           Tierra Solutions, Inc.                                        $0.00                                       $0.00
TRONCOSO, JUAN C
304 HITCH WAGON DR
MCKINNEY, TX 75071                                 1723     2/7/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TROY, WILLIAM M
6604 CHICK EVANS LANE
WOODRIDGE, IL 60517                                1481     2/5/2017         Maxus Energy Corporation                                $0.00                                                $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                                   1952    2/13/2017          Gateway Coal Company                                   $0.00                                                $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                                   1954    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                                   2025    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                                   2026    2/13/2017    Maxus International Energy Company                           $0.00                                                $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                                   2029    2/13/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
Turner, Craig E
207 Hidden Wood Drive
Lafayette, LA 70508                                494     1/18/2017         Maxus Energy Corporation                                $0.00                                                $0.00



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Turning Wave Seismic, L.P.
Attn: Patricia Cherne
PO Box 4176
Horseshoe Bay, TX 78657                                              46     9/28/2016     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                                               1893    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                                               1895    2/10/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                                               1897    2/10/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                                              1407     2/3/2017    Maxus International Energy Company                           $0.00                                                 $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                                              1436     2/3/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                                              1446     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                                              1450     2/3/2017          Gateway Coal Company                                   $0.00                                                 $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                                              1452     2/3/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                465     12/5/2016          Gateway Coal Company                         $0.00     $0.00                                                 $0.00
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                466     12/5/2016         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
U.S. DOI-BSEE
MARY A. SCHMERGEL
1100 L STREET NW, RM 10026
WASHINGTON, DC 20005                                                2604     4/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00


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                                                                                                                                       Amount Amount                      Amount
U.S. Ecology
17440 College Parkway, Suite 300
Livonia, MI 48152                                      428     11/7/2016            Tierra Solutions, Inc.                $37,351.28                                                      $37,351.28
Ubben, Navidad A.
809 Oakway Ct.
Richardson, TX 75081                                   1086    1/31/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
UNDERWOOD, PEARL H
614 W WALNUT AVE
PAINESVILLE, OH 44077-2668                             1496     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave
Morristown, NJ 07960                                   2754    8/14/2017            Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                   2743    8/14/2017          Gateway Coal Company                         $0.00                                          $0.00            $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                   2747    8/14/2017     Maxus (U.S.) Exploration Company                  $0.00                                          $0.00            $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                   2751    8/14/2017    Maxus International Energy Company                 $0.00                                          $0.00            $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                                   2752    8/14/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                              474     12/15/2016        Maxus Energy Corporation                      $0.00                                      $9,205.00        $9,205.00




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                                                                                                                                                    Current Current                    Current
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                  Creditor Name and Address                       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                                     Claim    Claim                    Priority    Claim Amount
                                                                                                                                      Amount                         Priority Amount
                                                                                                                                                    Amount Amount                      Amount
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                                           476     12/15/2016           Tierra Solutions, Inc.                     $0.00                                          $0.00            $0.00
United States on behalf of EPA, DOI, and NOAA
David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
P.O. Box 7611, U.S. Department of Justice
Washington, D.C. 20044-7611                                         473     12/15/2016        Maxus Energy Corporation            $145,696,361.00                                          $0.00 $145,696,361.00
United States, Department of the Interior, Bureau of Safety and
Environmental Enforcement(BSEE)
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                                475     12/15/2016    Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
UPTON, MARK L
513 N CROCKETT ST
DEER PARK, TX 77536-6329                                            1311     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
URS Corporation
564 White Pond Dr.
Akron, OH 44320                                                     238     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     235     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     240     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     243     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     244     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     245     10/31/2016           Tierra Solutions, Inc.                 $2,132.44                                                       $2,132.44
URS Corporation
564 White Pond Drive
Akron, OH 44320                                                     246     10/31/2016           Tierra Solutions, Inc.                     $0.00                                                           $0.00
URSIN, OUBE
29010 HIGHWAY 643
VACHERIE, LA 70090-3023                                             2096    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00


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                                                                                                                                   Current Current                    Current
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                Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
Urzen, William J
1104 Church Street
Jessup, PA 18434                                   1979    2/10/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
UTER, LAWRENCE A
347 LIPPI BLVD
LAFAYETTE, LA 70508                                1393     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VALIMONT, JAMES E
2412 HORACE DR
WILMINGTON, DE 19808-3321                          1222     2/1/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
VAN GELUWE, BARBARA
1537 MILL DAM RD APT 201
VIRGINIA BCH, VA 23454-1350                        1290     2/1/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Van Meter, Charlene Sue
5613 W. Orlando
Broken Arrow, OK 74011                              62     9/27/2016         Maxus Energy Corporation                  $8,205.15     $0.00                                             $8,205.15
Vandenberg, D
14906 Harvrenee Dr
Cypress, TX 77429                                  2102    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VANDENBERG, DONALD
14906 HARVRENEE DR
CYPRESS, TX 77429-4130                             594     1/23/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Vanderbilt Minerals, LLC
Attn: General Counsel
33 Winfield Street
Norwalk, CT 06856-5150                             277     10/28/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
VANDEUTEKOM, CORNELIS
4373 GEVALIA DR
BROOKSVILLE, FL 34604-5806                         1411     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VANVALKENBURG, CYNTHIA P
6813 MARIKA CIR
AMARILLO, TX 79124-2730                            1913    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
VARA, JANIE R
6202 4TH ST, #312
LUBBOCK, TX 79416                                  2712     8/7/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
VARGAS, ARTHUR
10804 BOIS D ARC ST
LA PORTE, TX 77571-9508                            2190    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VARGYAS, LINDA
3110 GIVENS CT
PERRY, OH 44081-9544                               1220     2/1/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VAUGHT, RONALD J
913 PAULETTE DR
DEER PARK, TX 77536-4932                           1634     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                                     Current Current                    Current
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                  Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                      Claim    Claim                    Priority    Claim Amount
                                                                                                                       Amount                         Priority Amount
                                                                                                                                     Amount Amount                      Amount
Vendrick, Phyllis
687 New Churchman Rd
Newark, DE 19702                                      26     9/12/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
VENTURA, JEFFREY L
7513 MT VERNON DR
COLLEYVILLE, TX 76034-6925                           860     1/26/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                                 602     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                                 2694    7/31/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
VEVERKA, CATHERINE A
21765 LITTLE BROOK WAY
STRONGSVILLE, OH 44149                               1635     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VIEREGGE, WILLIAM L
4709 CONTENDER LN
WILMINGTON, NC 28409-8917                            2218    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
VINCENT, NANCY J
6102 WILLOW CREST LN
WEST CHESTER, OH 45069-6465                          1375     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Vinson & Elkins LLP
Rebecca Petereit
2001 Ross Avenue, Suite 3700
Dallas, TX 75201                                      77     10/6/2016         Maxus Energy Corporation                $182,438.97                                                     $182,438.97
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                             8      7/19/2016            Tierra Solutions, Inc.                     $0.00                                                           $0.00
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                            2631    4/20/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
WADDILL, MARY E
305 W PONCE DE LEON DR
SARALAND, AL 36571-2024                              800     1/25/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                               7       7/6/2016         Maxus Energy Corporation                      $0.00                                                           $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                              2382     3/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WAGUESPACK, LARRY P
3434 S ANGELLE ST
PAULINA, LA 70763-2230                               1543     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00



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                                                                                                                                  Current Current                    Current
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
WAID, JERRY T
2208 LOPEZ DRIVE
ANTIOCH, CA 94509-4512                            758     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WALK, ARTHUR
16800 COUNTY ROAD 290
COSBY, MO 64436-9186                              2078    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WALKER, METELLA K
PO BOX 6052
LARGO, MD 20792                                   1258     2/2/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WALKER, WILLIE
3595 CUMMINGS RD
CLEVELAND HEIGHTS, OH 44118-2650                  444     11/21/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
WALLACE, A JANE
9201 SO. DAMEN AVENUE
CHICAGO, IL 60643                                 1464     2/6/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WALLS, GREGORY E
65 BUCKEYE DR
POWELL, OH 43065-7345                             664     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WALSH, CAROL S
62 FORD RD
LANDING, NJ 07850-1650                            1821     2/9/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                1904    2/10/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                                1906    2/10/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                1963    2/10/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                1967    2/10/2017    Maxus International Energy Company                 $0.00                                                          $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                1972    2/10/2017          Gateway Coal Company                         $0.00                                                          $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                                1981    2/10/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
WALZ, DONALD
31 E 4TH ST
NEW CASTLE, DE 19720-5013                         2171    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WARNING, TIM L
8075 SILKYRIDER CT
CINCINNATI, OH 45249-1276                         757     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority   Claim Amount
                                                                                                                    Amount                         Priority Amount
                                                                                                                                  Amount Amount                      Amount
Waste Management
2625 W Grandview Rd Ste 150
Phoenix, AZ 85023                                 102     10/20/2016        Maxus Energy Corporation                  $1,567.13                                                      $1,567.13
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                              74     10/5/2016          Gateway Coal Company                         $0.00                                                          $0.00
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                              75     10/5/2016          Gateway Coal Company                         $0.00                                                          $0.00
WATKINS, ROY L
2347 OLD TUNNELTON PIKE
KINGWOOD, WV 26537-9779                           720     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WATTS, MARY E
4821 SPICEWOOD SPRINGS RD 177
AUSTIN, TX 78759-8495                             632     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Webb, Ronald
2122 Spillman Drive
Zellwood, FL 32798                                1757     2/8/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                                1763     2/8/2017          Gateway Coal Company                         $0.00                                                          $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                                1594     2/8/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                                1756     2/8/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                                1760     2/8/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
WEEMS, JOHNNY WAYNE
103 PALOMINO ST
AMARILLO, TX 79106-4116                           871     1/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Weems, Lynn A
1210 Denise
Deer Park, TX 77536                               823     1/25/2017          Gateway Coal Company                                   $0.00                                                $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                               803     1/25/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                               810     1/25/2017            Tierra Solutions, Inc.                     $0.00     $0.00                                                $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                               818     1/25/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
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                                                                                                                                    Current Current                    Current
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                 Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                     Claim    Claim                    Priority   Claim Amount
                                                                                                                      Amount                         Priority Amount
                                                                                                                                    Amount Amount                      Amount
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                                 820     1/25/2017    Maxus International Energy Company                           $0.00                                                $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                                 831     1/25/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                                 834     1/25/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WEHRMAN, CAROL RUTH
613 PEDERNALES
PO BOX 57813
WEBSTER, TX 77598-7813                              2365    2/27/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WELCH JR, CHESTER L
15665 MALVERN HILL AVE
BATON ROUGE, LA 70817                               643     1/23/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Welch, Jed
1417 Creekmere Dr
Canyon, TX 79015                                    770     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL , CO 80112                               760     1/24/2017          Gateway Coal Company                                   $0.00                                                $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                                723     1/24/2017     Maxus (U.S.) Exploration Company                            $0.00                                                $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                                724     1/24/2017    Maxus International Energy Company                           $0.00                                                $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                                728     1/24/2017            Tierra Solutions, Inc.                               $0.00                                                $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                                791     1/24/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Wells Fargo Financial Leasing, Inc.
800 Walnut Street MAC N0005-055
Des Moines, IA 50309                                 4       7/6/2016            Tierra Solutions, Inc.                     $0.00                                                          $0.00
WESEMAN, LUKE W
1003 MEADOW CREEK DR
ALLEN, TX 75002-1956                                1627     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
WESSEL, ALAN P
509 LAKE DR
MIDDLETOWN, DE 19709-9684                           2648     5/9/2017         Maxus Energy Corporation                      $0.00                                                          $0.00



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                                                                                                                                          Priority Secured                    Admin      Total Current
                  Creditor Name and Address             Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                           Claim    Claim                    Priority    Claim Amount
                                                                                                                            Amount                         Priority Amount
                                                                                                                                          Amount Amount                      Amount
WEST, BRUCE, ESTATE OF
PO BOX 75
DUMAS, TX 79029-0075                                      1540     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
West, Janice L
11060 McClary Rd.
PO Box 75
Dumas, TX 79029                                           1501     2/6/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WEST, MARGARET F
225 DEFOREST AVE
BRIDGEPORT, CT 06607-2414                                 2208    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                                    1331     2/3/2017    Maxus International Energy Company                 $0.00                                                           $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                                    1333     2/3/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                                    1386     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WHEELDON, DAN L
4372 OREGON ST
PERRY, OH 44081-9562                                      2369    2/28/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WHEELER COUNTY
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    60     9/23/2016         Maxus Energy Corporation                                         $0.00                                        $0.00
Wheeler County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2540    3/30/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
WHITAKER, TERRY WAYNE
38371 WELSH DR
PRAIRIEVILLE, LA 70769-3848                               2163    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                               1144    1/30/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                               1167    1/30/2017          Gateway Coal Company                         $0.00                                                           $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                               1168    1/30/2017    Maxus International Energy Company                 $0.00                                                           $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                               1169    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                                    Claim    Claim                    Priority    Claim Amount
                                                                                                                     Amount                         Priority Amount
                                                                                                                                   Amount Amount                      Amount
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                        1176    1/30/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
WHITE, JUDI A
7 PRAIRIE DELL TRAILER CT MH
UNION, MO 63084-3354                               1492     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
White, S J
260 Mill Morr Dr.
Painesville , OH 44077-1334                        1744     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                             1495     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                             1762     2/8/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WHITEHEAD, JIMMIE R
1480 FM 1011 RD
LIBERTY, TX 77575-6406                             2177    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WHITELEY, ELIZABETH
11 STONE ARROW PL
THE WOODLANDS, TX 77382                            2242    2/14/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WHITESIDE, JAMES E
3409 BLUEBONNET ST
PASADENA, TX 77505                                 1878    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                              2127    2/13/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                              2128    2/13/2017    Maxus International Energy Company                           $0.00                                                 $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                              2148    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                                     1499     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                                     2468    3/17/2017         Maxus Energy Corporation                                                                     $0.00            $0.00



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               Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                   Claim    Claim                    Priority    Claim Amount
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                                                                                                                                  Amount Amount                      Amount
WILKENS, LLOYD DOUGLAS
PO BOX 389
PERRYTON, TX 79070-0389                           703     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAM C BROOKS
111 KURT DRIVE
DOVER, DE 19901                                   2358    2/21/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAMS, CHRISTI FORD
365 MUSTANG BLVD
PORT ARANSAS, TX 78373-4916                       446     11/23/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAMS, DANNY CHARLES
7734 DILLON ST
HOUSTON, TX 77061-2909                            2355    2/22/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAMS, DONALD EDWARD
PO Box 3584
Oxford, AL 36203                                  626     1/23/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAMS, GERALD L
132 MORLEY RD
DILLINER, PA 15327                                752     1/24/2017          Gateway Coal Company                                   $0.00                                                 $0.00
Williams, Gerald Lee
132 Morley Rd
Dilliner, PA 15327                                2691    7/28/2017          Gateway Coal Company                         $0.00                                          $0.00            $0.00
Williams, Johnny M
708 Highland Crest Drive
Hurst, TX 76054-2106                              1083    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                         1795     2/9/2017    Maxus International Energy Company                           $0.00                                                 $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                         1797     2/9/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                         1810     2/9/2017          Gateway Coal Company                                   $0.00                                                 $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                         1811     2/9/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                         1812     2/9/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
WILLIAMS, RONALD
1822 GEORGIA AVE
DEER PARK, TX 77536-3914                          667     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Williamson, Hearl L.
292 Ridge Crest Dr.
Seguin, TX 78155                                  2639     5/5/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                                 561     1/20/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                                 569     1/20/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                                 570     1/20/2017    Maxus International Energy Company                           $0.00                                                 $0.00
Williford, John A
10320 Hunter Creek Ln.
Conroe, TX 77304                                 2395     3/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                               1549     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                               2489    3/20/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
WILLIS, CARLTON
906 CHURCH ST
NAVASSA, NC 28451-9795                           1552     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILLIS, JON C
11001 COLLINGSWOOD
LA PORTE, TX 77571-4397                          1678     2/8/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILSON, JOSEPH
701 W TARA LN
DUNCAN, SC 29334-9287                            1908    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILSON, ROGER
189 MODERN FARMS RD
WESTWEGO, LA 70094-2330                          1546     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WILSON, SHERRELL LYNN
32510 GREEN BEND COURT
MAGNOLIA, TX 77354                               1683     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Wilson, William
1916 Bohemia Dr.
Cordova, TN 38016                                511     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Winegarner, Arlan
403 Dressen
Spearman, TX 79081                               1420     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Winegarner, Peggy
403 Dressen
Spearman, TX 79081                               1447     2/3/2017         Maxus Energy Corporation                                $0.00                                                 $0.00




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                 Creditor Name and Address                       Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                                    Claim    Claim                    Priority    Claim Amount
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                                                                                                                                                   Amount Amount                      Amount
Winstead PC
Annmarie Chiarello
500 Winstead Building
2728 N. Harwood Street
Dallas, TX 75201                                                    61     9/28/2016         Maxus Energy Corporation                  $5,939.34                                                       $5,939.34
Wisconsin Electric Company and Wisconsin Gas LLC (collectively
here "We Energies")
Lauren Beslow, Quarles & Brady LLP
300 N. LaSalle Street, Suite 4000
Chicago, IL 60654                                                  302     10/31/2016        Maxus Energy Corporation                      $0.00                                                           $0.00
WISDOM, TERRY
10914 LANE ST.
HOUSTON, TX 77029-2832                                             488     1/17/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1550     2/7/2017          Gateway Coal Company                         $0.00                                                           $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1556     2/7/2017    Maxus International Energy Company                 $0.00                                                           $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1567     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                           $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1570     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                           $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                                              1593     2/7/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Wolf, Joseph R.
2A-10-2 The View Twin Tower
Jalan Batu Uban 5, Gelugor
Penang 11700
Malaysia                                                           2408     3/7/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
Woodard, Dennis M
3238 S Ridge Rd E
Ashtabula, OH 44004-4544                                           1201    1/31/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WOODARD, DENNIS M
3238 S RIDGE RD E
ASHTABULA, OH 44004-4544                                           2135    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WOODS, JODY SCOTT
2501 LIVINGSTON LN
GRAND PRAIRIE, TX 75052-4107                                       2350    2/21/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Wooten III, Earl
159 Mountain Laurel Dr.
Montgomery, TX 77316                                               2755    8/15/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
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                                                                                                                               Amount                         Priority Amount
                                                                                                                                             Amount Amount                      Amount
WOOTEN, REBA
3402 S RUSK STREET
AMARILLO, TX 79109-4830                                      1005    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
WRIGHT, LEE A
PO BOX 791
HARDIN, TX 77561-0791                                        1885    2/10/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Attn: Stephanie M. Haggerty, Senior Corporate Counsel,
Regulatory
Law, Legal Dvision, Pfizer Inc.
235 East 42nd Street
New York, NY 10017                                           148     10/27/2016           Tierra Solutions, Inc.                                        $0.00                                        $0.00
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Stephanie M. Haggerty | Senior Corporate Counsel
Regulatory Law | Legal Division
Pfizer Inc.
235 East 42nd Street (235/25/21)
New York, NY 10017                                           155     10/27/2016        Maxus Energy Corporation                      $0.00              $0.00                                        $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                                        1013    1/30/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                                        2721     8/7/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
YANCEY, JIMMY M
305 SOUTH BLACKWELL
LA PORTE, TX 77571                                           1620     2/6/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                                           509     1/19/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                                           510     1/19/2017          Gateway Coal Company                         $0.00                                                           $0.00
YARNELL, RICHARD A
548 HOLLETTS CORNER RD
CLAYTON, DE 19938                                            2070    2/13/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
Yates, Steven Moore
12853 Cross Point Dr.
Frisco, TX 75033                                             1646     2/7/2017         Maxus Energy Corporation                                $0.00                                                 $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                        1800     2/9/2017            Tierra Solutions, Inc.                               $0.00                                                 $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                        1807     2/9/2017     Maxus (U.S.) Exploration Company                            $0.00                                                 $0.00
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                 Creditor Name and Address               Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
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                                                                                                                             Amount                         Priority Amount
                                                                                                                                           Amount Amount                      Amount
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                      1808     2/9/2017    Maxus International Energy Company                           $0.00                                                $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                      1809     2/9/2017          Gateway Coal Company                                   $0.00                                                $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                                      1813     2/9/2017         Maxus Energy Corporation                                $0.00                                                $0.00
YODER, MICHAEL RAYMOND
2119 AVENUE N
NEDERLAND, TX 77627-5518                                   1330     2/3/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
YOSH, JAMES P
11431 TIMBER POINT DR D
CHESTERFIELD, VA 23838-8952                                2319    2/17/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
YOUNG, RAYMOND
3036 ROSEDALE AVE
DALLAS, TX 75205-1452                                      2091    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    254     10/28/2016    Maxus (U.S.) Exploration Company                  $0.00     $0.00                                                $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    257     10/28/2016           Tierra Solutions, Inc.                $51,173.44     $0.00                                           $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    282     10/28/2016         Gateway Coal Company                         $0.00     $0.00                                                $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    294     10/28/2016   Maxus International Energy Company            $51,173.44     $0.00                                           $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    295     10/28/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00



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                                                                                                                                           Amount Amount                      Amount
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    2657    5/22/2017         Maxus Energy Corporation                 $51,173.44     $0.00                                           $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    2665    5/22/2017            Tierra Solutions, Inc.                $51,173.44     $0.00                                           $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    2666    5/22/2017    Maxus International Energy Company            $51,173.44     $0.00                                           $51,173.44
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    321     10/31/2016         Gateway Coal Company                         $0.00     $0.00    $0.00                                       $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    326     10/31/2016        Maxus Energy Corporation                      $0.00     $0.00                                                $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    327     10/31/2016    Maxus (U.S.) Exploration Company                  $0.00     $0.00                                                $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    328     10/31/2016           Tierra Solutions, Inc.                     $0.00     $0.00                                                $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    2660    5/22/2017     Maxus (U.S.) Exploration Company                  $0.00     $0.00                                                $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                    2662    5/22/2017          Gateway Coal Company                         $0.00     $0.00                                                $0.00
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                                                                                                                              Amount                         Priority Amount
                                                                                                                                            Amount Amount                      Amount
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                     2663    5/22/2017         Maxus Energy Corporation                      $0.00     $0.00                                                 $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Howard Seife, Esq., Samuel S. Kohn, Esq.
Francisco Vazquez, Esq.
1301 Avenue of the Americas
New York, NY 10019-6022                                     2667    5/22/2017            Tierra Solutions, Inc.                     $0.00     $0.00                                                 $0.00
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                     296     10/28/2016    Maxus (U.S.) Exploration Company             $17,307.58     $0.00                                            $17,307.58
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                     2661    5/22/2017     Maxus (U.S.) Exploration Company             $10,307.58     $0.00                                            $10,307.58
ZAMUDIO, MARIA EUGENIA
1362 CHEYENNE RD
LEWISVILLE, TX 75077-2821                                   705     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                     1470     2/3/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                     2522    3/27/2017         Maxus Energy Corporation                                                                     $0.00            $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                                     2683    7/27/2017         Maxus Energy Corporation                      $0.00                                          $0.00            $0.00
ZAPPATERRINI, DAVID J
2002 N BANCROFT PKWY
WILMINGTON, DE 19806                                        2125    2/13/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ZAPPITELLI, ALFRED A
127 FAIRFIELD RD
PAINESVILLE, OH 44077-1518                                  668     1/24/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
ZAPPITELLI, BARBARA A
651 WRIGHTS AVE
CONNEAUT, OH 44030-1666                                     1725     2/9/2017         Maxus Energy Corporation                      $0.00                                                           $0.00
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                                                                                                                       Amount                         Priority Amount
                                                                                                                                     Amount Amount                      Amount
ZELLER, RONALD D
2519 E 4925 S
VERNAL, UT 84078-9267                                1637     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                1558     2/7/2017          Gateway Coal Company                         $0.00                                                          $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                1559     2/7/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                1563     2/7/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                                1569     2/7/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Zeller, William J
131 Oaklake St
Pierre Part, LA 70339                                1575     2/7/2017    Maxus International Energy Company                 $0.00                                                          $0.00
ZEMAN, WAYNE P
3401 SAGINAW AVE
THE VILLAGES, FL 32163-6385                          1221     2/1/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Zeno Digital Solutions LLC dba Zeno Imaging
10688 Haddington Drive
Houston, TX 77043                                    2472    3/20/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Zeringue, Jeffery J
8377 HWY 405
Donaldsonville, LA 70346-8313                        1994    2/10/2017         Maxus Energy Corporation                                $0.00                                                $0.00
ZERINGUE, WILLIAM J
12192 VERBA LN
SAINT AMANT, LA 70774-3641                           2178    2/13/2017         Maxus Energy Corporation                                $0.00                                                $0.00
Zetts, Arthur E
9194 Vernon Hill Drive
North Ridgeville, OH 44039-9763                      525     1/19/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                                  1513     2/6/2017            Tierra Solutions, Inc.                     $0.00                                                          $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                                  1585     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                                  1617     2/6/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                                  672     1/24/2017         Maxus Energy Corporation                      $0.00                                                          $0.00
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                                                                      In re Maxus Energy Corporation, et al.
                                                                               Case No. 16-11501

                                                                                                                                 Current Current                    Current
                                                                                                               Current General                        Current
                                                                                                                                 Priority Secured                    Admin     Total Current
              Creditor Name and Address        Claim No. Claim Date                  Debtor                    Unsecured Claim                    503(b)(9) Admin
                                                                                                                                  Claim    Claim                    Priority   Claim Amount
                                                                                                                   Amount                         Priority Amount
                                                                                                                                 Amount Amount                      Amount
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                              1373     2/6/2017    Maxus International Energy Company                 $0.00                                                          $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                              1518     2/6/2017     Maxus (U.S.) Exploration Company                  $0.00                                                          $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                              1519     2/6/2017          Gateway Coal Company                         $0.00                                                          $0.00
ZORICH, RICHARD A
405 LAKEFIELD TER
STROUDSBURG, PA 18360-7763                       2046    2/13/2017         Maxus Energy Corporation                      $0.00                                                          $0.00




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